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EXHIBIT 2

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j v §§ Countl'y lnsurance Company

 

7333 Sunwood Drive - Ramsey. MN 55303 | (BBB) 313-6723

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|nsured Crop Year; 2011 Agency!Agent |nformation . , ,
S¢a¢e Agency Code 23_0750 Po_|icy Confrrmat:on
47-Tennessee Agen¢ Name; Randy Wa|ker Mu|tiple Penl Cmp |nsurance
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applicant)

A|i persons with a subsiantial beneficiai interest in you as denned in the applicable policy provisions (UF indicates landlords or tenants insured under ihe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Ideniincation Number Perscm Type Address Te|ephone
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Confirmation of Mu|tip|e Peril Crop insurance
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2011 Basic Provisions Letter; 11 Basic Provisiuns; CEPP Generai informaiion; CEPP Corn; CEPP Coiton; CEPP Soybeans.' Cofton Crop Provisinn; Course
Grain Crop Provisions

 

 

MP-Exiz-Pcomiz~zom) END 03:0112011 Stephen Floyd Crop Year: 2011 Page 1 0f1

 

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§§ CouNTRY !NSoRANcE COMPANY
KEF.PENG l"l` SiMPLE"'

RE: 2011 Crop Year Renewa| Notlfication

Dear lnsured:

The Federal Crop insurance Corporation {FClC) released new Comrnon Crop insurance Po|icy Basic Provisions and related crop provisions that are
the basis for your insurance coverage for the 2011 crop year. |n doing so, they unified the Baslc Provisions for Actual Production History (APH),
Crop Revenue Coverage (CRC), Revenue Assura nce (RA), and income Protectlon (IP} into a single set of Basic Provisions.

NEW COMMON POLiCY: Sirnp|y put, the newly released Common Crop insurance policy combines several different policies that had similar
features into a single policy. Key features, most important to producers from previous multiple policies were retained; along with simplifying your
insurance options for insuring the crops you plant.

COVERAGE W|LL AUTOMATlCALLY CONV£RT: Your crop insurance policy is a continuous contract; therefore, your policy will renew and
automatically convert to the protection plan most similar to the policy you had in 2010. No additional paperwork or action is required for you to
renew your policy/protection plan for the 2011 crop year. However, should you desire to change, alter or cancel your insurance coverage for
2011, you will need to do so by the applicable sales closing/cancellation date for the crop. All other policy reporting requirements for
establishing your 2011 coverage, such as certifying your production history, reporting planted/prevent plant acreage, etc, remain unchanged

The chart provided below describes how your 2010 policy will be converted to the new policy for the 2011 crop year. 80th yield and revenue
protection plan choices are available for the 2011 crop year on the following crops: wheat, barley, corn, grain sorghurn, soybeans, cotton, rice,
sunflowe rs and canola/rapeseed.

 

Revenue Protection Plan
Revenue Protection P|an

Crop Revenue Coverage (CRC)

 

Revenue Assurance {RA}

With the Fali Harvest Price Option
Revenue Assu rance lRA)

Wlthout the Fa|l Harvest Price Optlon
income Protection {|Pi

 

Revenue Protection P|an with the Harvest Price E)<clusion

 

Revenue Protection P|an with Harvest Price _Exciusion and Enterprise Unit

 

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Actual Production History (APH) ¥ield Protection Plan

lincludes CAT endorsement)

 

 

 

NEW REVENUE PROTECTION PtAN:The Revenue Protection plan provides protection against production loss, price decline or increase, or a
combination of both. if you had a CRC policy, |P. policy or a R.A policy for the 2010 crop year for one or more of the crops listed above; the Revenue
Protection plan most similar to the plan you had in 2010 will automatically he provided to you for the 2011 crop year.

 

NEW YiELD PROTECTION PLAN: the Yield Protection plan provides coverage against a production loss for crops for which revenue protection is
available but was not elected This plan of insurance will be provided for those who had an APH plan of insurance last year for one or more of the
crops listed above.

PRlCE DETERM|NAT|ON: Both the Revenue and Yield Protection plans will use regional exchanges to derive the projected price used to establish
the insurance guarantee and premium for the crop and the harvest price used to value production to count underthe Revenue Protectlon Plan.
This pricing method is new to policies converting from the APi-l plan to the Yie|d Protection plan. The price discovery period, release dates, board of
trade's utilized, and additional pricing information will be contained in the Cornmodity Exchange Price Provlslons [CEPP) and is available atyour
local agent's office or on the Rlsi< i\/ianagement Agency lRMA] Web site at http:(fwww.rma.usda.gov.

CONTACT YOUR CROP lNSURANCE AGENT: Your agent has received or will be receiving the required training on the new Common Crop insurance
Pollcy Basic Provisions as well as other crop program updates and changes We strongly encourage you to contact your agent as soon as possible
to discuss how these changes may affect the associated risk management needs of yourfarrning operation.

 

Best Regards,

NAU Country insurance Company

 

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SUNlNlARY OF CHANGES FOR THE COi\illVlON CROP |NSURANCE POLlCY
BASlC PROV|S|ONS - RE|NSURED VERS|ON (11~BR)
(Released Aprii 2010)

The following is a brief description of the changes to the Common Crop insurance Po|icy Basic
Provieions that Will be effective for the 2011 crop year for all crops with a 2011 crop year contract
change date on or after April 30, 2010, and for the 2012 crop year for all crops with a 2011 crop year
contract change date prior to April 30, 2010. Pleaee refer to the Besic Provieions for complete
information

Provisions have been revised to provide either revenue protection or yield protection for barley,
cano|a and rapeseed, corn, cotton, grain sorghum, rice, ecybeans, sunflowers, and wheat Revenue
protection provides protection against loss of revenue caused by price changes or low yields or a
combination of both (for corn silage and rapeseed, protection is only provided for production |osses).
Yield protection provides protection for production losses oniy. Crop Revenue Coverage (CRC),
lncome Protection (|P), indexed income Protection (l|P), Revenue Assurance (RA), and Actuai
Production Hlstory (APl-l) plans of insurance previously available have been discontinued for these
crops. A new policyholder must select either revenue protection or yield protection for these crops on
their application for insurance A new application is not required for carry-over policyholders Carry-
over policyholders who insured these crops under any of the discontinued revenue plans of insurance
will automatically have revenue protection for the 2011 crop year. Carry-over policyholders Who
insured these crops under the APi-l plan of insurance will automatically have yield protection for the
2011 crop year. However, if a carry~over policyholder wishes to change or cancel the coverage that
is automatically provided, the change must be made by the sales closing date or the policy must be
canceled by the cancellation date. For all other crops covered under these Basic Provisions, the
plans of insurance previously available will continue to be available

For crops for which revenue protection is availab|e, a projected price and a harvest price will be
determined in accordance with the Commodity E)<change Price Provisions (CEPF’). The CEPP
includes the information necessary to derive the projected price and the harvest price including the
applicable Commodity Exchange and the relevant futures trading days, if applicable The CEPP will
be available for public inspection on RMA’s Web site at http;//www.rma.usda.qov/, or a Successor
Web site, by the contract change date and will also be available in the agents office. Crops for which
revenue protection is not available will continue to use a price election or dollar amount of insurance,
as applicable

For yield protection, the yield protection guarantee Wl|| be determined by multiplying the production
guarantee by the projected price. The projected price is also used to determine the premium, any

replant payment or prevented planting payment and to value the production to count The harvest
price ls not used for yield protection

For revenue protection the revenue protection guarantee will be determined by multiplying the
production guarantee by the greater of the projected price ortho harvest price (if the harvest price
exclusion is in effect the revenue protection guarantee will be determined by multiplying the
production guarantee by the projected price). The projected price is used to determine the premium
and any replant payment or prevented planting payment The harvest price is used to value the
production to count

 

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Written agreements will be available under all plans of insurance. l-lovvever, a written agreement
cannot be used to establish revenue protection for a crop where the actuarial documents do not
provide coverage for the crop in that State.

An enterprise unit will be available for yield protection and revenue protection Enterprise units will be
available for other plans of insurance only if provided for in the Special Provisions. A whole»farrn unit
will be available for revenue protection unless limited by the Special i-"rovisions. A whole-farm unit
will be available for other plans of insurance only if provided for in the Specia| F’rovisionst

l-laii and fire coverage may be excluded under all plans of insurance l-iowever, if the policyholder

elected a who|e~farm unit, hail and fire coverage may only be excluded if allowed by the Speciai
Provisions.

Section 1 - Definitions

Added definitions of “Commodity Exchange Price Provisions (CEPP),” “Cooperative E)<tension
System,” “harvest price,” “harvest price exclusion,” “insurable interest,” “intended acreage report,”
“organic agricultural experts," "projected price,” "revenue protection,” “revenue protection guarantee
(per acre)," “Rl\/lA’s Web site," “verifiab|e records,” "yie|d protection," and “yie|d protection guarantee
(per acre).”_

Revised the definition of “actuaria| documents" by removing R|Vl/-\’s Web site address because a new
definition for RlV|A’s Web site has been added which includes the Web site address Also added
references to “crop insurance poiicies" and “prices."

Revised the definition of “agricuitural experts” “to reference the “Cooperative Extension Systern"
rather than the “Cooperative State Research, Education and Extenslon Service."

Revised the definition of "assignment of indemnity” to specify producers may only assign their right to
an indemnity to creditors or other persons to whom they have a financial debt or other pecuniary
obligation The previous definition allowed producers to assign their right to an indemnity to any party
of their choice

Revised the definition of "average yield" to clarify which assigned yields are included when calculating
the “average yie|d." On|y the assigned yields determined in accordance with sections 3(f)(1) (failure
to provide production report), 3(h)(1) (excessive yields), and 3(i) (second crop planted without doubleh
_cropping history on prevented planting acreage) are included

Revised the definition of "catastrophic risk protection” to remove the provision that specified
catastrophic risk protection is required before the producer may qualify for certain other USDA

- program benefits unless they execute a waiver of any eligibility for emergency crop loss assistance in
connection With the crop. Also added a provision to specify catastrophic risk protection is not
available with revenue protectionl

Revised the definition of "c|aim for indemnity" to specify it is a form that contains the information
necessary to pay the indemnity as specified in the applicable FClC issued proceduresl and complies
with the requirements in section 14. Removed the information regarding when the claim must be
submitted because this information is already contained in section 14.

 

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Revised the definition of “conventional farming practice” to remove the language referencing
"generaiiy recognized by agricultural experts for the area to conserve or enhance natural resources
and the environment.” This language is included in the definition of “sustainable farming practice”

Revised the definition of “deiinquent debt" to'specify it will have the same meaning as the term
contained in 7 CFR part 400, subpart U.

Revised the definition of "‘enterprise unit" by removing the qualification requirements These
provisions are included in section 34. The definition requires all insurable acreage of the same
insured crop in the county insured to be included in one enterprise unit; therefore all fall or winter and
spring types of a crop will be included in one enterprise unit.

Revised the definitions of "generally recognized" and “good farming practices" by removing the
phrase “the organic agricultural industry" and adding the phrase “organic agricultural experts” in its
place

Revised the definition of “liability” to specify it is the producers total amount of insurance value of the
production guarantee or revenue protection guarantee for the unit determined in accordance with the
Settlement of Claim provisions of the applicable Crop Provisions.

Revised the definition of "limited resource farmer" to specify it has the same meaning as the term
defined by USDA at http://www.lrftoo|.sc.egov.usda.gov/LRP-D.htm.

Revised the definition of “policy” by adding the phrase “the Commodity Exchange Price Provisions, if
applicable," since these provisions are part of the policy.

Revised the definition of “prevented planting" for clarification Also added language specifying failure
to plant because of uninsured causes such as lack of proper equipment or labor to plant acreage, or
use of a particular production method, is not considered prevented planting.

Revised the definition of “price election” to specify that a price election is not applicable for crops for
which revenue protection is available

Revised the definition of "production report” to specify supporting records must be in accordance with
FC|C approved procedures

Revised the definition of “share” to add the word "insurable” before the word "interest" and remove the
word “percentage." These changes make the terms in this definition consistent with the new
definition of "insurable interesl.”

‘ Revised the definition of "substantiai beneficial interest" to refer to “the applicable State dissolution of
marriage laws" rather than "State iaw” to determine whether the spouse is considered to have a
substantial beneficial interest in the insured or applicant

Revised the definition of “void” by removing the phrase “concealment, fraud or misrepresentation (see
section 27) because a policy may be void for reasons other than those contained in section 27.

Revised the definition of “whole-farm unit” by removing the qualification requirements. These
provisions are included in section 34. The definition requires all insurable acreage of all the insured
crops planted in the county for which whole-farm unit structure is available to be included in one

 

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¥vhole-farm unit; therefore all fall or winter and spring types of a crop will be included in one whole-
arrn unit.

Removed the definition of “economic significance" because this definition is in 7 CFR part 400,
Subpart T and in the CAT endorsement Also replaced the definition of “organic agricultural industry”
with the definition of "organic agricultural experts."

Section 2(b)(1) - Clarified that an individual applicant operating as a business may report an
Empioyer identification Number (ElN), but must also report their Social Security Number (SSN).

Section 2(b)(4) ~ Revised the provisions to include references to revenue protection, yield protection
and percentage of projected price

Section 2(b)(5) - Added provisions specifying the consequences when an applicant provides an
incorrect identification number. The policy will be void if an incorrect SSN or E|N is not corrected, the
producer corrects the SSN or E|N but cannot prove the error was inadvertent, it is determined the
incorrect number would have allowed the producer to obtain disproportionate benefits under the crop
insurance program, or the producer is determined to be ineligible for insurance or could avoid an
obligation or requirement under any State or Federal |aw.

Section 2(b)(6) - Revised the provisions to specify the substantial beneficial interest (SB|) of an
individuals spouse is presumed to be 50 percent The provisions also specify a policy will be void if
the identification number of a person with a SBl was omitted and is not provided, is incorrect and is
not corrected, is corrected but there is no proof the error was inadvertent it is determined the
incorrect number_wouid have allowed the producer to obtain disproportionate benefits under the crop
insurance program, or the SB| holder is determined to be ineligible for insurance or it is determined
there is an attempt to avoid an obligation or requirement under any State or Federa| iaw.

Section 2(b)(7) - Revised the provisions to specify ifthe policy is void the producer Wi|| be required to
pay an amount equal to 20 percent of the premium that the producer would otherwise be required to

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Section 2(b)(9) - Revised the provisions to specify if SBl holders change after the sales closing date
the application must be revised by the sales closing date for next crop year. However, if the
information changes less than 30 days before the sales closing date for the current crop year, the
application must be revised by the sales closing date for the next crop year.

Section 2(b)(10) - Revised the provisions to specify if the producer or a person with a SB| in the
producer is not eligible to obtain an SSN or an ElN, the producer must request an assigned number
from the insurance provider for the purposes of the policy. |f a number cannot be provided for
someone with a SBI in the producer, the amount of coverage for all crops on the application will be
reduced proportionately by the percentage interest in the producer of such persons

Section 2(f)(2)(i)(A) and (B) » Revised the provisions to specify for policies for which the sales closing
date is prior to the termination date the policy will terminate for debt for the current crop year even if
insurance attached prior to the termination date Such termination will be considered effective as of

the sales-closing date and no insurance will be considered to have attached for the crop year.

Section 2(f)(2)(i)(D) - Revised to clarify the crop year for which a policy will be terminated for failure to
make a payment under any written payment agreement and added an example

 

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Section 2(g)(1) - Revised the provisions to specify if a married insured dies, disappears, or is judicially
declared incompetent the policy Will automatically convert to the name of the spouse if the spouse
was listed as having a SBI in the insured and has ashare of the crop.

Sections 2(g)(2) and (3) - Revised the provisions to specify if a partner, member, shareholder, etc., of
an insured entity, dies, disappears, or is judicially declared incompetent more than 30 days before the '
cancellation date and such event automatically dissolves the entity, the policy is automatically
canceled as of the cancellation date and a new application must be submitted if such an event
occurs 30 days or less before the cancellation date or after the cancellation date the policy Will
continue in effect through the crop year, unless it is canceled by the cancellation date and will be
automatically canceled as of the cancellation date immediately following the end of the insurance
period for the crop year.

Section 2(g)(4) - Revised the provisions to specify if an insured entity is dissolved for reasons other
than death, disappearance or judicially declared incompetence and such event occurs before the
cancellation date the policy is automatically canceled as of the cancellation date lf such event
occurs on or after the cancellation date the policy will continue in effect through the crop year
immediately following the cancellation date and be automatically canceled as of the cancellation date
immediately following the end of the insurance period for the crop year.

Sectlon 2(g)(5) - Added a provision requiring a remaining member of an insured person or a
beneficiary to advise the insurance provider of a death1 disappearance judicial incompetence or
other event that causes dissolution of an entity.

Section 3 - Revlsed and refo_rmatted this section to include references to yield protection, revenue
protection, and other plans of insurance

Section 3(c)(2) ~ Added a provision specifying the producer's projected price and harvest price for
revenue protection will be 100 percent of the projected price and harvest price issued by FClC`

Section 3(0)(5) - Added provisions specifying what occurs when the projected price or harvest price
cannot be calculated in accordance with the CEPP.

Section 4 - Revised the provisions to include references to the CEPP. Also, clarified that the
producer may elect to receive documents and changes electronicallyl if available from the insurance
provider.

Section 6(c)(1) ~ Revised the provisions to specify the acreage report must include the last date the
crop was planted for all acreage in the unit planted by the final planting date and the date of planting
and the amount of acreage planted per day for acreage planted during the late planting period, if the
producer does not report the number of acres planted in the late planting period on a daily basisl all
acres planted in the late planting period will be presumed to have been planted on the last day
planting took place in the late planting period,

Section 6(0)(5) - Added provisions regarding inclusion of a land identifier (eg. legal description, FSA
farm serial number or common land unit number, etc.) on the acreage report.

Section 6(d)(3) - Revised provisions regarding acreage measurement requests

 

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Section 6(g) - Removed the provisions that provided for a misreporting information factor when a
producer misreported liability in excess of 10 percent of the correct liability. Also added provisions to
specify if the producer’s share is misreported and the share is under-reported, any claim will be
determined using the share the producer reportedl or, if the share is over-reported, any claim will be
determined using the share the insurance provider determines to be correct

Section Q(a) - Revise_d and reformatted the provisions Added provisions to specify that insurable
acreage must have been planted to an agricultural commodity other than a cover, hay , or forage crop
(except corn or sorghum silage), unless insurance is for a hay or forage crop.

Section 10 - Revised and reformatted the provisions Added provisions t`o clarify when the acreage or
interest of the spouse child, or household member will be included in the insured’s share. if it is
determined that the spouse child, or other member cf the household has a separate policy but does
not have a separate farming operation, the spouse’s, child's, or other person’s policy will be void and
no premium will be due or no indemnity paid for those policies

Sectlon 11 ~ Ciarified provisions regarding the end of the insurance period when insurance ends on a
portion of a unit

Section 12(a) - Added provisions to specify any act b_y any person that affects the yield, quality or
price of the insured crop (eg. chemical driftl fire terrorism1 etc.) is not an insured cause of loss

Section 12(d) ~ Added provisions to clarify the inability to prepare the land for irrigation, using the
producer’s established irrigation method, is a covered cause of loss if the inability is due to an insured
cause cf loss specified in the Crop Provislons.

Section 13(a) - Added provisions to specify if the crops to be replanted are in a whole-farm unit, the
20 acres or 20 percent requirement is to be applied separately to each crop to be replanted in the
whole-farm unit

Section 13(c) - Added provisions to specify the Special Provislons may indicate the amount per acre
of a replant payment Also added provisions to specify the Crop Provisions or Speciai Prov_isions
may indicate actual costs will not be considered when determining the amount of a replant payment

Section 14 - Reformatted the provisions to improve readability and eliminate duplication

Section 14(b) - Clarified that notice of damage or loss of production is required regardless of whether
the producer has harvested the crop. Added provisions to specify for revenue protection, if there .is
no damage or loss of production, the producer must give notice of a revenue loss not later than 45
days after the latest date the last harvest price is released for any crop in the unit

Section 14(e) - Added provisions specifying that for revenue protection, a claim must be submitted
declaring the amount of the producer's loss by the later of 60 days after the latest date the harvest
price is released for any crop in the unit or 60 days after the end of the insurance period,

Section 14(j) - Added a provision allowing preliminary indemnity payments to be made for revenue
protection prior to the release of the harvest price if the producer has not elected the harvest price

exclusion

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Section 16(b)(1) » Added provisions to specify if the producer fails to provide verifiable records of
harvested production1 no indemnity will be paid and the producer will be required to return any
previously paid indemnity for the unit that was based on an appraised amount of productionl

Section 15(i) - /-\dded provisions regarding record requirements for double cropping. When a
producer uses their own records of double cropping, the double cropping exemption may be used for
any acreage in the producer' s farming operation l-lowever, ii another producer' s records are used,
the exemption can only be used for the specific acreage that was previously double cropped. These
same changes are included in section 17(f)(4).

Section 17(a)(1) - l\/loved the provisions regarding “failure to plant when other producers in the area
were planting” from this section to section 17(d)(2). These provisions were moved to section 17(d)(2)
so they only apply in cases where the cause of loss is not drought related. in a drought situation,
some producers may elect to plant anticipating the return of normal precipitation even though all
requirements for a prevented planting payment (extended period of drought, insufficient soil moisture
etc) have been rnet.

Section 17(b)(4) - Revised the provisions to specify a producer cannot increase their elected or
assigned prevented planting coverage level ita cause of loss that could prevent planting (even `
though it is not known whether such cause will actually prevent pianting) occurred during the
prevented planting insurance period and prior to the time the increase was requested

Section 17(e) - Reformatted the provisions to improve readability.

Section 17(e)(1)(i) and (ii) - Clarlfied that a producer will be considered to have planted a crop in one
of the last four crop years if their APH database contains actual planted acres.

Section 17(e)(1)(i)(C) ~ Added provisions regarding increasing eligible irrigated acres when a
producer adds irrigation facilities to their own acreage or obtains additional irrigated acreage

Section 17(e)(1)(ii)(A)(2) - Added provisions allowing a producer to submit an intended acreage report
within 10 days of obtaining acreage in a county if the producer did not have any acreage in the county
on or before the sales closing date.

Section 17(f)(1) ~ Added provisions specifying for a whole-farm unit, the rule requiring 20 acres or 20
percent of the insurable acreage be prevented from being planted is applied separately for each crop.

Section 17(f)(4) ))-(ii Revised provisions to require double cropping records of the crop that was
prevented from being planted The previous provisions required double cropping records of the first
insured crop

Section iT(f)(G) - Added provisions to clarify that cover plants seeded, transplanted, or that volunteer
more than 12 months prior to the final planting date will be considered pasture or forage that is in
place.

Section 17(f)(9) ~ C|arified provisions regarding proof of inputs to produce the insured crop.

Section 17(h) ~ Revised provisions to limit prevented planting payments to the amount payable for the
crop that was actually prevented from being planted, when there are insufficient eligible acres for the

 

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insured crop, but there are remaining eligible acres for a crop with a higher prevented planting
payment amount

Section i8(c)(3) and (4) - Added provisions indicating if a written agreement is for a county where
revenue protection is not available for the cropl but revenue protection is available for the crop in the
State, the written agreement will contain the information used to establish the projected price and
harvest price, as applicable lf revenue protection is not available in the State, but is available in
another State, the written agreement will be for yield protection only and will contain the information
needed to determine the projected price.

Section 18(i) - Added provisions specifying the written agreement will be denied unless the insurance
' provider accepts the written agreement offer

Section 18(0) - Added provisions to clarify when producers may obtain administrative review or
appeal when they disagree with determinations made by FC|C regarding written agreements

Section 20(d) - Clarified provisions to specify insurance providers will make decisions regarding what
constitutes a good farming practice lf a producer disagrees with the insurance provider's decision,
they must request a determination from FC|C. if the determination is adverse to the_producer, the
producer may request reconsideration or file suit against FC|C. The provisions have also been
changed to allow a producer to file suit against FCiC without first seeking reconsideration of FC|C’s
adverse determination -

Section 20(|<) - Moved and clarified provisions previously contained in section 20(a)(1)(iii) regarding
any determination made by FClC that is a matter of general applicability is not subject to
administrative review or appea|. Also added provisions stating the producer must request a
determination of non-appealability from the Director of the National Appeals Division before seeking
judicial review.

Section 21 - Revised the example to clarify the length of time productionrecords must be kept Aiso
added provisions to specify yields that are knowingly misreported may be adjusted, regardless of
whether the record retention period has expired

Section 27(b) _ Revised provisions to specify the producer will still be required to pay 20 percent of
the premium that the producer would otherwise be required to pay in the event the policy has been
voided.

Section 29 - Reformatted the provisions to improve readabi|ity. Revised the provisions to specify the
producer may assign the producer's right to an indemnity for the crop year only to creditors or other
persons to whom the producer has a financial debtor other pecuniary obligation The producer may
be required to provide proof of the debtor other pecuniary obligation before the insurance provider
will accept the assignment of indemnity Each assignment form may contain more than one creditor
or other person to whom the producer has a financial debt or other pecuniary obligation The
insurance provider will not be liable for any financial debt or other pecuniary obligation if the producer
failed to include such lienholder on the assignment form nor to pay any amount greater than the total
amount of indemnity owed under the policy. The assignee may submit the claim for indemnity not
later than 30 days after the period for filing a claim has expired .

 

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Section 30- Rernoved the provisions and reserved the section because there is no instance where
the producer would have a right of subrogation against a third person Where the loss would be
covered under the policy.

Section 34(a)(1) and (2) - Added provisions to specify enterprise units may be elected only for crops
for which revenue protection is available or if allowed by the Special Provisions. Also added
provisions to specify whole~farm units may be elected only for crops for which revenue protection is
elected and is in effect unless limited by the Special Provisions or if allowed by the Speciai
Provisions.

Section 34(a)(3)(i) - Added provisions to allow a producer to elect an enterprise or whole-farm unit
until the spring sales closing date in counties with fall or winter and spring sales closing dates
provided the producer does not have any insured fall planted acreage of the insured crop.

Section 34(a)(4)(i) - Revised the enterprise unit provisions to require at least two sections section
equivalents FSA farm_serial numbers or units established by written agreement, whichever are the
basis for optional units where the insured acreage is located or are applicable to the insured acreage
Added provisions to allow a combination of two or more sections section equivalents or FSA farm
serial numbers if more than one of these are the basis for optional units where the insured acreage is
located or are applicable to the insured acreage (for example a portion of the acreage is located in
an area where sections are the basis for optional units and another portion of the acreage is located
in an area where FSA farm serial numbers are the basis for optional units). Also added provisions to
allow one section, section equivalentr or FSA farm serial number to qualify for an enterprise unit,
based on whichever type of parcel is the basis for optional units where the insured acreage is located,
provided there are at least 660 planted acres of the insured crop in such section, section equivalentl
or FSA farm serial number.

Section 34(a)(4)(ii) - Revised the provisions to specify that at least two of the sections section
equivalents FSA farm serial numbers or units established by written agreement, whichever are the
basis for optional units where the insured acreage is located or are applicable to the insured acreage
must each have planted acreage that constitutes at least the lesser of 20 acres or 20 percent of the
insured crop acreage in the enterprise unit. Also added provisions that if there is planted acreage in 7
more than two sections section equivalents FSA farm serial numbers or units established by written
agreement, these parcels can be aggregated to form at least two parcels to meet this requirement

Section 34(a)(4)(vii) - Revised the provisions to specify that if it is discovered on or before the
acreage reponing date that the producer failed to qualify for an enterprise unit, basic or optional units
will apply based on whichever unit structure the producer reported on their acreage report and
qualifies for lf such discovery was made after the acreage reporting date basic units will be
assigned Simiiar provisions were added to section 34(a) (5)(v) regarding unit structure that will apply
when a producer fails to qualify for a who|e- farm unlt.

Section 34(a)(5)(i)(C) - Added provisions to specify planted acreage of at least two of the insured
crops in a whole-farm unit must each constitute 10 percent or more of the total planted acreage
liability of all insured crops in the whole-farm unit.

Section 35 ~ Restructured the provisions for clarity, A|so added provisions specifying how to
determine the amount of the actual loss for crops with and without revenue protection,

 

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11-BR
ineleased Aprlr 2010) CONlNlON CROP lNSURANCE POL|CY

(This is a continuous policy. Refer to section 2.)

 

Th1s insurance policy is reinsured by the Fed`era| Crop insurance Corporation (FClC) under the provisions of the Federal Crop
insurance Act (Actj (7 U.S.C. 1501 et my Aif provisions of the policy and rights and responsibilities of the parties are
specrhcal|y subject to the Acl. the provisions of the policy may not be waived or varied in any way by us our insurance agent or
any other contractor or employee of ours or any employee of USDA unless the policy specifically authorizes a waiver or
mod1f1cation by written agreement We will use the procedures (handbooks, manuals memoranda and bulletins), as issued by
l:C|C and published on Rl'vtA‘s Web site at http://mvw.rma.usda.gov! or a successor Web site in the administration of this policy,
including the adjustment of any loss or claim submitted hereunder. |n the event that we cannot pay your loss because we are
insolvent or are otherwise unable to perform our duties under our reinsurance agreement with FCIC, your claim will be settled in

accordance with the provisions of this policy and FC|C will be responsible for any amounts owed. No state guarantee fund will
be liable for your loss

Throughout _tnis pollcy, "you” and “your” refer to the named insured shown on the accepted application and “we," “us,“ and l‘cur‘r
refer to the insurance company providing insurance. Un|ess the context indicates otherwise use of the plural form of a word
includes the singular and use of the singular form of the word includes the plurai,

 

AGREEMENT TO INSURE: |n return for the payment of the premium, and subject to all of the provisions of this policy, we
agree with you to provide the insurance as stated in this policy. |f there is a conflict between the Act, the regulations
published at 7 CFR chapter lV, and the procedures as issued by FCIC, the order cf priority is: (1) the Act; (2) the regulations
and (3) the procedures as issued by FCIC, with {1) controlling (2). etc. ll there is a conflict between the policy provisions
published at.? CFR part 457 and the administrative regulations published at 7 CFR part 400, the policy provisions published
at 7 CFR part 457 control. lt a conflict exists among the policy provisions the order of priority is; (1) the Catastrophic Risk
Protection Endorsement, as applicable (2) the Speclal Provisions', (3) the Commodlty Exchange Price Provisions, as
applicable (4) the Crop Provisions; and (5) these Basic Provisions, with (1) controlling (2). etc.

 

 

 

TERMS AND COND|T|ONS
BASIC PROV|S!ONS

Definitions.

Abandon ~ Fai|ure to continue to care for the crop,
providing care so insignificant as to provide no benefit to
the crop, or failure to harvest in a timely manner, unless
an insured cause of loss prevents you from properly
caring for or harvesting the crop or causes damage to it
to the extent that most producers of the crop on acreage
with similar characteristics in the area would not normally
further care for or harvest it.

Acreage report - A report required by section 6 of these
Basic Provisions that contains in addition to other
required information, your report of your share of all
acreage of an insured crop in the county, whether
insurable or not insurable

Acreage reporting date - The date contained in the
Specia| Provisions or as provided in section 6 by which
you are required to submit your acreage report.

Act - The Federa| Crop insurance Act (7 U.S.C. 1501 et
sss-l-

Actua| Productlon l~listory (APH) - A process used to
determine production guarantees in accordance wilh 7
CFR part 400, subpart (G).

Actual yield - The yield per acre for a crop year
calculated from the production records or claims for
indemnities. The actual yield is determined by dividing
total production (which includes harvested and appraised
production) by planted acres

Actuarial documents » The information for the crop year
which is available for public inspection in your agent`s
office and published on Rile's Web site and which
shows available crop insurance policies coverage levels
information needed to determine amounts of insurance

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prices premium rates premium adjustment percentages
practices particular types or varieties of the insurable
crop,-insurable acreage and other related information
regarding crop insurance-in the county.

Additional coverage - A level of coverage greater than
catastrophic risk protection

Admlnistrative fee - An amount you must pay for
catastrophic risk protection, and additional coverage for
each crop year as specified in section 7 and the
Catastrophic Risk Protection Endorsement.

Agricu|tural commodity ~ Any crop or other commodity
produced, regardless of whether or not it is insurable
Agricultura| experts - Persons who are employed by
the Cooperatlve Extensicn Syslem or the agricultural
departments of universities or other persons approved
by FC|C, whose research or occupation is related to the
specinc crop or practice for which such expertise is
sought

Annua| crop - An agricultural commodity that normally
must be planted each year.

App|lcation - The form required to be completed by you
and accepted by us before insurance coverage will
commence This form must be completed and filed in
your agents office not later than the sales closing date of
the initial insurance year for each crop for which
insurance coverage is requested lt cancellation or
termination of insurance coverage occurs for any reasonl
including but not limited to indebtedness suspensionl
debarment, disqualification cancellation by you or us or
violation of the controlled substance provisions of the
Food Securlty Act of 1965, a new application must be
filed for the crop. lnsurance coverage will not be

 

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provided if you are ineligible under the contract or under
any Federal statute or regulation
Approved yield ~ The actual production history (APl-l)
yieldl calculated and approved by the verifier, used to
determine the production guarantee by summing the
yearly actual, assigned adjusted or unadjusted
transitional yields and dividing the sum by the number of
yields contained in the database, which will always
contain at least four yieldsl The database may contain
up to 10 consecutive crop years of actual or assigned
yields. The approved yield may have yield adjustments
elected under section 36, revisions according to section
3. or other limitations according to FC|C approved
procedures applied when calculating the approved yieid.
Area - Land surrounding the insured acreage with
geographic characteristicsl topographyl soil types and
climatlc conditions similar to the insured acreage
Assignment of indemnity - A transfer of policy rightsl
made on our form, and effective when approved by us in
writing, whereby you assign your right to an indemnity
payment for the crop year only to creditors or other
persons to whom you have a financial debt or other
pecuniary obligationl
Average yield - The yield calculated by totaling the
yearly actual yields, assigned yields in accordance with
sections S(f)(‘t) (failure to provide production report),
3(h)(1) (excessive yields), and 3(i) (sec`ond crop planted
without double cropping history on prevented planted
acreage), and adjusted or unadjusted transitional yields,
and dividing the total by the number of yields contained
in the database.
Basic unit - Atl insurable acreage of the insured crop in
the county on the dale coverage begins for the crop year:
(l) ln which you have lOO percent crop share; or
(2} Which is owned by one person and operated by
another person on a share basis. (Example: lf, in
addition to the land you own, you rent land from five
landlords, three on a crop share basis and two on a
cash basis, you would be entitled to four units; one
for each crop share lease and one that combines
the two cash leases and the land you own.) Land
which would otherwise be one unit may, in certain
instances, be divided according to guidelines
contained in section 34 of these Basic Provisions
and in the applicable Crop Provisions.
Butfer zone » A parcel oi iand, as designated .in your
organic planl that separates agricultural commodities
grown under organic practices from agricultural
commodities grown under non- organic practices, and
used to minimize the possibility of unintended contact by
prohibited Substances or organisms
Canceilation date- The calendar date specified iri the
Crop Provisions on which coverage for the crop will
automatically renew unless canceled in writing by either
you or us or terminated in accordance with the policy
terms
Catastrophic risk protection - The minimum level of
coverage offered by FClC. Catastrophic risk protection
is not available with revenue protection
Catastrophic Rislt Protection Endorsement - The part
of the crop insurance policy that contains provisions of
insurance that are specific to catastrophic risk protection,

(2 of4o)

Certifled organic acreage - Acreage in the certiHed
organic farming operation that has been certined by a
certifying agent as conforming to organic standards in
accordance with 7 CFR part 205.

Certlfying agent - A private or governmental entity
accredited by the USDA Secretary of Agricuiture for the
purpose of certifying a production, processing or

- handling operation as organic.

Claim for indemnity » A claim made on our form that
contains the information necessary to pay the indemniiy,
as specified in the applicable FC|C issued procedures
and complies with the requirements in section 14.

Code of Federal Regu|ations (CFR) - The codification
of general and permanent rules published in the Federal
Reglster by the Executive departments and agencies of
the Federal Governrnent. Ru|es published in the EM
Register by FCIC are contained in 7 CFR chapter lV.
The full text of the CFR is available in electronic format at
htlg:immvw.access.gpo.gov/ or a successor Web siie.
Commodity Exchange Price Provisions {CEPP) - A
part of the policy that is used for all crops for which
revenue protection is availablel regardless of whether
you elect revenue protection or yield protection for such
crops. This document includes the information
necessary to derive the projected price and the harvest
price for the insured crop, as applicabie.

Consent - Approva| in writing by us'aliowing you to take
a specihc action.

Contract - (See “po|icy”).

Contract change date - The calendar date by which
changes to the policy, if any, will be made available in
accordance with section 4 of these Basic Provisions.
Conventional farming practice - A system or process
that is necessary to produce an agricultural commodity.
excluding organic farming practices

Cooperative Extension System - A nationwide network
consisting of a State office located at each Stale’s land-
gi'ant university, and local or regional offices These
offices are staffed by one or more agricultural experts,
who work in cooperation with the Cooperative State
Research, Education and Extension Service, and who
provide information to agricultural producers and others
County - Any county, parish, or other political
subdivision of a state shown on your accepted
application, including acreage in a He|d that extends into
an adjoining county if the county boundary is not readily
discernible

Cover crop - A crop generally recognized by agricultural
experts as agronomicaliy sound for the area for erosion
control or other purposes related to conservation or soil
improvement A cover crop may be considered to be a
second crop (see the definition of "second crop").
Coverage - The insurance provided by this policy,
against insured loss of production or vaiue, by unit as
shown on your summary of coveragel

Coverage begins, date ~ The calendar date insurance
begins on the insured crop, as contained in the Crop
Provisions, or the date planting begins on the unit (see
section ll of these Basic Provisions for specific
provisions relating to prevented planting).

 

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Crop Provlsloris - The part of the policy that contains
the specific provisions of insurance for each insured
crop.

Crop year - The period within which the insured crop is
normally grown, regardless of whether or not it is actually
grownl and designated by the calendar year in which the
insured crop is normally harvested, unless otherwise
specified in the Crop Provlsions. l
Darnage - injuryl deterioration, or loss of production of
the insured crop due to insured or uninsured causesl
Days - Calendar days.

Deductlble - The amount determined by subtracting the
coverage level percentage you choose from 100 percent
For examplel if you elected a 65 percent coverage level,
your deductible would be 35 percent (100% - 65% =
35%). g
Detinquent debt - Has the same meaning as the term
defined in 7 CFR part 400, subpart U.

Disinterested third party - A person that does not have
any familial relationship (parents, brothersl sisters,
childrenl spouse, grandchildren, auntsl uncles, nieces,
nephews. first cousins, or grandparents related by
blood, adoption or marriage, are considered to have a
familial relationship) with you or who will not benefit
financially from the sale of the insured crop, Persons
who are authorized to conduct quality analysis in
accordance with the Crop Provislons are considered
disinterested third parties unless there is a familial
relationship _ t

Doub|e crop - Producing two or more crops for harvest
on the same acreage in the same crop year.

Ear|lest planting date - The initial planting date
contained in the Special F’rovislonsl which is the earliest
date you may plant an insured agricultural commodity
and qualify for a replanting payment if such payments
are authorized by the Crop Provisions.

End of insurance period, date of - The date upon
which your crop insurance coverage ceases for the crop
year (see Crop Provisions and section l‘l).

Enterprise unit » All insurable acreage of the same
insured crop in the county in which you have a share on
the date coverage begins for the crop year, provided the
requirements of section 34 are met.

Field - All acreage of tillab|e land within a natural or
artificial boundary (§g;l roadsl waterways fences, etc.).
Different planting patterns or planting different crops do
not create separate fields.

Flnal planting date - The date contained in the Specia|
Provisions for the insured crop by which the crop must
initially be planted in order to be insured for the full
production guarantee or amount of insurance per acre.
First insured crop ~ With respect to a single crop year
and any specific crop acreage, the first instance that an
agricultural commodity is planted for harvest or
prevented from being planted and is insured under the
authority of the Act. For examplel if winter wheat that is
not insured is planted on acreage that is later planted to
soybeans that are insured, the hrsi insured crop would
be soybeans. ll the winter wheat was lnsured, it would
be the first insured crop.

FSA - The Farm Servlce Agency, an agency of the
USDA, or a successor agency.

rs or 40)

FSA farm serial number ~ The number assigned to the
farm by the local FSA office

Generatly recognized - When agricultural experts or
organic agricultural experts, as applicablel are aware of
the production method or practice and there ls no
genuine dispute regarding whether the production
method or practice allows the crop to make normal
progress toward maturity and produce at least the yield
used to determine the production guarantee or amount of
insurance.

Good farming practices - The production methods
utilized to produce the insured crop and allow lt to make
normal progress toward maturity and produce at least the
yield used to determine the production guarantee or
amount of lnsurance, including any adjustments for late
planted acreage, which are: (1) For conventional or
sustainable farming practices those generally
recognized by agricultural experts for the area; or (2) for
organic farming practices those generally recognized by
organic agricultural experts for the area or contained in
the organic plan. We may, or you may request us to1
contact FC|C to determine whether or not production
methods will be considered to be “good farming
practices,"

Harvest price - A price determined in accordance with
the Comrncdity Exchange Price Provisions and used to
value production to count for revenue protectionl

Harvest price exclusion - Revenue protection with the
use of the harvest price excluded when determining your
revenue protection guarantee. This election is
continuous unless canceled by the cancellation date.
Household - A domestic establishment including the
members of a family (parents, brothers, sistersl childrenl
spouse, grandchildren, aunts, uncles, nieces, nephews,
first cousinsl or grandparentsl related by blood, adoption
or marriagel are considered to be family members) and
others who live under the same roof.

insurable interest » Your percentage of the insured crop
that is at financial rlsl<.

insurable loss - Damage for which coverage is provided
under the terms of your policyl and for which you accept
an indemnity paymentl

insured - The named person as shown on the
application accepted by us. This term does not extend to
any other person having a share or interest in the crop
{for example, a partnership landlord or any other
person) unless specifically indicated on the accepted
applicationl

insured crop ~ The crop in the county for which
coverage is available under your policy as shown on the
application accepted by us.

intended acreage report - A report of the acreage you
intend to plant, by crop, for the current crop year and
used solely for the purpose of establishing eligible
prevented planting acreage, as required in section 17.
|nterpianted - Acreage on which two or more crops are
planted in a manner that does not permit separate
agronomic maintenance or harvest of the insured crop.
irrigated practice - A method of producing a crop by
which water is artificially applied during the growing
season by appropriate systems and at the proper times,
with the intention of providing the quantity of water

 

 

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needed to produce at least the yield used to establish the
irrigated production guarantee or amount of insurance on
the irrigated acreage planted to the insured crop.

Late planted - Acreage initially planted to the.insured
crop after the final planting date.

Late planting period - The period that begins the day
after the final planting date for the insured crop and ends
25 days after the final planting date, unless otherwise
specified in the Crop Provlslons or Special Provlslons.
Liabllity - Your total amount of insurance, value of your
production guarantee, or revenue protection guarantee
for the unit determined in accordance with the Settlement
of Claim provisions of the applicable Crop Provlslons.
lelted resource farmer - Has the same meaning as
the term defined by USDA at
http:i'rwww.lrftool.sc.edov.usda.oovil_RP-D.htrn.

Natlve sod - Acreage that has no record of being titled
(deienrilned in accordance with FSA or other verifiable
records acceptable to us) for the production of an annual
crop on or before lv'lay 22, 2008, and on which the plant
cover is composed principally of native grassesl grass-
lll<e plants, forbs, or shrubs suitable for grazing and
browslng.

Negligence - The failure to use such care as a
reasonably prudent and careful person would use under
similar circumstances

irion-contiguous - Acreage of an insured crop that is
separated from other acreage of the same insured crop
by land that is neither owned by you nor rented by you
for cash or a crop share. However, acreage separated
by only a public or private right-of-way, waterway, or an
irrigation canal will be considered as contiguous

Offset - The act of deducting one amount from another
amount

Organic agricultural experts - Persons who are
employed by the following organizations Appropriate
Technology Transfer for Rural Areas, Sustainable
Agriculture Research and Education or the Cooperative
Extension System, the agricultural departments of
universitiesl or other persons approved by FClC. whose
research or occupation is related to the specific organic
crop or practice for which such expertise is sought
Organic crop - An agricultural commodity that is
organlcally produced consistent with section 2103 of the
Organic Foods Produclion Act of 1990 (7 U.S.C. 6502).
Organic farming practice - A system of plant production
practices used to produce an organic crop that is
approved by a certifying agent in accordance with 7 CFR
part 205.

Organic plan - A written planl in accordance with the
l\latlonal Organic Prograrn published in 7 CFR part 205,
that describes the organic farming practices that you and
a certifying agent agree upon annually or at such other
times as prescribed by the codifying agent.

Organic standards ~ Standards in accordance with the
Organic Foods Productlon Act of 1990 (7 U.S.C. 6501 e_t
ge_q;) and 7 CFR part 205.

Perennial crop - A plant bush, tree or vine crop that has
a life span of more than one year.

Person - An individuai, partnership, association.
corporationl estate, trustl or other legal entity, and
wherever applicable a State or a political subdivision or

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agency of a State. 'Person" does not include the United
States chernment or any agency thereof.

Planted acreage ~ Land in which seed, plants, or trees
have been placed, appropriate for the insured crop and
planting melhod, at the correct depth, into a seedbed that
has been properly prepared for the planting method and
production practice

Pollcy - The agreement between you and us to insure an
agricultural commodity and consisting of the accepted
applicationl these Basic F’rovisions1 the Crop l°rovisionsl
the Special Provlslons, the Comrnodlty Exchange Price
Provlslons. if applicable other applicable endorsements
or options, the actuarial documents for the insured
agricultural commodity, the Catastrophic Ris|< Protection
Endorsernent, if applicable1 and the applicable
regulations published in 7 CFR chapter lV. lnsurance for
each agricultural commodity in each county will
constitute a separate policy.

Practlca| to replant - Our determination, after loss or
damage to the insured crop, based on all factors,
includihg, but not limited to moisture availablllty,
marketing windowl condition of the held, and time to crop
maturity, that replanting the insured crop will allow the
crop to attain maturity prior to the calendar date for the
end of the insurance period. lt will be considered to be
practical to replant regardless of availability of seed or
plants, or the input costs necessary to produce the
insured crop such as those that would be incurred for
seed or plants, irrigation water, etc.

Prairle Pothole National Prlorlty Area ~ Consists of
specihc counties within the States of lowa, lviinnesota,
iviontana, North Dakota or South Daltota as specihed on
the RNlA Web site at rittp:llwww.rrna.usda.govf, or a
successor Web site, or the Farm Service Agency,
Agricu|lural Resource Conservation Program 2»CRP
(Revi_sion 4), dated April 28, 2008, or a subsequent
publication

Pramium billing date - The earliest date upon which
you will be billed for insurance coverage based on your
acreage report The premium billing date is contained in
the Special Provlslons.

Prevented planting - Failure to plant the insured crop by
the final planting date designated in the Specia|
Provlslons for the insured crop in the county, or within
any applicable late planting period, due to an insured
cause of loss that is general to the surrounding area and
that prevents other producers from planting acreage with
similar characteristics Fallure to plant because of
uninsured causes such as lack of proper equipment or
labor to plant acreagel or use of a particular production
method, is not considered prevented planting.

Price election - The amounts contained in the Special
Provlslons, or in an addendum thereto, that is the value
per pound, bushel, ton, carton, or other applicable unit of
measure for the purposes of determining premium and
indemnity under the policy. A price election is no_t
applicable for crops for which revenue protection ls
available

Productlon guarantee (per acre) - The number ot
pounds, bushels, tonsl cartons, or other applicable units
of measure determined by multiplying the approved yield
per acre by the coverage level percentage you elect.

 

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Production report - A written record showing your
annual production and used by us to determine your
yield for insurance purposes in accordance with section
3. The report contains yield information for previous
years, including planted acreage and production. This
report must be supported by written verifiable records
from a warehouseman or buyer of the insured crop, by
measurement of farm-stored production, or by other
records cf production approved by us on an individual
case basis in accordance with FC|C approved
procedures

Prohibited substance - Any biologicall chemicall or
other agent that is prohibited from use or is not included
in the organic standards for use on any ceitihed organic,
transitional or buffer zone acreage i_ists of such
substances are contained at 7 CFR part 205.

Projected price - The price for each crop determined in
_ accordance with the Cornmodity Exchange Price
Provlslons. The applicable projected price is used for
each crop for which revenue protection is availab|e,
regardless of whether you elect to obtain revenue
protection or yield protection for such crop.

Replanted crop - The same agricultural commodity
-repianted on the same acreage as the Hrst insured crop
for harvest in the same crop year if the replanting is
specifically made optional by the policy and you elect to
replant the crop and insure it under the policy covering
the first insured cropl or replanting is required by the
poiicy.

Replanting - Performing the cultural practices necessary
to prepare the land to replace the seed or plants of the
damaged or destroyed insured crop and then replacing
the seed or plants of the same crop in the same insured
acreage The same crop does not necessarily mean the
same type or variety of the crop unless different types or
varieties constitute separate crops or it is otherwise
specified in the policy.

Representatlve sample - Portions of the insured crop
that must remain in the field for examination and review
by our loss adjuster when making a crop appraisal, as
specified in the Crop Provlslons. in certain instances we
may allow you to harvest the crop and require only that
samples of the crop residue be left in the field

Revenue protection - A plan of insurance that provides
protection against loss of revenue due to a production
loss, price decline or increasel or a combination of both.
if the harvest price exclusion is elected, the insurance
coverage provides protection only against loss of
revenue due to a production |oss, price decline. or a
combination of both.

Revenue protection guarantee (per acre} - For
revenue protection bniy, the amount determined by
multiplying the production guarantee {per acre} by the
greater of your projected price or your harvest price. if
the harvest price exclusion is eiected, the production
guarantee (per acre) is only multiplied by your projected
price

RMA’s Web site - A Web site hosted by RMA and
located at QMWWM or a successor Web
sile.

Saies closing date - A date contained in the Special
Provlslons by which an application must be filed The

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last date by which you may change your crop insurance
coverage for a crop year.

Second crop - With respect to a single crop year, the
next occurrence of planting any agricultural commodity
for harvest following a first insured crop on the same
acreage. The second crop may be the same or a
different agricultural commodity as the Hrst insured crop,
except the term does not include a replanted crop. A
cover crop, planted after a first insured crop and planted
for the purpose of hayingl grazing or etherwise
harvesting in any manner or that is hayed or grazed
during the crop year, or that is otherwise harvested is
considered to be a second crop. A cover crop that is
covered by FSA’s noninsured crop disaster assistance
program (NAP) or receives other USDA benefits
associated with forage crops will be considered as
planted for the purpose of hayingl grazing or otherwise
harvesting A crop meeting the conditions stated herein
will be considered to be a second crop regardless of
whether 0r not it is insured Notwithstanding the
references to haying and grazing as harvesting in these
Basic Provlslons. for the purpose of determining the end
of the insurance periodl harvest of the crop will be as
defined in the applicable Crop Provlslons.

Section - For the purposes ol unit structurel a unit of
measure under a rectangular survey system describing a
tract of land usually one mile square and usually
containing approximately 640 acresl

Share - Your insurable interest in the insured crop as an
owner, operator, or tenant at the time insurance
attaches However, only for the purpose of determining
the amount of indemnity, your share will not exceed your
share at the earlier of the time of loss or the beginning of
harvestl

Specia| Provlslons - The part of the policy that contains
specific provisions of insurance for each insured crop
that may vary by geographic area.

State ~ The state shown on your accepted application
Substantial beneficial interest - An interest held by any
person of at least 10 percent in you (gg;, there are two
partnerships that each have a 50 percent interest in you
and each partnership is made up of two individuals each
with a 50 percent share in the partnership in this case,
each individual would be considered to have a 25
percent interest in you, and both the partnerships and the
individuals would have a substantial beneficial interest in
you. The spouses of the individuals would not be
considered to have a substantial beneficial interest
unless the spouse was one of the individuals that made
up the partnership However, if- each partnership is
made up of six individuals with equal interestsl then each
would only have an 8.33 percent interest in you and
although the partnership would still have a substantial
beneficial interest in you, the individuals would not for the
purposes of reporting in section 2). The spouse of any
individual applicant or individual insured will be
presumed to have a substantial beneficial interest in the
applicant or insured unless the spouses can prove they
are legally separated or otherwise legally separate under
the applicable State dissolution of marriage iaws. Any
child of an individual applicant or individual insured will
not be considered to have a substantial beneficial

 

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interest in the applicant or insured unless the child has a
separate legal interest in such person.
Sumrnary of coverage - Our statement to you, based
upon your acreage report, specifying the insured crop
and the guarantee or amount of insurance coverage
provided by unit
Sustalnab|e farming practice- A system or process for
producing an agricultural commodity, excluding organic
farming practices, that is necessary to produce the crop
and is generally recognized by agricultural experts for the
area to conserve or enhance natural resources and the
environment

Tenant ~ A person who rents land from another person

for a share of the crop or a share of the proceeds of the

crop (see the definition of “share” above).

't'ermination date - The calendar date contained in the

Crop Provisions upon which your insurance ceases to be

in effect because of nonpayment of any amount due us

under the poiicy, including premium

Tiileci - The termination of existing plants by plowing,

disi<ingl burning, application of chemicais, or by other

means to prepare acreage for the production of an
annual crop.

Tirne|y planted - Planted on or before the Hnal planting

date designated in the Special Provlslons for the insured

crop in the county.

Transitional acreage - Acreage on which organic

farming practices are being followed that does not yet

qualify to be designated as organic acreage.

USDA - United States Department of Agriculture.

Verifiable records ~ Has the same meaning as the term

defined in 7 CFR part 400, subpart G.

Void - When the policy is considered not to have existed

for a crop year.

Whoie-farm unit - All insurabie acreage of all the

insured crops planted in the county in which you have a

share on the date coverage begins for each crop for the

crop year and for which the whole-farm unit structure is
available in accordance with section 34i

Written agreement - A document that atters designated

terms of a policy as authorized under these Basic

Provisions, the Crop Provisions, or ' the Speciai

Provlslons for the insured crop (see section 18).

Yield protection - A plan of insurance that only provides

protection against a production loss and is availabie only

for crops for which revenue protection is available

Yietd protection guarantee (per acre) - When yield

protection is selected for a crop that has revenue

protection avaiiabie, the amount determined by
multiplying the production guarantee by your projected
price.

Life of Po||cy, Cancellation, and Termination.

(e) This is a continuous policy and wilt remain in effect
for each crop year following the acceptance of the
original application until canceled by you in
accordance with the terms of the policy or terminated
by operation of the terms of the policy or by us. |n
accordance with section 4, FClC may change the
coverage provided from year to year.

(b) With respect to your application for insurance:

(i) You must include your social security number
(SSN) if you are an individual (lf you are an

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individual applicant operating as a business, you

may provide an employer identincation number

(EIN) but you must also provide your SSN); or

You must include your E|N if you are a person

other than an lndividual;

in addition to the requirements of section 2(b)(i)

or (2), you must include the following for all

persons who have a substantial beneficial
interest in you;
(i) The SSN for individuals or
(ii) The Ell\i for persons other than individuats
and the SSNs for ali individuals that
comprise the person with the E|N if such
individuals also have a substantial
beneficial interest in you;
You must include:
(i) Your election of revenue protection, yield
protection, or other available plan of
insurance; coverage level; percentage of
price election or percentage ot projected
price, as applicabie; crop, type. variety, or
class; and any other material information
required on the application to insure the
crop; and .
(ii) A|l the information required in section
2(b)(4)(i) or your appiication will not be
accepted and no coverage will be
provided;
Your application will not be accepted and no
insurance witt be provided for the year of
appiication if the application does not contain
your SSN or E|N. lf your application contains an
incorrect SSN or E|N for youl your application
will be considered not to have been accepted,
no insurance will be provided for the year of
application and-for any subsequent crop years,
as applicab|e, and such policies will be void if:
(i) Such number is not corrected by you; or
(ii) You correct the SSN or EiN butz
(A) You cannot prove that any error was
inadvertent (Simply stating the error
was inadvertent is not sufficient to
prove the error was inadvertent); or

(B) it is determined that the incorrect
number would have allowed you to
obtain disproportionate benents under
the crop insurance program, you are
determined to be ineligible for
insurance or you could avoid an
obligation or requirement under any
State or Federal law;

With respect to persons with a substantial

beneficial interest in you;

(i) The insurance coverage for all crops
included on your application will be
reduced proportionater by the percentage
interest in you of persons with a substantial
beneficial interest in you (presumed to be
50 percent for spouses ot individua|s) if the
SSNs or Ele of such persons are included
on your application, the SSNs or Ele are
correct, and the persons with a substantial

 

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beneficial interest in you are ineligible for

insurance;

(ii) Your policies for all crops included on your
application, and for ali applicable crop
yearsl will be void if the SSN or ElN of any
person with a substantial beneficial interest
in you ls incorrect or is not included on
your application and:

(A) Such .number is not-' corrected or
provided by you, as applicabie;

(B} You cannot prove that any error or
omission was inadvertent (Simp|y
stating the error or omission was
inadvertent is not suincient to prove
the error or omission was inadvertent);
or

(C) Even alter the correct SSN or EIN is
provided by you, it is determined that
the incorrect or omitted SSN or EIN
would have allowed you to obtain
disproportionate benehts under the
crop insurance program, the person
with a substantial beneficial interest in
you is determined to be ineligible for
insurancel or you or the person with a
substantial beneficial interest in you
could avoid an obligation or
requirement under any State or
Federal law; or

(iii) E)<cept as provided in sections 2(b)(6)(ii)(B)
and (C), your policies witt not be voided it
you subsequently provide the correct SSl\i
or ElN for persons with a substantial
beneficial interest in you and the persons
are eligibie for insurance;

When any of your policies are void under

sections 2(b)(5) or (6):

(i) You must repay any indemnity, prevented
planting payment or replant payment that
may have been paid for all applicable
crops and crop years;

(ii} Even though the policies are void, you will
still be required to pay an amount equal to
20 percent of the premium that you would
otherwise be required to pay; and

(iii) if you previously paid premium or
administrative fees, any amount in excess
of the amount required in section 2(b)(7)(ii)
will be returned to you;

Notwithstanding any of the provisions in this

section, if you certify to an incorrect SSN or E|N,

or receive an indemnity, prevented planting

payment or replant payment and the SSN or EIN
was not correct. you may be subject to civil,
criminal or administrative sanctions;

if any of the information regarding persons with

a substantial beneficial interest in you changes

after the sales closing date for the previous crop

year, you must revise your application by the
sales closing date for the current crop year to
reflect the correct information However, if such
information changed less than 30 days before

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the sales closing date for the current crop year,

you must revise your application by the sales

closing date for the next crop year. |f you fail to
provide the required revisions, the provisions in
section 2(b)(6) will apply; and

(10) if you arel or a person with a substantial
beneficial interest in you is, not eligible to obtain

a SSN or E|N, whichever is required, you must

request an assigned number for the purposes of

this policy from us:

(i) A number will be provided only if you can
demonstrate you arel or a person with a
substantial beneficial interest in you is,
eligible to receive Federal benefits;

(ii) if a number cannot be provided for you in
accordance with section 2(b)(10)(l), your
application will not be accepted; or

(iii) if a number cannot be provided for any
person with a substantial beneficial interest
in you in accordance with section
2(b)(10)(i), the amount of coverage for ali
crops on the application will be reduced
proportionately by the percentage interest
of such person in you.

{c) After acceptance of the application, you may not

(€)

cancel this policy for the initial crop year. Thereafter,

the policy will continue in force for each succeeding

crop year unless canceled or terminated as provided
below.

Elther you or we may cancel this policy after the

initial crop year by providing written notice to the

other on or before the cance|iation date shown in the

Crop Provlslons. '

Any amount due to us for any policy authorized

under the Act will be offset from any indemnity or

prevented planting payment due you for this or any
other crop insured with us under the authority of the

Act.

(i) Even if your claim has not yet been paid, you
must still pay the premium and administrative
fee on or before the termination date for you to
remain eligible for insurance

(2) lf we offset any amount due us from an
indemnity or prevented planting payment owed
to youl the date of payment for the purpose of
determining whether you have a delinquent debt
will be the date that you submit the claim for
indemnity in accordance with section i4(e)
(Your Duties).

A delinquent debt for any policy will make you

ineligible to obtain crop insurance authorized under

the Act for any subsequent crop year and result in
termination of all policies in accordance with section

2if)t2). .

(i) With respect to ineligibility:
(i) ineligibility for crop

effective on;

(A) The date that a policy was terminated
in accordance with section 2(f)(2) for
the crop ior which you failed to pay
premium, an administrative tee, or any
related interest owed, as applicable;

insurance will be

 

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(ii)

(B) The payment due date contained in
any notification of indebtedness for
any overpaid indemnity, prevented
planting payment or replanting
payment, if you fail to pay the amount
owed, including any related interest
owedl as applicable, by such due date;

(C) The termination date for the crop year
prior to the crop year in which a
scheduled payment is due under a
written payment agreement if you fail
to pay the amount owed by any
payment date in any agreement to pay
the debt; or

(D) The termination date the policy was or
would have been terminated under
sections 2(f)(2)(i)(A), (B) or (C) if your
bankruptcy petition is dismissed before
discharge

lf you are ineligible and a policy has been

terminated in accordance with section

2(f)(2), you will not receive any indemnity,

prevented planting payment or replanting

paymentl if applicab|e, and such ineligibility
and termination of the policy may affect
your eligibility for benents under other

USDA programs Any indemnity,

prevented planting payment or replanting

payment that may be owed for the policy
before it has beenterminated will remain
owed to you, but may be offset in
accordance with section 2(e), unless your
policy was terminated in accordance with
sections 2(f)(2)(i)(A), (B), (D) or (E).

(2) With respect to termination:

iii

Termination will be effective on:

(A) For a policy with unpaid administrative
fees or premiums, the termination date
immediately subsequent to the billing
date for the crop year (For policies for
which the sales closing date is prior to
the termination date, such policies will
terminate for the current crop year
even if insurance attached prior to the
termination date. Such termination will
be considered effective as of the sales
closing date and no insurance will be
considered to have attached for the
crop year and no indemnity prevented
planting or replant payment will be
owed);

(B) For a policy with other amounts due,
the termination date immediately
following the date you have a
delinquent debt {For policies for which
the sales closing date is prior to the
termination date, such policies will
terminate for the current crop year
even if insurance attached prior to the
termination date. Such termination will
be considered effective as of the. sales
closing date and no insurance will be

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(iii)

considered to have attached for the
crop year and no indemnity. prevented
planting or replant payment will be
owed);

(C) For all other policies that are issued by
us under the authority of the Act, the
termination date that coincides with the
termination date for the policy with the
delinquent debt or, if there is no
coincidental termination date, the
termination date immediately following
the date you become ineligible;

(D) For execution of a written payment
agreement and failure to make any
scheduled payment, the termination
date for the crop year prior to the crop
year in which you failed to make the
scheduled payment (for this purpose
only, the crop year will start the day
after the termination date and end on
the next termination date, gg_.. if the
termination date is November 30 and
you fail to make a payment on
November 15, 2011, your policy will
terminate on November 30, 2010, for
the 2011 crop year); or

(E) For dismissal of a bankruptcy petition
before discharge, the termination date
the policy was or would have been
terminated under sections 2(f)(2)(i)(A),
(B) or (C).

For all policies terminated under sections
zif)tz)ti)ia), iB), <D) or <E). any
indemnitiesl prevented planting payments
or replanting payments paid subsequent to
the termination date must be repaid
Once the policy is terminated, it cannot be
reinstated for the current crop year unless
the termination was in error. Fallure to
timely pay because of illness, bad weather`,
or other such extenuating circumstances is
not grounds for reinstatement in the current
yeah

(3) To regain eligibilityl you must:

(i)
(il)

rain

Repay the delinquent debt in fu||;

Execute a written payment agreement and
make payments in accordance with the
agreement (We will not enter into a written
payment agreement with you if you have
previously failed to make a scheduled
payment under the terms of any other
payment agreement with us or any other
insurance provider); or

File a petition to have your debts
discharged in bankruptcy (Dismlssal of the
bankruptcy petition before discharge will
terminate all policies in effect retroactive to
the date your policy would have been
terminated in accordance with section

2(0(2)(0)-

{4} After you become eligible for crop insurance, if
you want to obtain coverage for your crops, you

 

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must submit a new application on or before the
sales closing date for the crop (Since
applications for crop insurance cannot be
accepted after the sales closing date, if you
make any payment after the sales closing datel
you cannot apply for insurance until the next
crop year).

For example, for the 2011 crop year, if crop A,
with a termination date of October 31, 2010, and
crop B. with a termination date of March 15,
2011, are insured and you do not pay the
premium for crop A by the termination datel you
are ineligible for crop insurance as of October
31, 2010, and crop A’s policy is terminated as of
that date. Crop B’s policy does not terminate
until |'v'[arch 15, 20'l'l, and an indemnity for the
2010 crop year may still be owed. li you enter
into a written payment agreement on September
25, 2011, the earliest date by which you can
obtain crop insurance for crop A is to apply for
crop insurance by the October 31, 2011, sales
closing date and for crop B is to apply for crop
insurance by the Nlarch 15, 2012, sales closing
date |f you fail to make a payment that was
scheduled to be made on April 1, 2012. your
policy will terminate as of October 31, 2011, for
crop A. and lvlarch 15, 2012, for crop B, and no
indemnity, prevented planting payment or
replant payment will be due for that crop year for
either crop. You will not be eligible to apply for
crop insurance for any crop until after the
amounts owed are paid in full or you file a
petition to discharge the debt in bankruptcy.

if you are determined to be ineligible under
section 2(f), persons with a substantial beneficial
interest in you may also be ineligible until you
become eligible again.

cases where there has been a deathl

disappearance judicially declared incompetence or
dissolution of any insured person:

(i)

(2)

if any married individual insured dles.
disappears, or is judicially declared incompetent
the named insured on the policy will
automatically convert to the name of the spouse

lf.

(i) The spouse was included on the policy as
having a substantial beneficial interest in
the named insured; and

(ii) The spouse has a share of the crop.

The provisions in section 2(9)(3) will be

applicable if:

(i) Any partner, member. shareholder] etc., of
an insured entity dies, disappears, or is
judicially declared incompetent and such
event automatically dissolves the entity; or

(ii) An individual. whose estate is left to a
beneficiary other than a spouse or left to
the spouse and the criteria in section
2(g){t) are not met. dies, disappears, or is
judicially declared incompetent

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(4)

(5)

lf section 2(g}(2) applies and the death,

disappearance or judicially declared

incompetence occurred:

(i) lVlore than 30 days before the cancellation
date, the policy is automatically canceled
as of the cancellation date and a new
application must be submitted; or

(ii)` Thirty days or less before the cancellation
datel or alter the cancellation date, the
policy will continue in effect through the
crop year immediately following the
cancellation date and be automatically
canceled as of the cancellation date
immediately following the end of the
insurance period for the crop year, unless
canceled by the cancellation date prior to
the start of the insurance period:

(A) A new application for insurance must
be submitted prior to the sales closing
date for coverage for the subsequent
crop year; and

(B) Any` indemnity, replant payment or
prevented planting payment will be
paid to the person or persons
determined to be beneficially entitled
to the payment and such person or
persons must comply with all policy
provisions and pay the premium.

lf any insured entity is dissolved for reasons

other than deathl disappearance or judicially

declared incompetence

(i) Before the cancellation date. the policy is
automatically canceled as of the
cancellation date and a new application
must be submitted; or

(ii) On or after the cancellation date, the policy
will continue in effect through the crop year
immediately following the cancellation date
and be automatically canceled as of the
cancellation date immediately following the
end of the insurance period for the crop
year, unless canceled by the cancellation
date prior to the start of the insurance
period:

(A) A new application for insurance must
be submitted prior to the sales closing
date for coverage for the subsequent
crop year; and

(B) Any indemnityl replant payment or
prevented planting payment will be
paid to the person Or persons
determined to be beneficially entitled
to the payment and such person or
persons must comply with all policy
provisions and pay the premium.

lt section 2(g)(2) or (4) applies, a remaining

member of the insured person or the beneficiary

is required to report to us the death,
disappearance judicial incompetence or other
event that causes dissolution not later than the
next cancellation date, except if section
2(g)(3)(ii) applies, notice must be provided by

 

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the cancellation date for the next crop year. |f

notice is not provided tlmely, the provisions of

section 2(9)(2) or (4) will apply retroactive to the

date such notice should have been provided and

any payments made after the date_the policy
'should have been canceled must be returned.

(h) We may cancel your policy if no premium is earned
for 3 consecutive years.

(i) The cancellation and termination dates are
contained in the Crop Provlslons.

(i) When obtaining catastrophic, or additional coverage
you must provide information regarding crop
insurance coverage on any crop previously obtained
at any other local FSA office or from an approved
insurance provider. including the date such
insurance was obtained and the amount of the
administrative fee.

(k) Any person may sign any document relative to crop
insurance coverage on behalf of any other person
covered by such a policyl provided that the person
has a properly executed power of attorney or such
other legally sufficient document authorizing such
person to sign. You are still responsible for the
accuracy of all information provided on your behalf
and may be subject to the consequences in section
6(g), and any other applicable consequences if any
information has been misreported.

lnsurance Guarantees, Coverage Levels, and Prices.

(a) Un|ess adjusted or limited in accordance with your
policy, the production guarantee or amount of
insurance coverage levell and price at which an
indemnity will be determined for each unit will be
those used to calculate your summary of coverage
for each crop year.

(b) With respect to the insurance choices.'

(i) For all acreage of the insured crop in the county,
unless one of the conditions in section 3(b)(2)
exists, you must select the same: .
(i) Plan of insurance (eg_., yield protection,

revenue protectionl actual production
historyl amount of insurance etc.);

(ii) Level of coverage (all catastrophic risk
protection or the same level of additional
coverage); and

(iii) Percentage of the available price election,
or projected price for yield protection, For
revenue protection, the percentage of price
is specified in section 3(0)(2). |f different
prices are provided by type or variety,
insurance will be based on the price
provided for each type or variety and the
same price percentage will apply to all
types or varieties.

{2) You do not have to select the same plan of
insurance level of coverage or percentage cf
available price election or projected price if:

(i) The applicable Crop Provlslons allow you
the option to separately insure individual
crop types or varieties. ln this case, each
individual type or variety insured by you will
be subject to separate administrative fees.
For example if two grape varieties in

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Ca|itornia are insured under the
Catastrophic Risk Protection Endorsement
and two varieties are insured under an
additional coverage -policy, a separate
administrative tee will be charged for each
of the four varieties;.or

(ii) You have additional coverage for the crop
in the county and the acreage has been
designated as "hlgh-risk'1 by FCIC. in such
case you will be able to exclude coverage
for the high-risk land under the additional
coverage policy and insure such acreage
under a separate Catastrophic Risl<
Protection Endorsementl provided the
Catastrophic Rlsi< Protection Endorsement
is obtained from the same insurance
provider from which the additional
coverage was obtained lf you have
revenue protection and exclude high-risk
land, the catastrophic risk protection
coverage will be yield protection only for
the excluded high-risk land.

(c) With respect to revenue protection, if available for

the crop;
(1) You may change to another plan of insurance
` and change your coverage level or elect the
harvest price exclusion by giving written notice
to us not later than the sales closing data for the
insured crop;

(2) Your projected price and harvest price will be
100 percent of the projected price and harvest
price issued by FCIC;

(3) lf the harvest price exclusion is:

(i) Not electedl your projected price is used to
initially determine the revenue protection
guarantee (per acre), and if the harvest
price is greater than the projected price,
the revenue protection guarantee (per
acre) will be recomputed using your
harvest price; or _

(ii) Electedl your projected price is used to
compute your revenue protection
guarantee (per acre);

(4) Your projected price is used to calculate your
premium, any replant payment, and any
prevented planting payment; and

(5) lf the projected price or harvest price cannot be
calculated for the current crop year under the
provisions contained in the Ccmmodity
Exchange Price Provlslons:

(i) For the projected price:

(A) Revenue protection will not be
provided and you will automatically be
covered under the yield protection plan
of insurance for the current crop year
unless you cancel your coverage by
the cancellation date or change your
plan of insurance by the sales closing
date; -

(B) Notice will be provided on RMA's Web
site by the date specified in the
applicable projected price definition

 

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contained in the Commodity Exchange
Price Provisions;

(O) The projected price will be determined
by FClG and will be released by the
date specified in the applicable
projected price definition contained in
the Commodity Exchange Price
Provlslons; and

(D) Your coverage will automatically revert
to revenue protection for the next crop
year that revenue protection is
available unless you cancel your
coverage by the cancellation date or
change your coverage by the sales
closing date; or

(ii) For the harvest price:

(A) Revenue protection will continue to be
available; and

(B) The harvest price will be determined
and announced by FClC.

(d) With respect to yield protectionl if available for the
crop;

(i) You may change to another plan of insurance
and change your percentage of price and your
coverage level by giving written notice to us not
later than the sales closing date for the insured
crop;

(2) The percentage of the projected price selected
by you multiplied by the projected price issued
by FClC is your projected price that is used to
compute the value of your production guarantee
(per acre) and the value of the production to
count; and

(3) Since the projected price may change each
year, if you do not select a new percentage of
the projected price on or before the sales closing
date we will assign a percentage which bears
the same relationship to the percentage that was
in effect for the preceding year legg if you
selected 100 percent of the projected price for
the previous crop year and you do not select a
new percentage for the current crop year, we will
assign 100 percent for the current crop year).

(e) V\.nth respect to all plans of insurance other than
revenue protection and yield protection (e_.g_., APl-i,
dollar amount plans of insurance 'etc.):

(1) ln addition to the price election or amount of
insurance available on the contract change date,
we may provide an additional price election or
amount of insurance no later than 15 days prior
to the sales closing date.

(i) You must select the additional price
election or amount of insurance on or
before the sales closing date for the
insured crop.

(ii) These additional price elections or
amounts of insurance will not be less than
those available on the contract change
date

(iii) lf you elect the additional price election or
amount of insurance any claim settlement
and amount of premium will be based on

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your additional price election or amount of

insurance
You may change to another plan of insurance or
change your coverage levell amount of
insurance or percentage of the price election, as
applicable for the following crop year by giving
written notice to us not later than the sales
closing date 'for the insured crop.
Your amount of insurance will be the amount of
insurance issued by FClC multiplied by the
coverage level percentage you elected. Your
price election will be the price election issued by
FC]C multiplied by the percentage of price you
elected
Since the amount of insurance or price election
may change each yearl if you do not select a
new amount of insurance or percentage of the
price election on or before the sales closing
date, we will assign an amount of insurance or
percentage of the price election which bears the
same relationship to the amount of insurance or
percentage of the price election that was in
effect for the preceding year (eg, if you
selected 100 percent of the price election for the
previous crop year and you do not select a new
percentage of the price election for the current
crop year, we will assign 100 percent of the
price election for the current crop year).

(f) You must report all production of the crop (insured
and uninsured) to us for the previous crop year by
the earlier of the acreage reporting date or 45 days
after the cancellation date unless otherwise stated
in the Special Provlslons or as specihed in section

181

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if you do not provide the required production
reportl we will assign a yield for the previous
crop year. The yield assigned by us will not be
more than 75 percent of the yield used by us to
determine your coverage for the previous crop
year. The production report or assigned yield
will be used to compute your approved yield for
the purpose of determining your coverage for
the current crop year.

lf you have filed a claim for any crop year. the
documents signed by you which state the
amount of production used to complete the claim
for indemnity will be the production report for
that year unless otherwise specified by FClC.
Production and acreage for the prior crop year
must be reported for each proposed optional unit
by the production reporting date if you do not
provide the information stated above the
optional units will be combined into the basic
unit.

Appralsals obtained from only a portion of the
acreage in a field that remains unharvested after
the remainder of the crop within the field has
been destroyed or put to another use will not be
used to establish your actual yield unless
representative samples are required to be left by
you in accordance with` the Crop Provlslons. _

 

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(g) lt is your responsibility to accurately report all

(ii)

information that is used to determine your approved

yield_

(1 ) You must certify to the accuracy of this
information on your production report.

(2) if you fail to accurately report any information cr
if you do not provide any required records, you
will be subject to the provisions regarding
misreporting contained in section 6(g), unless
the information is corrected:

(i) On or before the production reporting date;
or

(ii) Because the incorrect information was the
result of our error or the error of someone
from USDA.

(3) ll you do not have written verifiable records to
support the information on your production
report, you will receive an assigned yield in
accordance with section 3(f)(1) and 7 CFR part
400, subpart G for those crop years for which
you do not have such records

(4) At any time we discover you have misreported
any material information used to determine your
approved yield or your approved yield is`not
correct, the following actions will be takenl as
applicabl_e:

(i) We will correct your approved yield for the
crop year such information is not correct.
and all subsequent crop years;

(ii) We will correct the unit structure, if
necessary;

(iii) Any overpaid or underpaid indemnity or
premium must be repaid; and

(iv) You will be subject to the provisions
regarding misreporting contained in section
6(g)(1), unless the incorrect information
was the result of our error or the error of
someone from USDA.

in addition to any consequences in section 3(g), at

any time the circumstances'described below are

discovered your approved yield will be adjusted:

(1) By including an assigned yield determined in
accordance with section 3(1)(1) and 7 CFR part
400, subpart G, if the actual yield reported in the
database is excessive for any crop year, as
determined by FCiC under its procedures and
you do not provide verifiable records to support
the yield in the database (if there are verifiable
records for the yield in your database, the yield
is significantly different from the other yields in
the county or your other yields for the crop and
you cannot prove there is a valid basis to
support the differences in the yields, the yield
will be the average of the yields for the crop or
the applicable county transitional yield if you
have no other yields for the crop)',

(2) By reducing it to an amount consistent with the
average of the approved yields for other
databases for your farming operation with the
same crop, type, and practice or the county
transitional yield, as applicable, if:

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(i) The approved APH yield is greater than
115 percent of the average of the approved
yields of all applicable databases for your
farming operation that have actual yields in
them or it is greater than 115 percent of the
county transitional yield if no applicable
databases exist for comparison;

(ii) The current year’s insurable acreage
(including applicable prevented planting
acreage) is greater than 400 percent of the
average number of acres in the database
or the acres contained in two or more
individual years in the database are each
less than 10 percent of the current year’s
insurable acreage in the unit (including
applicable prevented planting acreage);
and

(iil) We determine there is no valid agronomic
basis to support the approved yie|d; or

(3) To an amount consistent with the production
methods actually carried out for the crop year if
you use a different production method than was
previously used and the production method
actually carried out is likely to result in a yield
lower than the average of your previous actual
yields. The yield will be adjusted based on your
other units where such production methods were
carried cut or to the applicable county
transitional yield for the production methods if
other such units do not exist. You must notify us
of changes in your production methods by the
acreage reporting date. if you fail to notify us, in
addition to the reduction'of your approved yield
described herein, you will be considered to have
misreported information and you will be subject
to the consequences in section 6(g). For
examplel for a non-irrigated unit, your yield is
based upon acreage of the crop that is watered
once prior to planting, and the crop is not
watered prior to planting for the current crop
year. Your approved APl-l yield will be reduced
to an amount consistent with the actual
production history of your other non-irrigated
units where the crop has not been watered prior
to planting or limited to the non-irrigated
transitional yield for the unit if other such units
do not exist.

(i) Un|ess you meet the double cropping requirements

contained in section 17(1‘)(4), if you elect to plant a
second crop on acreage where the first insured crop
was prevented from being planted, you will receive a
yield equal to 60 percent of the approved yield for
the first insured crop to calculate your average yield
for subsequent crop years (Not applicable to crops il
the APH is not the basis for the insurance
guarantee). |f the unit contains both prevented
planting and planted acreage of the same cropl the
yield for such acreage will be determined by:
(1) lviu|tiplying the number of insured prevented
planting acres by 60 percent of the approved
yield for the first insured crop;

 

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(2) Adding the totals from section 3(i)(1} to the
amount of appraised or harvested production for
all of the insured planted acreage; and

(3) Dividing the total in section 3(i)(2) by the total
number of acres in the unit.

(i) Hai| and tire coverage may be excluded from the
covered causes of loss for an insured crop only if
you select additional coverage of not less than 65
percent of the approved yield indemnified at the 100
percent price election, or an equivalent coverage as
established by FC|C, and you have purchased the
same or a higher dollar amount of coverage for hall
and nrc from us or any other source. lf you elected a
whole-farm unit, you may exclude hall and &re
coverage only if allowed by the Special Provlslons.

(l<) The applicable premium rate, or formula to calculate
the premium ratel and transitional yield will be those
contained in the actuarial documents excepl, in the
case of high-risk landl a written agreement may be
requested to change such transitional yield or
premium rate.

4. Contract Changes.

(a} We may change the terms of your coverage under
this policy from year to year. '

(b) Any changes in policy provisions, amounts of
insurance, premium rates, program dates, price
elections or the Commodity Exchange Price
Provlslons, ll applicablel can be viewed on RMA's
Web site not later than the contract change date
contained in the Crop Provlslons (e)<cept as allowed
herein or as specified in section 3)‘ We may only
revise this information after the contract change date
to correct clear errors (W_., the price for oats was
announced at $25.00 per bushel instead of $2.50 per
bushel or the final planting date should be lvlay 10
but the final planting date in the Special Provlslons
states August 10). v

(c) After the contract change dale, all changes specined
in section 4(b) will also be available upon request
from your crop insurance agent You will be
provided, in writingl a copy of the changes to the
Basic l:'rovisionsl Crop Provlslons, Commodity
Exchange Price l:’rovisionsl if applicable, and
Special Provlslons not later than 30 days prior to the
cancellation date for the insured crop. lf available
from us, you may elect to receive these documents
and changes electronically Acceptance ot the
changes will be conclusively presumed in the
absence of notice from you to change or cancel your
insurance coverage

5. jReserved]
6. Report ofAcreage.

(a) An annual acreage report must be submitted to us
on our form for each insured crop in the county on or
before the acreage reporting date contained in the
Special Provlslons, except as follows:

(1) lt you insure multiple crops with us that have
final planting dates on or after August 15 but
before December 31, you must submit an
acreage report for all such crops on or before
the latest applicable acreage reporting date for
such crops; and

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(b)

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(d)

(2) lf you insure multiple crops with us that have
final planting dates on or after December 31 but
before August 15, you must submit an acreage
report for all such crops on or before the latest
applicable acreage reporting date for such
crops.

(3) Notwlthstanding the provisions in sections
6(a)(1) and (2):

(i) lf the Speciai Provlslons designate
separate planting periods for a cropl you
must submit an acreage report for each
planting period on or before the acreage .
reporting date contained in the Special
Provlslons for the planting period; and

(ii) if planting of the insured crop continues
alter the final planting date or you are
prevented from planting during the late
planting periodl the acreage reporting date
will be the later cf:

(A) The acreage reporting date contained
in the Special Provlslons;

(B) The date determined in accordance
with sections (a)(l) or (2); or

(C) Five (5) days after the end of the late
planting period for the insured crop, if
applicablel

if you do not have a share in an insured crop in the

county for the crop year, you must submit an

acreage report, on or before the acreage reporting
date. so indicatingl

Your acreage report must include the following

lnformation, if applicable:

(i) `l‘he amount of acreage of the crop in the county
(insurable and not insurable) in which you have
a share and the date the insured crop was
planted on the unit as follows:

(i) The last date any timely planted acreage
was planted and the number of acres
planted by such date; and

(ii) The date of planting and the number of

' acres planted per day for acreage planted
during the late planting period (lf you fail to
report the number of acres planted on a
daily basis, all acreage planted in the late
planting period will be presumed to have
been planted on the last day planting took
place in the late planting period for the
purposes of section 16);

(2) Your share at the time coverage begins;

(3) The practice;

(4) The type; and

(6) The land identifier for the crop acreage (gg,
legal description, FSA farm serial number or
common land unit number if provided to you by
FSA, etc.) as required on our form.

Regarding the ability to revise an acreage report you

have submitted to usi

(1) For planted acreagel you cannot revise any
information pertaining to the planted acreage
after the acreage reporting date without our
consent (Conseni may only be provided when
no cause of loss has occurred; our appraisal has

 

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(3)

determined that the insured crop will produce at
least 90 percent of the yield used to determine
your guarantee or the amount of insurance for
the unit (including reported and unreported
acreage)l except when there are unreported
units (see section 6(€)); the information on the
acreage report is clearly transposed; you
provide adequate evidence that we or someone
from USDA have committed an error regarding
the information on your acreage report; or if
expressly permitted by the policy);

For prevented planting acreage:

(i) On or before the acreage reporting date.
you can change any information on any
initially submitted acreage report, except
as provided in section 6(d)(2)(iii) (§§L.. you
can correct the reported share, add
acreage of the insured crop that was
prevented from being planted, etc_);

(ii) After the acreage reporting date, you
cannot revise any information on the
acreage report (e¢g;. if you have failed to
report prevented planting acreage on or
before the acreage reporting date, you
cannot revise it after the acreage reporting
date to include prevented planting
acreage) but we will revise information that
is clearly transposed or you provide
adequate evidence that we or someone
from USDA have committed an error
regarding the information on your acreage
report; and

(iii) You cannot revise your initially submitted
acreage report at any time to change_the
insured crop. or type, that was reported as
prevented from being planted;

You may request an acreage measurement from
FSA or a business that provides such
measurement service prior to the acreage
reporting date, submit documentation of such
request and an acreage report with estimated
acreage by the acreage reporting date, and it
the acreage measurement shows the estimated
acreage was incorrectl we will revise your
acreage report to reflect the correct acreage:

(i) lt an acreage measurement is only
requested for a portion of the acreage
within a unit, you must separately
designate the acreage for which an
acreage measurement has been
requested;

(ii) ll an acreage measurement is not provided
to us by the time we receive a notice of
lossl we may.'

(A) Defer iinalization of the claim until the
measurement is completed, and:

(i) l\/lal<e all necessary loss
determinations except the
acreage measurement and

(2) Finalize the claim in accordance
with applicable policy provisions
after you provide the acreage

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measurement to us (lf you fail to
provide the measurement your
claim will not be paid); or

(B) Elect to measure the acreage, and:

(i) Flnalize your claim in accordance
with applicable policy provisions;
and

(2) Eslimated acreage under this
section will not be accepted from
you for any subsequent acreage
report; and

(iii) Prernium will still be due in accordance
with sections 2(e) and 7. ll the acreage is
not measured as speciued in section
6(d)(3)(ii) and the acreage measurement is
not provided to us at least 15 days prior to
the premium billing date, your premium will
be based on the estimated acreage and
will be revised, if necessary, when the
acreage measurement is provided ll the '
acreage measurement is not provided by
the termination date. you will be precluded
from providing any estimated acreage for
all subsequent crop years.

(4) lt there ls an irreconcilable difference between:

(i) The acreage measured by FSA or a
measuring service and our on-farm
measurementl our on-farm measurement
will be used; or

(ii) The acreage measured by a measuring
service, other than our on-farm
measurement and FSA, the FSA
measurement will be used; and

(5) |f the acreage report has been revised in
accordance with section 6(d)(l), (2). or (3), the
information on the initial acreage report will not
be considered misreported for the purposes of

section 6(g).

We may elect to determine all premiums and
indemnlties based on the information you submit on
the acreage report or upon the factual circumstances
we determine to have existed, subject to the
provisions contained in section 6(g).
if you do not submit an acreage report by the
acreage reporting date, or if you fail to report all
unitsl we may elect to determine _by unit the
insurable crop acreage. share, type and practicel or
to deny liability on such units. l_f we deny liability for
the unreported units, your share of any production
from the unreported units will be allocated, for loss
purposes on|y, as production to count to the reported
units in proportion to the liability on each reported
unit. Howeverl such production will not be allocated _
to prevented planting acreage or otherwise affect
any prevented planting paymentl
\’ou must provide all required reports and you are
responsible for the accuracy of all information
contained in those reports. You should verify the
information on all such reports prior to submitting
them to us.

(i) Except as provided in section 6(g)(2), if you
submit information on any report that is different

 

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(h)

(i)

than what is determined to be correct and such

information results in:

(i) A lower liability than the actual liability
determined, the production guarantee or
amount of insurance on the unit will be
reduced to an amount consistent with the
reported information fin the event the
insurable acreage is under-reported for any
unlt, all production or value from insurable
acreage in that unit will be considered
production or value to count in determining
the indemnity); or

(ii) A higher liability than the actual liability
determined the information contained in
the acreage report will be revised to be
consistent with the correct information

(2) lf your share is misreported and the share is‘.

(i) Under~reported1 any claim will be
determined using the share you reported;
or

(ii) Over-reportedl any claim will be
determined using the share we determine
to be correct

lt we discover you have incorrectly reported any
information on the acreage report for any crop year,
you may be required to provide documentation in
subsequent crop years substantiating your report of
acreage for those crop years, includingl but not
limited to, an acreage measurement service at your
own expense |f the correction of any misreported
information would affect an indemnity, prevented
planting payment or replant payment that was paid in
a prior crop year. such claim will be adjusted and
you will be required to repay any overpaid amounts
Errors in reporting units may be corrected by us at
the time of adjusting a loss to reduce our liability and
to conform to applicable unit division guidelines

Annual Prernium and Administrative Fees.

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The annual premium is earned and payable at the
time coverage begins You will be billed for the
premium and administrative fee not earlier than the
premium billing date specified in the Special

Provlslons.

Premium or administrative fees owed by you will be

offset from an indemnity or prevented planting

payment due you in accordance with section 2(e).

The annual premium amount is determined, as

applicable by either:

(i) lvlultiplying the production guarantee per acre
times your price election or your projected price,
as applicable, times the premium rate, times the
insured acreagel times your share at the time
coverage beginsl and times any premium
adjustment percentages that may apply; or

(2) lviultiplying your amount of insurance per acre
times the premium rate, times the insured
acreage, times your share at the time coverage
begins, and times any premium adjustment
percentages that may apply.

The information needed to determine the premium

rate and any premium adjustment percentages that

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(i)

may apply are contained in the actuarial documents

or an approved written agreement,

in addition to the premium charged:

(i) You, unless otherwise authorized in 7 CFR part
400, must pay an administrative fee each crop
year of $30 per crop per county for all levels of
coverage in excess of catastrophic risk
protection

(2) The administrative fee must be paid no later
than the time premium is due.

(3) Payment of an administrative fee will not be
required if you file a bona fide zero acreage
report on orl before the acreage reporting date
for the crop. lf you falsely file a zero acreage
report you may be subject to criminal and
administrative sanctions

(4) The administrative fee will be waived if you
request it and:

(i) You qualify as a limited resource farmer; or

(ii) You were insured prior to the 2005 crop
year or for the 2005 crop year and your
administrative fee was waived for one or
more of those crop years because you
qualified as a limited resource farmer under
a policy definition previously in effect, and
you remain qualified as a limited resource
farmer under the definition that was in
effect at the time the administrative fee was
waived

(5) Fai|ure to pay the administrative fees when due
may make you ineligible for certain other USDA
benefits

lt the amount of premium (gross premium less
premium subsidy paid on your behalf by FClC) and
administrative fee you are required to pay for any
acreage exceeds the liability for the acreage,
coverage for those acres will not be provided (no
premium or administrative fee will be due and no
indemnity will be paid for such acreage).

insured Crop.

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The insured crop will be that shown on your
accepted application and as specined in the Crop
Provlslons or Specia| Provlslons and must be grown
on insurable acreage

A crop which will NOT be insured will include, but will

not be limited to. any crop;

(i) That is not grown on planted acreage (except for
the purposes of prevented planting coverage), or
that is a type, class or variety or where the
conditions under which the crop is planted are
not generally recognized for the area (For
examplel where agricultural experts determine
that planting a non-irrigated corn crop after a
failed small grain crop on the same acreage in
the same crop year is not appropriate for the
area);

(2) For which the information necessary for
insurance (price election, amount of insurance,
projected price and harvest price, as applicable,
premium rate, etc.) is not included in the
actuarial documents unless such information is

 

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provided by a written agreement in accordance
with section 181

(3) That is a volunteer crop;

(4) Planted following the same crop on the same
acreage and the first planting of the crop has
been harvested in the same crop year unless
specifically permitted by the Crop Provlslons or
the Special Provlslons (For example, the second
planting of grain sorghum would not be insurable _
if grain sorghum had already been planted and
harvested on the same acreage during the crop
veatl:

(5) ’i'hat is planted for the development or
production of hybrid seed or for experimental
purposes, unless permitted by the Crop
Provlslons or by written agreement to insure
such crop; or

(6) That is used solely for wildlife protection or
management if the lease states that specinc
acreage must remain unharvested, only that
acreage is uninsurable. if the lease specihes
that a percentage of the crop must be left
unharvested, your share will be reduced by such
percentage

(c) Although certain policy documents may state that a
crop typel class, variety or practice is not insurable it
does not mean all other crop types, classes.
lvarieties or practices are insurable To be insurable
the crop type, classl variety or practice must meet all
the conditions in this section.

9. lnsurabie Acreage.

(a) All acreage planted to the insured crop in the county
in which you have a share:

(i) Except as provided in section 9(a)(2). is
insurable if the acreage has been planted and
harvested or insured (including insured acreage
that was prevented from being planted) in any
one of the three previous crop years. Acreage
that has not been planted and harvested
(grazing is not considered harvested for the
purposes of section Q(a)(l)) or insured in at least
one of the three previous crop years may still be
insurable if:

(i) Such acreage was not planted:

(A) ln at least two of the three previous
crop years to comply with any other
USDA program;

(B) Due to the crop rotation the acreage
would not have been planted in the
previous three years (e_<L, a crop
rotation of cornl soybeans, and alfalfa.‘
and the alfalfa remained for four years
before the acreage was planted to
corn again); or

(C) Because a perennial treel vine, or
bush crop was on the acreage in at
least two of the previous three crop
years;

(ii) Such acreage constitutes five percent or
less of the insured planted acreage in the
unit;

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(iii)

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Such acreage was not planted or
harvested because it was pasture or
rangeland, the crop to be insured is also
pasture or rangeiand, and the Crop
Provlslons. Speclai Provisions, or a written
agreement specifically allow insurance for
such acreage: or

The Crop Provlslons. Speclal Provlslons. or
a written agreement specincally allow
insurance for such acreage; or

(2) ls not insurable if:

(i)

(ii)

(iii)

The only crop that has been planted and
harvested on the acreage in the three
previous crop years is a cover, hay (except
wheat harvested for hay) or forage crop

(except insurable sliage). However, such

acreage may be insurable only if:

(A) The crop to be insured is a hay or
forage crop and the Crop Provlslons,
Special Provlslons, or a written
agreement specifically allow insurance
for such acreage; or

(B) The hay or forage crop was part of a
crop rotationi

The acreage has been strip-mined

However, such acreage may be insurable

only if:

(A) An agricultural commodity, other than
a coverl hay (except wheat harvested
for hay), or forage crop (except
insurable silage) has been harvested
from the acreage for at least five crop
years after the strip-mined land was
reclaimed; or _

(B) A written agreement specifically allows
insurance for such acreage;

The actuarial documents do not provide

. the information necessary to determine the

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(vii)

(viii)

premium rate, unless insurance is allowed
by a Wrilten agreement;

The insured crop is damaged and it is
practical to replant the insured crop, but
the insured crop is not replanted;

The acreage is lnterplanted, unless
insurance is allowed by the Crop
Provlslons;

The acreage is otherwise restricted by the
Crop Provlslons or Special Provlslons;

The acreage is planted in any manner
other than as specified in the policy
provisions for the crop unless a written
agreement specihcai|y allows insurance for
such planting;

The acreage is of a second crop, if you
elect not to insure such acreage when an
indemnity for a first insured crop may be
subject to reduction in accordance with the
provisions of section 15 and you intend to
collect an indemnity payment that is equal
to 100 percent of the insurable loss for the
first insured crop acreage. This election
must be made on a first insured crop unit

 

 

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(in

basis (§gm if the hist insured crop unit

contains 40 planted acres that may be

subject to an indemnity reduction, then no
second crop can be insured on any of the

40 acres). in this case:

(A) if the first insured crop is insured under
this policy, you must provide written
notice to us of your election not to
insure acreage of a second crop at the
time the first insured crop acreage is
released by us (if no acreage in the
first insured crop unit is released, this
election must be made by the earlier of
the acreage reporting date for the
second crop or when _you sign the

claim for indemnity for the first insured

crop)~ orl if the first insured crop is
insured under the Group Risl<
Protection Plan of insurance or
successor provisions (7 CFR part
407). this election must be made
before the second crop insured under
this policy is plantedl and if you fail to
provide such notice, the second crop
acreage will be insured in accordance
with the applicable policy provisions
and you must repay any overpaid
indemnity for the first insured crop;

(B) |n the event a second crop is planted
and insured with a different insurance
provider, or planted and insured by a
different person, you must provide
written notice to each insurance
provider that a second crop was
planted on acreage on which you had
a first insured crop; and

(C) You must report the crop acreage that
will not be insured on the applicable
acreage report; or ‘

The acreage is of a crop planted following
a second crop or following an insured crop
that is prevented from being planted after a
first insured crop, unless it is a practice that
is generally recognized by agricultural
experts or organic agricultural experts for
the area to plant three or more crops for
harvest on the same acreage in the same
crop year, and additional coverage
insurance provided under the authority of
the Act is offered for the third or
subsequent crop in the same crop year.
insurance will only be provided for a third
or subsequent crop as follows:

(A) You must provide records acceptable
to us that shcw:

(i) You have produced and harvested
the insured crop following two
other crops harvested on the
same acreage in the same crop
year in at least two of the last tour
years in which you produced the
insured crop; or

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(b)

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(2) The applicable acreage has had
three or more crops produced and
harvested on it in the same crop
year in at least two oi the last four
years in which the insured crop
was grown on the acreage; and

(B) The amount of insurable acreage will
not exceed 100 percent of the greatest
number of acres for which you provide
the records required in section
9(3)(2)(5><)(¢\)~

lt insurance is provided for an irrigated practice, you

must report as irrigated only that acreage for which

you have adequate facilities and adequate water, or
the reasonable expectation of receiving adequate

water at the time coverage begins, to carry out a

good irrigation practice if you knew or had reason

to know that your water may be reduced before
coverage begins, no reasonable expectation exists

Notwithstanding the provisions in section 8(b)(2), if

acreage is irrigated and a premium rate is not

provided for an irrigated pra`clice, you may either
report and insure the irrigated acreage as “non~
lrrlgated," or report the irrigated acreage as not

insured (if you elect to insure such acreage under a

non-irrigated practice, your irrigated yield will only be

used to determine your approved yield if you
continue to use a good irrigation practice lf you do

not use a good irrigation practicel you will receive a

yield determined in accordance with section 3(h)(3)).

We may restrict the amount of acreage that we witt

insure to the amount allowed under any acreage

limitation program established by the United States

Department of Agrlculture if we notify you of that

restriction prior to the sales closing date.

l\totwithstanding the provisions in section Q(a)(tl, if
the Governor of a Siate designated within the Prairle

Pothoie l\iational' Prlorlty Area elects to make section

508(0) of the Act effective for the State, any native

sod acreage greater than five acres located in a

county contained within the Prairle Pothole Nationai

Prlorlty Area that has been titled after t\liay 22, 2008,

is not insurable for the first five crop years of planting

following the date the native sod acreage is tilled.

(l) if the Governor makes this election alter you
have received an indemnity or other payment for
native sod acreage, you will be required to repay
the amount received and any premium for such
acreage will be refunded to you.

(2) if we determine you have filled less than dye
acres of native sod a year for more than one
crop year, we will add ali the native sod acreage
titled after ivlay 22\ 2008, and all such acreage
will be ineligible for insurance for the nrst five
crop years of planting following the date the
cumulative native sod acreage titled exceeds
five acres

10. Share insured.

(a) insurance will attach:

(l) Only if the person completing the application has
a share in the insured crop; and

 

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(2) Oniy to that person's share,

except that
insurance may attach to another person's share
of the insured crop if the other person has a
share of the crop and:

(i) The application clearly states the insurance
is requested for a person other than an
individual (g_.gl, a partnership or a joint
venture);or

The application clearly states you as
landlord will insure your tenant's share, or
you as tenant will insure your landlord’s
share. if you as a landlord will insure your
tenant's share, or you as a tenant will
insure your landlord’s share, you must
provide evidence of the other party's
approval (lease, power of attorney. etc.)
and such evidence will be retained by us:
(A) You also must clearly set forth the
percentage shares of each person on
the acreage report; and

For each landlord or tenantl you must
report the landlord's or tenants social
security number, employer
identification number, or other
identification number we assigned for
the purposes of this policy, as
applicable

(ii)

(B)

(b) With respect to your share:
(i) We will consider to be included in your share

(2)

under your policy, any acreage or interest

reported by or for;

(i) Your spouse unless such spouse can
prove heishe has a separate farming
operation, which includes, but is not limited
to, separate land (transfers of acreage

from one spouse to another is not
considered separate land), separate
capital, separate inputs, separate

accounting, and separate maintenance of
proceeds; or

Your child who resides in your household
or any other member of your household,
unless such child or other member of the
household can demonstrate such person
has a separate share in the crop (Children
who do not reside in your household are
not included in your share); and

if it is determined that the spouse, child or other
member of the household has a separate policy
but does not have a separate farming operation
or share of the crop, as applicab|e:

(i) The policy for one spouse or child or other
member of the household will be void and
the policy remaining in effect will be
determined in accordance with section
22(a)(t) and (2);

The acreage or share reported under the
policy that is voided will be included under
the remaining policy; and

No premium will be due and no indemnity
will be paid for the voided policy.

(ii)

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(iii)

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(c) Acreage rented for a percentage of the crop, or
a lease containing provisions for BOTH a
minimum payment (such as a specified amount
of cash, bushels, pounds, etc.,) AND a crop
share will be considered a crop share |ease.

(d) Acreage rented for cash, or a lease containing
provisions for ElTHER a minimum payment OR
a crop share (such as a 50/50 share or $100.00
per acre, whichever is greater) will be
considered a cash lease.

insurance Period

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Except for prevented planting coverage (see section
17) coverage begins on each unit or part of a unit at
the later of:

(i) The date we accept your application (For the
purposes of this paragraph, the date of
acceptance is the date that you submit a
properly executed application in accordance with
section 2);

(2) The date the insured crop is planted; or

(3) The calendar date contained in the Crop
Provlslons for the beginning of the insurance
period,

Coverage ends on each unit or part of a unit at the

earliest of:

(‘l) Totai destruction of the insured crop;

(2) Harvest of the insured crop;

(3) Final adjustment of a loss on a unit;

(4) The calendar date contained in the Crop
Prcvisions or Special Provlslons for the end of
the insurance period;

(5) Abandonment of the insured crop; or
(6) As otherwise specified in the Crop Provlslons.
Except as provided in the Crop Provlslons or
applicable endorsement, in addition to the
requirements of section il(b), coverage ends on any
acreage within a unit once any event specified in
section 'l'l(b) occurs on that acreage. Coverage
only remains in effect on acreage that has not been
affected by an event specihed in section ti(b).

Causes of Loss.

insurance is
unavoidable naturally occurring events.

provided only to protect against

A list of the

covered naturally occurring events is contained in the

applicable Crop Provlslons.

A|l other causes of loss,

including but not limited to the followingl are NOT
covered:
(a) Any act by any person that affects the yield, quality

(b)
(C)

or price of the insured crop (e_.gg, chemical drift, fire,
tarrorlsrn, etc.);

Failure to follow recognized good farming practices
for the insured crop;

Water that is contained by or within structures that
are designed to contain a specific amount or water,
such as dams, locks or reservoir projects, etc.l on
any acreage when such water stays within the
designed limits (For exampie, a dam is designed to
contain water to an elevation of 1200 feet but you
plant a crop on acreage alan elevation of 1,100 feet.
A storm causes the water behind the dam to rise to
an elevation of 1,200 feet. Under such
circumstancesl the resulting damage would _not be

 

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(d)

(B)
(f)

caused by an insurable cause of ioss. However, if

you planted on acreage that was above 1,200 feet

elevation, any damage caused by water that
exceeded that elevation would be caused by an
insurable cause of loss);

Failure or breakdown of the irrigation equipment or

iacilities, or the inability to prepare the land for

irrigation using your established irrigation method

(gg_., furrow irrigation), unless the failure, breakdown

or inability is due to a cause of loss specihed in the

Crop Provlslons.

(‘l) You must make all reasonable efforts to restore
the equipment or facilities to proper working
order within a reasonable amount of time unless
we determine it is not practical to do so.

(2) Cost will not be considered when determining
whether it is practical to restore the equipment
or iaci!ities;

Failure to carry out a good irrigation practice for the
insured crop, if applicable; or
Any cause of loss that results in damage that is not
evident or would not have been evident during the
insurance periodl including, but not limited to,
damage that only becomes evident after the end of
the insurance period unless expressly authorized in
the Crop Provlslons. Even though we may not
inspect the damaged crop until after the endof the
insurance period, damage due to insured causes
that would have been evident during the insurance
period will be covered

13. Replanting Payrnent.

(B)

(b)

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(d)

if allowed by the Crop Provlslons, a replanting

payment may be made on an insured crop replanted

after we have given consent and the acreage

replanted is at least the lesser of 20 acres or 20

percent of the insured planted acreage for the unit

(as determined on the final planting date or within

the late planting period ii a late planting period is

applicable), if the crops to be replanted are in a

whole-farm unit, the 20 acres or 20 percent

requirement is to be applied separately to each crop
to be replanted in the whole-farm unit.

No replanting payment will be made o`n acreage:

(i) On which our appraisal establishes that
production will exceed the level set by the Crop
Provlslons;

(2) initially planted prior to the earliest planting date
established by the Speclal Provlslons; or

(3) On which one replanting payment has already
been allowed for the crop year.

The replanting payment per acre will be:

(i) The lesser of your actual cost for replanting or
the amount specified in the Crop Provlslons or
Specia| Provlslons; or

(2) lf the Crop Provlslons or Special Provisions
specify that your actual cost will not be used to
determine your replant paymentl the amount

, determined in accordance with the Crop
Provlslons or Speciai Provisionsv

No replanting payment will be paid ii we determine it

is not practical to replant.

14. Dut|es in the Event of Damage, Loss, Abandonment,
Destruction, or Alternative Use of Crop or Acreage.
Your Duties: .

(a) in case of damage or loss of production or revenue
to any insured cropl you must protect the crop from
further damage by providing sufficient care.

(b) Notice provisions:

(i) For a planted crop, when there is damage or
loss of production, you must give us notice, by
unit, within 72 hours of your initial discovery of
damage or loss of production (but not later than
15 days after the end of the insurance period,
even if you have not harvested the crop).

(2) For crops for which revenue protection is
elected, if there is no damage or loss of
productionl you must give us notice not later
than 45 days after the latest date the harvest
price is released for any crop in the unit where
there is a revenue loss.

(3) in the event you are prevented from planting an
insured crop that has prevented planting
coverage, you must notify us within 72 hours
ahen
(i) The final planting datel if you do not intend

to plant the insured crop during the late
planting period or if a late planting period is
not applicable; or

(ii) You determine you will not be able to plant
the insured crop within any applicable late
planting period.

(4) All notices required in this section that must be
received by us within 72 hours may be made by
telephone or in person to your crop insurance
agent but must be confirmed in writing within 15
days.

(5) if you fail to comply with these notice
requirementsl any loss or prevented planting
claim will be considered solely due to an
uninsured cause of loss for the acreage for
which such failure occurred, unless we
determine that we have the ability to accurately
adjust the loss. |f we determine that we do not
have the ability to accurately adjust the loss:

(i) For any prevented planting claim. no
prevented planting coverage will be
provided and no premium will be owed or
prevented planting payment will be paid; or

(ii) For any claim for indemnity, no indemnity
will be paid but you will still be required to
pay all premiums owed.

(c} Representaiive samples:

(i) if representative samples are required by the
Crop Provisions, you must leave representative
samples of the unharvested crop intact:

(i) lf you report damage less than 15 days
before the time you will begin harvest or
during harvest of the damaged unit; or

(ii) At any time when required by us.

(2) The samples must be left intact until we inspect
them or until 15 days after completion of harvest
on the remainder of the unit, whichever is
earlier_

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(3) Un|ess

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otherwise specided in the Crop
Provlslons or Special Provisions. the samples of
the crop in each field in the unit must be 10 feet
wide and extend the entire length of the rows, if
the crop is planted in rows, or if the crop ls not
planted in rowsl the longest dimension of the
field. .

The period to retain representative samples may
be extended if lt is necessary to accurately
determine the |oss'. You will be notified in writing
of any such extension.-

(d) Consent'.

(i)

(2)

(3)

You must obtain consent from us beiore, and
notify us after you;

(i) Destroy any of the insured crop that is not -

harvested;\
(ii) Pui the insured crop to an alternative use;
(iii) Put the acreage to another use; or
(iv) Abandon any portion of the insured crop.
We will not give consent for any of the actions in
section l4(d)(1)(i) through (iv) if it is practical to
replant the crop or until we have made an
appraisal of the potential production of the crop.
Failure to obtain our consent will result in the
assignment of an amount of production or value
to count in accordance with the Setllement of

‘Claim provisions of the applicable Crop

Provlslons.

(e) Claims:

(i)

Except as otherwise provided in your policy, you

must submit a claim declaring the amount of

your loss by the dates shown in section 14(e)(3),

unless your

(i) Request an extension in writing by such
date and we agree to such request

(Extensions will only be granted if the

amount of the loss cannot be determined

within such time period because the
information needed to determine the
amount of the loss is not availab|e); or

(ii) Have harvested farm-stored grain
production and elect, in writing, to delay
measurement of your farm-stored
production and settlement of any potential
associated claim for indemnity (Extenslons

will be granted for this purpose up to 180

days after the end of the insurance period).

(A) For policies that require APl-i, if such
extension continues beyond the date
you are required to submit your
production report, you will be assigned
the previous year`s approved yield as
a temporary yield in accordance with
applicable procedures

(B) Any extension does not extend any
date specified in the policy by which

. premiums, administrative fees, or other
debts owed must be paid.

(C) Damage that occurs after the end of
the insurance period (for exampleI
while the harvested crop production is
in storage) is not covered; and

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(2)

Failure to timely submit a claim or provide the

required information necessary to determine the

amount of the claim will result in no indemnity,

prevented planting payment or replant payment:

(i) Even though no indemnity or replant
payment is due, you will still be required to
pay the premium due under the policy for
the unit; or

(ll) Faiiure to timely submit a prevented
planting claim will result in no prevented
planting coverage and no premium will be
due.

(3) You must submit a claim not later than:

(4)

(i) For policies other than revenue protection,
60 days alter the date the insurance period
ends for all acreage in the unit (When there
is acreage in the unit where the insurance
period ended on different dates, it is the
last date the insurance period ends on the
unit. For examp|e, if a unit has corn
acreage that was put to another use on
July 15 and corn acreage where harvest
was completed on September 30, the claim
must be submitted not later than 60 days
after Septernber 30); or

(ii) For revenue protection, the later of:

(A) 60 days after the last date the harvest
price is released for any crop in the
unit; or

(B) The date determined in accordance
with section 14(e)(3)(i).

To receive any indemnity (or receive the rest of

an indemnity in the case of acreage that is

planted to a second crop)l prevented planting
payment or replant payment, you must, if
applicable:

(i) Provide:

(A) A complete harvesting, production,
and marketing record of each insured
crop by unit including separate records
showing the same information for
production from any acreage not
insured -

(B) Records as indicated below if you
insure any acreage that may be
subject to an indemnity reduction as
specified in section iS(e)(Z):

( 1) Separate records of production
from such acreage for all insured
crops planted on the acreage
(e_.c_r;l if you have an insurable loss
on 10 acres of wheat and
subsequently plant cotton on the
same 10 acres, you must provide
records of the wheat and cotton
production on the 10 acres
separate from any other wheat
and cotton production that may be
planted in the same unit). if you
fail to provide separate records for
such acreage, we will allocate the
production of each crop to the

 

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acreage in proportion to our
liability for the acreage; or

(2) if there is no loss on the unit that

_ includes acreage 'of the second

crop1 no separate records need to

be submitted for the second crop

and you can receive the rest of the

indemnity for the nrst insured crop.

(C) Any other information we may require
to settle the claim,

(ii) Cooperate with us in the investigation or
settlement of the claim, andl as often as
we reasonably require:

(A) Show us the damaged crop;

(B) Allow us to remove samples of the
insured crop; and

(C) Provlde us with records and
documents we request and permit us
to make copies

(iii) Establish:

(A) The total production or value received
for the insured crop on the unit;

(B) That any loss occurred during the
insurance period;

(C) That the loss was caused by one or
more of the insured causes specified
in the Crop Provlslons; and

(D) That you have complied with all
provisions of this policy.

(lv) Upon our request, or that of any USDA
employee authorized to conduct
investigations of the crop insurance
programl submit to an examination under
oath.

(5) Failure to comply with any requirement
contained in section 14(e)(4) will result in denial
of the claim and any premium will still be owed,
unless the claim denied is for prevented
planting.

Our Duties:
(f) ii you have complied with all the policy provisions,

we will pay your loss within 30 days after the later ot;

(i) We reach agreement with you;

(2) Comp|etion of arbitrationl reconsideration of
determinations regarding good farming practices
or any other appeal that results in an award in
your favorl unless we exercise our right to
appeal such decision;

(3) Completion of any investigation by USDA, if
applicable of your current or any past claim for
indemnity if no evidence of wrongdoing has
been found (if any evidence of wrongdoing has
been discovered, the amount of any lndemnity,
prevented planting or replant overpayment as a
result of such wrongdoing may be offset from
any indemnity or prevented planting payment
owed to you); or

(4) The entry of a final judgment by a court of
competent jurisdiction

{g) in the event we are unable to pay your loss within 30

days. we will give you notice of our intentions within
the 30-day periodl

till

(i)

We may defer the adjustment of a loss until the

amount of loss can be accurately determined We

will not pay for additional damage resulting from your

failure to provide sufficient care for the crop during

the deferral period

We recognize and apply the loss adjustment

procedures established or approved by the Federal

Crop insurance Corporation.

For revenue protection, we may make preliminary

indemnity payments for crop production losses prior

to the release of the harvest price if you have not

elected the harvest price exclusion

(i) First, we may pay an initial indemnity based
upon your projected pricel in accordance with
the applicable Crop Provisions provided that
your production to count and share have been
established; and

(2) Second, after the harvest price is released, and
if it is not equal to the projected price, we will
recalculate the indemnity payment and pay any
additional indemnity that may be due.

15. Production included in Determining an indemnity
and Payment Reductions.

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(21 or 40)

The total production to be counted for a unit will
include ali production determined in accordance with
the policy.

Appraised production will be used to calculate your

claim if you are not going to harvest your acreage

Such appraisals may be conducted after the end ot

the insurance period, lt you harvest the crop after

the crop has been appraised:

(‘l) You must provide us with the amount of
harvested production (if you fail to provide
verifiable records of harvested production, no
indemnity will be paid and you will be required to
return any previously paid indemnity for`the unit
that was based on an appraised amount of
production); and

(2) if the harvested production exceeds the
appraised production, claims will be adjusted
using the harvested production, and you will be
required to repay any overpaid indemnity; or

(3) lt the harvested production is less than the
appraised production, and:

(i) You harvest after the end of the insurance
period, your appraised production will be
used to adjust the loss unless you can
prove that no additional causes of loss or
deterioration of the crop occurred after the
end of the insurance period; or

(ii) You harvest before the end of the
insurance period, your harvested
production will be used to adjust the loss.

li you elect to exclude hall and fire as insured causes

of loss and the insured crop is damaged by hall or

Hre, appraisals will be made as described in ou_r form

used to exclude hall and`fire.

The amount of an indemnity that may be determined

under the applicable provisions of your policy may

be reduced by an amount, determined in accordance
with the Crop Provisions or Special Provlslons‘ to
reflect out-of-pocket expenses that were not incurred

 

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(B)

(i)

by you as a result of not planting, caring for, or

harvesting the crop. lndemnities paid for acreage

prevented from being planted will be based on a

reduced guarantee as provided for in the policy and

will not be further reduced to reflect expenses not
incurred

With respect to acreage where you have suffered an

insurable loss to planted acreage of your first insured

crop in the crop year, except in the case of double

cropping described in section 15(h):

(‘l) You may elect to not plant or to plant and not
insure a second crop on the same acreage for
harvest iri the same crop year and collect an
indemnity payment that is equal to 100 percent
of the insurable loss for the first insured crop; or

(2) You may elect to plant and insure a second crop
on the same acreage for harvest in the same
crop year (you will pay the full premium and, if
there is an insurable loss to the second crop,
receive the full amount of indemnity that may be
due for the second cropl regardless of whether
there is a subsequent crop planted on the same
acreage) and: .

(i) Collect an indemnity payment that is 35
percent of the insurable loss for the first
insured crop;

(ii) Be responsible for premium that is 35
percent of the premium that you would
otherwise owe for the hist insured crop;
and

(iii) it the second crop does not suffer an
insurable loss:

(A) Coliect an indemnity payment for the
other 65 percent of insurable loss that
was not previously paid under section
15(e)(2)(i),' and

(B) Be responsible for the remainder of the
premium for the first insured crop that
you did not pay under section
15(e)(2)(ii).

With respect to acreage where you were prevented

from planting the first insured crop in the crop year,

except in the case of double cropping described in

section 15(h):

{1) lf a second crop is not planted on the same
acreage for harvest in the same crop year, you
may collect a prevented planting payment that is
equal to 100 percent of the prevented planting
payment for the acreage for the first insured
crop; or

(2) |f a second crop is planted on the same acreage
for harvest in the same crop year (you will pay
the full premium and, if there is an insurable loss
to the second crop, receive the full amount of
indemnity that may be due for the second crop,
regardless of whether there is a subsequent
crop planted on the same acreage) and:

(i) Provlded the second crop is not planted on
0r before the hnal planting date or during
the late planting period (as applicable) for
the first insured crop. you may collect a
prevented planting payment that is 35

(22 or 40)

percent of the prevented planting payment
for the first insured crop; and

(ii) Be responsible tor premium that is 35
percent of the premium that you would
otherwise owe for the Hrst insured crop.

(g) The reduction iri the amount of indemnity or

(h}

prevented planting payment and premium specified

in sections 15(e) and 15(f), as applicable will apply:

(1) Notwithstanding the priority contained in the
Agreement to insure section, which states that
the Crop Provlslons have priority over the Basic

_ Provlslons when a conflict exists, to any
premium owed or indemnity or prevented
planting payment made in accordance with the

Crop Provlslons, and any applicable

endorsement

(2) Even if another person plants the second crop
on any acreage where the first insured crop was
planted or was prevented trorn being planted. as
applicable `

(3) For prevented planting only.'

(i) if a volunteer crop or cover crop is hayed
or grazed from the same acreage, after the
late planting period (or after the final
planting date if a late planting period is not
applicable) for the first insured crop in the
same crop year, or is otherwise harvested
anytime after the late planting period (or
after the final planting date if a late planting
period is not applicable); or

(ii) lf you receive cash rent for any acreage on
which you were prevented from planting.

You may receive a full indemnity, or a full prevented

planting payment for a first insured crop when a

second crop is planted on the same acreage in the

same crop year; regardless of whether or not the
second crop is insured or sustains an insurable loss,

ii each of the following conditions are metz

(i) lt is a practice that is generally recognized by
agricultural experts or organic agricultural
experts for the area to plant two or more crops
for harvest in the same crop year;

(2) The second or more crops are customarily
planted after the first insured crop for harvest on
the same acreage in the same crop year in the
area;

(3) Additional coverage insurance offered under the
authority of the Act is available in the county on
the two or more crops that are double cropped;

(4) You provide records acceptable to us of acreage
and production that show you have double
cropped acreage in at least two of the last four
crop years in which the first insured crop was
planted, or that show the applicable acreage
was double cropped in at least two of the last
four crop years in which the first insured crop
was grown on it; and

(5) |n the case of prevented planting, the second
crop is not planted on or prior to the final
planting date or, if applicable prior to the end of
the late planting period for the first insured crop.

 

 

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(i) The receipt of a full indemnity or prevented planting
payment on both crops that are double cropped is
limited to the number cl acres for which you can
demonstrate you have double cropped or that have
been historically double cropped as specified in
section 15(h). '

(i) li the records you provided are from acreage
you double cropped in at least two of the last
four crop years, you may apply your history of
double cropping to any acreage of the insured
crop in the county (§g, if you have double
cropped 100 acres of wheat and soybeans in the
county and you acquire an additional 100 acres
in the county, you can apply that history of
double cropped acreage to any of the 200 acres
in the county as long as it does not exceed 100
acres); or

(2) ll the records you provided are from acreage
that another producer double cropped iri at least
two of the last four crop years, you may only use
the history of double cropping for the same
physical acres from which double cropping
records were provided (_eg, if a neighbor has
double cropped 100 acres of wheat and
soybeans in the county and you acquire your
neighbors 100 double cropped acres and an
additional 100 acres in the county, you can only
apply your neighbors history of double cropped
acreage to the same 100 acres that your
neighbor double cropped).

tC)

the production guarantee or amount of
insurance that is provided for acreage of the
insured crop that is timely planted by the
prevented planting coverage level percentage
you elected, or that is contained in the Crop
Provlslons if you did not elect a prevented
planting coverage level percentage;

(2) Plantlng on such acreage must have been

` prevented by the final planting date (or during
the late planting period, if applicab|e) by an
insurable cause occurring within the insurance
period for prevented planting coverage; and

(3) All production from insured acreage as specified
in this section will be included as production to
count for the unit.

The premium amount for insurable acreage specitied n

in this section will be the same as that for timely
planted acreage. if the amount of premium you are
required to pay (gross premium less our subsidy) for
such acreage exceeds the |lability, coverage for
those acres will not be provided (no premium will be
due and no indemnity will be paid).

Any acreage on which an insured cause of loss is a
material factor in preventing completion of planting,
as specified in the definition of “p|anted acreage"
(gg, seed is broadcast on the soil surface but
cannot be incorporated) will be considered as
acreage planted after the unal planting date and the
production guarantee will be calculated in
accordance with section 16(b)(1).

(j) if any Federal or State agency requires destruction 17. Prevented P|anting.

of any insured crop or crop production, as
applicablel because it contains levels of a
substancel or has a condition, that is injurious to
human or animal health in excess of the maximum
amounts allowed by the Food and Drug
Administration, other public health organizations of
the United States or an agency of the applicable
State, you must destroy the insured crop or crop
production, as applicable, and certify that such
insured crop or crop production has been destroyed
prior to receiving an indemnity payment Failure to
destroy the insured crop or crop production, as
applicablel will result in you having to repay any
indemnity paid and you may be subject to
administrative sanctions in accordance with section
515(h) of the Act and ? CFR part 400, subpart R,
and any applicable civil or criminal sanctions
16. Late P|anting.

Un|ess limited by the Crop Provlslons, insurance will be

provided for acreage planted to the insured crop after the

final planting date in accordance with the following;

(a) The production guarantee or amount of insurance for
each acre planted to the insured crop during the late
planting period will be reduced by 1 percent per day
for each day planted alter the final planting dale

(b) Acreage planted after the late planting period (or
after the final planting date for crops that do not have
a late planting period) may be insured as follows:

(1) The production guarantee or amount of
insurance for each acre planted as specified in
this subsection will be determined by multiplying

(23 or 40)

tel

Un|ess limited by the policy provisions, a prevented
planting payment may be made to you for eligible
acreage if:

(1) You are prevented from planting the insured
crop on insurable acreage by an insured cause
of loss that occurs'.

(i) On or after the sales closing date
contained in the Special Provlslons for the
insured crop in the county for the crop year
the application for insurance is accepted;
or

(ii) For any subsequent crop year, on or after
the sales closing date for the previous crop
year for the insured crop in the county,
provided insurance has been in force
continuously since that date. Cancel|ation
for the purpose of transferring the policy to
a different insurance provider for the
subsequent crop year will not be
considered a break in continuity for the
purpose of the preceding sentence;

(2) Ypu include on your acreage report any
insurable acreage of the insured crop that was
prevented from being planted; and

(3) You did not plant the insured crop during or after
the late planting period Acreage planted to the
insured crop during or after the late planting
period is covered under the late planting
provisions

 

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(b) The actuarial documents may contain additional

(C)

(d)

levels of prevented planting coverage that you may

purchase for the insured crop;

(1) Such purchase must be made on or before the
sales closing date.

(2) |f you do not purchase one of those additional
levels by the sales closing date, you will receive
the prevented planting coverage specified in the
Crop Provlslons.

(3) lf you have a Catastrophic Risk Protection
Endorsement for any crop, the additional levels
of prevented planting coverage will not be
available for that crop.

(4) ‘r'ou cannot increase your elected or assigned
prevented planting coverage level for any crop
year if a cause of loss that could prevent
planting (even though it is not known whether
such cause will actually prevent planting) has
occurred during the prevented planting
insurance period specified in section 1?(a)(1)(i)
or (ii) and prior to your request to change your
prevented planting coverage level.

The premium amount for acreage that is prevented

from being planted will be the same as that for timely

planted acreage except as specified in section 15(f}.

if the amount of premium you are required to pay

(gross premium less the subsidy) for acreage that is

prevented from being planted exceeds the liability on

such acreagel coverage for those acres will not be
provided (no premium will be due and no indemnity
will be paid for such acreage).

Prevented planting coverage will be' provided

against

(1) Drought, failure of the irrigation water suppty,
failure or breakdown of irrigation equipment or
facilities, or the inability to prepare the land for
irrigation using your established irrigation
melhod, due to an insured cause of loss only if,

‘on the final planting date {or~ within the late
planting period if you elect to try to plant the
crop), you provide documentation acceptable to
ustc establish:

(i) For non-irrigated acreage, the area that is
prevented from being planted has
insufficient soil moisture for germination of
seed or progress toward crop maturity due
to a prolonged period of dry weather. The
documentation for prolonged period of dry
weather must be verifiable using
information collected by sources whose
business it is to record and study the
weather, inciuding, but not limited to, local
weather reporting stations of the Nationat
Weather Service; or '

(ii) For irrigated acreage:

(A) Due to an insured cause of lossl there
is not a reasonable expectation of
having adequate water to carry out an

` irrigated practice or you are unable to
prepare the land for irrigation using
your established irrigation method:

(24 of 40)

(1') if you knew or had reason to know
on the final planting date or during
the late planting period that your
water will be reduced, no
reasonable expectation exists; and

(2) Avallable water resources will be
verified using information from
State Departments of Water
Resources, U.S. Bureau of
Reclamalion, Natural Resources
Conservation Service 'or other
sources whose business includes
collection of water data or
regulation of water resources; or

(B) `l'he irrigation equipment or facilities
have failed or broken down if such
failure or breakdown is due to an
insured cause of loss specified in
section t2(d).

(2) Causes other than drought. failure of the
irrigation water supplyl failure or breakdown of
the irrigation equipment or facilities, or your
inability to prepare the land for irrigation using
your established irrigation method, provided the
cause of loss is specified in the Crop Provlsions.
However, if it is possible for you to plant on or
prior to the final planting date when other
producers in the area are planting and you fail to
piant, no prevented planting payment will be
made.

(e) The maximum number of acres that may be eligible

for a prevented planting payment for any crop will be

determined as follows:

(i) The total number of acres eligible for prevented
planting coverage for all crops cannot exceed
the number of acres of cropland in your farming
operation for the crop year, unless you are
eligible for prevented planting coverage on
double cropped acreage in accordance with
section 17(f)(4). The eligible acres for each
insured crop will be determined as follows:

(i) if you have planted any crop in the county
for which prevented planting insurance was
available (you will be considered to have
planted if your APl-i database contains
actual planted acres} or have received a
prevented planting insurance guarantee in
any one or more of the tour most recent
crop years. and the insured crop is not
required to be contracted with a processor
to be insured;

(A) The number of eligible acres will be
the maximum number of acres certified
for APl-l purposes or insured acres
reportedl for the crop in any one of the
four most recent crop years (not
including reported prevented planting
acreage that was planted lo a second
crop unless you meet the double
cropping requirements in section

17(0(4)).

 

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(ii)

(B) lf you acquire additional land for the
current crop yearl the number of
eligible acres determined in section
17(e)(i)(i){A) for a crop may be
increased by multiplying it by the ratio
of the total cropland acres that you are
farming this year (if greater) to the total
cropland acres that you farmed in the
previous year, provided that:

('l) You submit proof to us that you
acquired additional acreage for the
current crop year by any ot the
methods specified in section
17(8(12);

(2) The additional acreage was
acquired in time to plant it for the
current crop year using good
farming practices; and

(3) No cause of loss has occurred at
the time you acquire the acreage
that may prevent planting (except
acreage you leased the previous
year and continue to lease in the
current crop year).

(C) lf you add adequate irrigation facilities
to your existing non-irrigated acreage
or if you acquire additional land for the
current crop year that has adequate
irrigation facilities, the number of
eligible acres determined in section
l`r(e)(‘!)(i)(f-\) for irrigated acreage of a
crop may be increased by multiplying it
by the ratio ot the total irrigated acres
that you are farming this year (if
greater) to the total irrigated acres that
you farmed in the previous yearl
provided the conditions in sections
17(e)(‘l)(i}(i3)(t), (2) and (3) are met. lf
there were no irrigated acres in the
previous yearl the eligible irrigated
acres for a crop will be limited to the
lesser of the number of eligible non-

` irrigated acres of the crop or the
number of acres on which adequate
irrigation facilities were added

if you have not planted any crop in the

county for which prevented planting

insurance was available (you will be
considered to have planted if your APH
database contains actual planted acres) or
have not received a prevented planting
insurance guarantee in all ot the four most
recent crop years, and the insured crop is

not required to be contracted with a

processor to be insured;

(A) The number of eligible acres will be:
(i) The number of acres specified on

your intended acreage report,
which must be submitted to us by
the sales closing date for all crops
you insure for the crop year and
that is accepted by us; or

{25 of 40)

(iii)

(B)

(C)

(D)

(2) The number of acres specified on
your intended acreage report,
which must be submitted to us
within 10 days of the time you
acquire the acreage and that is
accepted by us, ifl on the sales
closing datel you do riot have any
acreage in a county and you
subsequently acquire acreage
through a method described in
section 17(0(12) in time to plant it
using good farming practices

The total number of acres listed on the
intended acreage report may not
exceed the number of acres of
cropland in your farming operation at
the time you submit the intended
acreage report
lf you acquire additional acreage after
we accept your intended acreage
report, the number of acres
determined in section 17(e)(t)(li)(A)
may be increased in accordance with
section l?(e)(i)(i)(B) and (C).
Prevented planting coverage Will not
he provided for any acreage included
on the intended acreage report or any
increased amount of acreage
determined in accordance with section
i7(e)(1)(ii)(C) if a cause of loss that
may prevent planting occurred before
the acreage was acquired, as
determined by us.

l`~'or any crop that must be contracted with a
processor to be insured;

(A)

The number of eligible acres will be;

(i) The number of acres of the crop
specified in the processor
contractl if the contract specifies a
number of acres contracted for the
crop year;

(2) The result of dividing the quantity
of production stated in the
processor contract by your
approved yieldl if the processor
contract specifies a quantity of
production that will be accepted
(for the purposes ot establishing
the number of prevented planting
acres, any reductions applied to
the transitional yield for failure to
certify acreage and production for
four prior years will not be used);
or

(3) Notwithstanding sections
‘l?(e)(‘i)(lll)(A)(i) and (2), if a
minimum number of acres or
amount of production is specihed
in the processor contractl this
amount will be used to determine
the eligible acres

 

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(i)

(B) If a processor cancels or does not
provide contracts, or reduces the
contracted acreage or production from
what would have othenlvise been
allowed, solely because the acreage
was prevented from being planted due
to an insured cause of loss, we will
determine the number of eligible acres
based on the number of acres or
amount of production you had
contracted in the county in the
previous crop year. lt the applicable
Crop Provlslons require that the price
election be based on a contract price,
and a contract is not in force for the
current year, the price election will be
based on the contract price in place for
the previous crop year. if you did not
have a processor contract in place for
the previous crop year, you will not
have any eligible prevented planting
acreage for the applicable processor
crop. The total eligible prevented
planting acres in all counties cannot
exceed the total number of acres or
amount of production contracted in all
counties in the previous crop year.

(2) Any eligible acreage determined in accordance
with section 17(e)(1) will be reduced by
subtracting the number of acres of the crop
(insured and unlnsured) that are timely and late
plSa(rgt)ed, including acreage specified in section
t .

Regard|ess of the number of eligible acres

determined in section 17(e}, prevented planting

coverage will not be provided for any acreage:

(1) That does not constitute at least 20 acres or 20
percent of the insurable crop acreage in the unit,
whichever is less (lf the crop is in a whole-farm
unit, the 20 acre or 20 percent requirement will
be applied separately to each crop in the whole-
farm unit). Any prevented planting acreage
within a field that contains planted acreage will
be considered to be acreage of the same cropl
type, and practice that is planted in the field
unless:

(i) The acreage that was prevented from
being planted constitutes at least 20 acres
or 20 percenth the total insurable acreage
in the field and you produced both crops,
crop typesl or followed both practices in
the same field in the same crop year within
any one of the four most recent crop years;

(ii) You were prevented from planting a first
insured crop and you planted a second
crop in the field (There can only be one
first insured crop in a held unless the
requirements in section 17(0(1)0) or (iii)
are met); or

(iii) The insured crop planted in the field would
not have been planted on the remaining
prevented planting acreage (gg_., where
rotation requirements would not be met or
you already planted the total number of
acres specified in the processor contract);

(2e or 40)

(2)

(3)

(4)

For which the actuarial documents do not
provide the information needed to determine the
premium rate, unless a written agreement
designates such premium rate;

Used for conservation purposesl intended to be
left unplanted under any program administered
by the USDA or other government agency, or
required to be left unharvested under the terms
of the lease or any other agreement (The
number of acres eligible for prevented plant|ng
will be limited to the number of acres specihed in

,the lease for which you are required to pay

either cash or share rent);

On which the insured crop is prevented from

being planted, if you or any other person

receives a prevented planting payment for any
crop for the same acreage in the same crop
year, excluding share arrangements unless;

(i) lt is a practice that is generally recognized
by agricultural experts or organic
agricultural experts in the area to plant the
insured crop for harvest following harvest
of the first insured crop, and additional
coverage insurance offered under the
authority of the Act is available in the
county for both crops ln the same crop
yeah

(ll) For the insured crop that is prevented from
being planted, you provide records
acceptable to us of acreage and production
that show, in at least two of the last four
crop years:

(A) You have double cropped acreage on
which the insured crop that is
prevented from being planted in the
current crop year was grown (You may
apply your history of double cropping
to any acreage of the insured crop in
the county (§g;, if you have double
cropped 100 acres of wheat and
soybeans in the county and you
acquire an additional 100 acres in the
county, you can apply that history of
double cropped acreage to any of the
200 acres in the county as long as lt
does not exceed 100 acres)); or

(B) The acreage you are prevented from
planting in the current crop year was
double cropped with the insured crop
that is prevented from being planted
(You may only use the history of
double cropping for the same physical
acres from which double cropping
records were provided (;g_., if a
neighbor has double cropped 100
acres of wheat and soybeans in the
county and you acquire your
nelghbor's 100 double cropped acres
and an additional 100 acres in the
county, you can only apply your
nelghbor's history of double cropped
acreage to the same 100 acres that
your neighbor double cropped)); and

 

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(iii) The amount of acreage you are double
cropping in the current crop year does not
exceed the number of acres for which you
provided the records required in section

iY(f)(‘l)(ii);

(5) On which the insured crop is prevented from

(6)

t7)
(B)
(9)

being pianted. if:

(i) Any crop is planted within or prior to the
late planting period or on or prior to the
hnal planting date if no late planting period
is applicable, unless:

(A) You meet the double cropping
requirements in section 17(f)(4);

(B) The crop planted was a cover crop; or

(C) No benefitl including any benefit under
any `USDA program, was derived from
the crop; or

(ii) Any volunteer or cover crop is hayed,
grazed or otherwise harvested within or
prior to the late planting period or on or
prior to the final planting date if no late
planting period is applicable;

For which planting history or conservation plans
indicate the acreage would have remained
fellow for crop rotation purposes or on which any
pasture or forage crop is in place on the acreage
during the time planting of the insured crop
generally occurs in the area. Cover plants that
are seeded, transplanted, or that volunteer:

(i) l\ilore than 12 months prior to the nnal
planting date for the insured crop that was
prevented from being planted will be
considered pasture or a forage crop that is
in place (gg, the cover crop is planted 15
months prior to the final planting date and
remains in place during the time the
insured crop would normally be planted)', .or

(ii) Less than 12 months prior to the final
planting date for the insured crop that was
prevented from being planted will not be
considered pasture or a forage crop that is
in place;

That exceeds the number of acres eligible for a
prevented planting payment;
That exceeds the number of eligible acres
physically available for planting;
For which you cannot provide proof that you had
the inputs (including, but not limited to, sufhcient
equipment and rnanpower) available to plant
and produce a crop with the expectation of
producing at least the yield used to determine
your production guarantee or amount of
insurance Evidence that you previously had
planted the crop on the unit will be considered
adequate proof unless:

(i) There has been a change in the availability
of inputs since the crop was last planted
that could affect your ability to plant and
produce the insured crop;

(ii) We determine you have insufficient inputs
to plant the total number of insured crop
acres (§g;l you will not receive a
prevented planting payment if you have
suthcient inputs to plant only 80 acres but

(27 or 40)

(9)

(ii)

you have already planted 80 acres and are
claiming prevented planting on an
additional 100 acres); or

(iii) Your planting practices or rotational
requirements show the acreage would
have remained fellow or been planted to
another crop;

(10)Based on an irrigated practice ` production
guarantee or amount of insurance unless
adequate irrigation facilities were in place to
carry out an irrigated practice on the acreage
prior to the insured cause of loss that prevented
you from planting. Acreage with an irrigated
practice production guarantee will be limited to
the number of acres allowed for that practice
under sections 17(e) and (f);

(11)Based on a crop type that you did not plant, or
did not receive a prevented planting insurance
guarantee for, in at least one of the four most
recent crop years:

- (i) Types for which separate projected prices
or price elections, as applicable, amounts
of insurance, or production guarantees are
available must be included in your APH
database in at least one of the four most
recent crop years (Crops for which the
insurance guarantee is not based on APl-l
must be reported on your acreage report in
at least one of the four most recent crop
years) except as allowed in section
17(e)(1)(ii) or (iil); and

(ii) We will limit prevented planting payments
based on a specific crop type to the
number of acres allowed for that crop type
as specified in sections 17(e) and (f); or

(12) lt a cause of loss has occurred that may prevent
planting at the timer
(i) You lease the acreage (except acreage

you leased the previous crop year and
continue to lease in the current crop year);

(ii) You buy the acreage;

(iii) The acreage is released from a USDA
program which prohibits harvest of a crop;

(iv) You request a written agreement to insure
the acreage; or

(v) You acquire the acreage through means
other than lease or purchase (such as
inherited or gifted acreage).

if you purchased an additional coverage policy for a
crop, and you executed a High-Risk Land Exc|usion
Option that separately insures acreage which has
been designated as "high-risi<” land by FClC under a
Catastrophic Risk Protection Endorsernent for that
crop, the maximum number of acres eligible for a
prevented planting payment will be limited for each
policy as specified in sections 17(e) and (f).
if you are prevented from planting a crop for which
you do not have an adequate base of eligible
prevented planting acreagel as determined in
accordance with section 17(e)(1), we will use
acreage from another crop insured for the current
crop year for which you have remaining eligible
prevented planting acreage

 

(1) The crop first used for this purpose will be the
insured crop that would have a prevented
planting payment most similar to the payment for
the crop that was prevented from being planted
(i) lf there are still insufficient eligible

prevented planting acres, the next crop
used will be the insured crop that would
have the next closest prevented planting
payment

(ii) ln the event payment amounts based on
other crops are an equal amount above
and below the payment amount for the
crop that was prevented from being
planted, eligible acres for the crop with the
higher payment amount will be used hrst.

(2) The prevented planting payment and premium
will be based on:

(i) The crop that was prevented from being
planted if the insured crop with remaining
eligible acreage would have resulted in a
higher prevented planting payment than
would have been paid for the crop that was
prevented from being planted; or

(ii) The crop from which eligible acres are
being used if the insured crop with
remaining eligible acreage will result in a
lower prevented planting payment than
would have been paid for the crop that was
prevented from being planted

(3) For example, assume you were prevented from
planting 200 acres of corn and have 100 acres
eligible for a corn prevented planting guarantee
that would result in a payment of $40 per acre.
You also had 50 acres of potato eligibility that
would result in a $100 per acre payment and 90
acres of grain sorghum eligibility that would
result in a $30 per acre _payrnent. Your
prevented planting coverage will be based on
100 acres of corn ($40 per acre), 90 acres of
grain sorghum ($30 per acre), and an additional
10 acres of corn (using potato eligible acres and
paid as corn at $40 per acre). Your prevented
planting payment would be $7,100 ($4,000 +
$2,700 + $400).

(4) Prevented planting coverage will be allowed as
specified in section f7(h) only if the crop that
was prevented from being planted meets all
policy provisions, except for having an adequate
base of eligible prevented planting acreage
F'ayment may be made based on crops other
than those that were prevented from being
planted even though other policy provisions,
including but not limited to. processor contract
and rotation requirementsl have not been met
for the crop whose eligible acres are being used.

(5) An additional administrative fee will not be due
as a result of using eligible prevented planting
acreage as specined in section 17(h).

(i) The prevented planting payment for any eligible

acreage within a unit will be determined by:

(1) Niultiplying the prevented planting coverage
level percentage you elected, or that is
contained in the Crop Provlslons if you did not

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elect a prevented planting coverage level

percentagel by:

(i) Your amount of insurance per acre; or

(ii) The amount determined by multiplying the
production guarantee (per acre) for timely
planted acreage of the insured crop (or
type, if applicable) by your price election or
your projected price, whichever is
applicabie;

(2) l'vlultiplying the result of section 17(i)(1) by the

number of eligible prevented planting acres in
the unit; and

(3) lVlultiplying the result of section f?(i)(2) by your
share.

18. Written Agreements.
'l"erms of this policy which are specifically designated for
the use of written agreements may be altered by written
agreement in accordance with the following:
(a) You must apply in writing for each written agreement

(including renewal of a written agreement) no later
than the sales closing date, except as provided in
section 18(6);

(b) The application for a written agreement must contain

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all variable terms of the contract between you and us
that will be in effect if the written agreement is not
approved;
lf approved by FCIC, the written agreement will
include all variable terms of the contract, including,
but not limited tol the crop; practice, type or variety;
guarantee; premium rate; and projected pricel
harvest price, price election or amount of lnsurance,
as applicablel or the information needed to
determine such variable terms. if the written
agreement is for a county:

(1) That has a price election or amount of insurance
stated in the Special Provlslons, or an
addendum thereto, for the cropl practice, type or
variety, the written agreement will contain the
price election or amount of insurance stated in
the Specia| Provlslons or an addendum theretol
for the crop, practice, type or variety;

(2) That does not have price elections or amounts
of insurance stated in the Special Provlslons, or
an addendum thereto, for the crop, practice.
type or variety, the written agreement will
contain a price-election or amount of insurance
that does not exceed the price election or
amount of insurance contained in the Special
Provlslons. or an addendum thereto, for the
county that is used to establish the other terms
of the written agreement, unless otherwise
authorized by the Crop Provlslons;

(3) For which revenue protection is not available for
the crop, but revenue protection is available in
the State for the crop. the written agreement will
contain the information used to establish the
projected price and harvest price, as applicable
for that Stale; or

(4) ln a Stale for which revenue protection is not
available for the crop, but revenue protection is
available for the crop in another State, the
written agreement is available for yield
protection only, and will contain the information

 

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needed to determine the projected price for the

crop from another State as determined by FClC;

(d) Each written agreement will only be valid for the

number of crop years specihed in the written
agreement, and a multi-year written agreement:

(i) Will only apply for any particular crop year
designated in the written agreement if all terms
and conditions in the written agreement are still
applicable for the crop year and the conditions
under which the written agreement has been
provided have not changed prior to the
beginning of the insurance period (if conditions
change during or prior to the crop year, the
written agreement will not be effective for that
crop year but may still be effective for a
subsequent crop year if conditions under which
the written agreement has been provided exist
for such year);

(2) May be canceled in writing by.' `

(i) FClC not less than 30 days before the
cancellation date if it discovers that any
term or condition of the written agreement,
including the premium rate, is not
appropriate for the crop; or

(ii) You or us on or before the cancellation
date;

(3) That is not renewed in writing after it expiresl is
not applicable for a crop year, or is canceled,
then insurance coverage will be in accordance
with the terms and conditions stated in this
policyl without regard to the written agreement;
and

(4) Will be automatically canceled if you transfer
your policy to another insurance provider (No
notice will be provided to you and for any
subsequent crop year, for a written agreement to
be effective you must timely request renewal of
the written agreement in accordance with this
section);

(e) A request for a written agreement may be submitted

(i) After the sales closing datel but on or before the
acreage reporting date, if you demonstrate your
physical inability to submit the request on or
before the sales closing date (ggM you have
been hospitalized or a bllzzard has made it
impossible to submit the written agreement
request in person or by mail);

(2) For the first year the written agreement is
requested:

(i) On or before the acreage reporting date to:
(A) insure unrated iand, or an unrated

practice, type or variety of a crop;

althoughl if required by FC|C, such

written agreements may be approved

only after appraisal of the acreage by

us and: l

(i) The crop`s potential is equal to or
exceeds 90 percent of the yield
used to determine your production
guarantee or amount of insurance',
and

(2) Ycu sign the written agreement no
later than the date the first held is
appraised or by the expiration date

(29 or 40)

for you to accept the offer,
whichever comes first; or
(B) Estabitsh optional units in accordance
with FC|C procedures that otherwise
would not be allowed, change the
premium rate or transitional yield for
designated high-risk land, or insure
acreage'that is greater than five
percent of the planted acreage in the
unit where the acreage has not been
planted and harvested or insured in
any of the three previous crop years;
(ii) On or before the cancellation date to insure
_ a crop in a county that does not have
actuarial documents for the crop (lf the
Crop Provlslons do not provide a
cancellation date for the County, the
cancellation date for other insurable crops
in the same State that have similar final
planting and harvesting dates will be
applicable); or
(iii) On cr before the date specihed in the Crop
Provlslons or Special Provlslons; or

(3) For adding land or a crop to either an existing

written agreement or a request for a written
agreementl provided the request is submitted by
the applicable deadline specified in section 18;

(f) A request for a_ written agreement must contain:
(i) For all written agreement requests:

(i) A completed “Request for Actuaria|
Change” form',

(ii) An APl-l form (except for policies that do
not require APH) containing all the
information needed to determine the
approved yield for the current crop year
(comp|eted APH torm), signed by you, or
an unsignedl completed APH form with the
applicable production reports signed and
dated by you that are based on verifiable
records of actual yields for the crop and
county for which the written agreement is
being requested (the actual yields do not
necessarily have to be from the same
physical acreage for which you are
requesting a written agreement) for at least
the most recent crop year in which the crop
was planted during the base period and
verifiable records of actual yields if required
by FC|C;

(iii) Evidence from agricultural experts or
organic agricultural experts, as applicable
that the crop can be produced in the area if
the request is to provide insurance for
practices, types, or varieties that are not
insurablel unless we are notified in writing
by FClC that such evidence is not required
by FC|C;

(iv) The legal description of the land (in areas
where legal descriptions are availabie) and
the FSA farm serial number including tract
and field numbers, if availablel The
submission must also include an FSA
aerial photograph, or bald boundaries
derived by a Geographic information

 

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(V)

System or Global Positioning Systern, or
other legible maps delineating field
boundaries where you intend to plant the
crop for which insurance is requested;

For any perennla| crop, an inspection
report completed by us; and

(vi) A|t other information that supports your

request for a written agreement (including
but not limited to records pertaining to
leveesi drainage systemsl flood frequency
data, soil types, elevation, etc.);

(2) For written agreement requests for counties
without actuarial documents for the crop. the
requirements in section tS(f)(l) (except section
lB(f)(l)(li)) and:

(i)

(ii)

For a crop you have previously planted in
the county or area for at least three years:
(A) A completed APt-l form signed by you
(oniy for crop policies that require
APt-l) based on verifiable production
records for at least the three most
recent crop years in which the crop
was planted; and

Verlfiable production records for at

least the three most recent crop years

in which the crop was planted:

(i) The verifiable production records
do not necessarily have to be from
the same physical acreage for
which you are requesting a written
agreement and

(2) Veritiab|e production records do
not have to be submitted if you
have insured the crop in the
county or area for at least the
previous three crop years and
have certified the yields on the
applicable production reports or
the yields are based on your
insurance claim (although you are
not required to submit production
records, you still must maintain
production records in accordance
with section 21);

For a crop you have not previously planted

in the county or area for at least three

years:

(A) A completed APH form signed by you

(only for crop policies that require

APH) based on verifiable production

records for at least the three most

recent crop years for a similar crop
from acreage:

('l) ln the county; or

(2) ln the area if you have not
produced the crop in the county;
and

Veritiab|e production records for at

least the three most recent crop years

in which the similar crop was planted:

(1) The verifiable production records
for the simitar crop do not
necessarily have to be from the
same physical acreage for which

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you are requesting a written
agreement; and
(2) Veri&abie production records do
not have to be submitted if you
have insured the similar crop for at
least the three previous crop years
and have certified the yields on
the applicable production reports
or the yields are based on your
insurance claim (although you are
not required to submit production
recordsl you still must maintain
production records in accordance
with section 21 );
(C) if you have at least one year of
production records, but less than three
years of production records, for the
crop in the county or area but have
production records for a similar crop in
the county or area such that the
combination of both sets of records
results in at least three years of
production records, you must provide
the information required in sections
18{f)(2)(i)(A) & (B) for the years you
grew the crop in the county or area
and the information required in
sections 18(f)(2)(il)(A) & (B) regarding
the similar crop for the remaining
years; and
A similar crop to the crop for which a
written agreement is being requested

(D)

must;
(i) Be included in the same category
of crops, _e_.g_., row crops

(including, but not limited to, small
grains, coarse grains, and `oi| seed
crops), vegetable crops grown in
rows, tree crops, vine crops, bush
crops, etc., as deuned by FClC;
(2) Have substantially the same
' growing season (l.e.l normally
planted around the same dates
and harvested around the same

dates);
(3) Require comparable agronomic
conditions tecum comparable

needs for water, soi|, etc.); and
(4) Be subject to substantially the
same risks (frequency and
severity of loss would be expected
to be comparable from the same
cause of ioss);
The dates you and other growers in the
area normally plant and harvest the crop, if
applicab|e;
The name, location of, and approximate
distance to the place the crop witt be sold
or used by you;
For any irrigated practicel the water
source, method of irrigation, and the
amount of water needed for an irrigated
practice for the crop; and

 

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(vi) All other information that supports your
request for a written agreement (such as
publications regarding yleids, practices
risks, climatic data, etc.); and

(3) Such other information as specified ln the

Special Provistons or required by FClC;

(g) A request for a written agreement will not be

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accepted if:

(i) The request is submitted to us after the
appticab|e deadline contained in sections 18(a)
Or (@);

(2) A|| the information required in section lB(f) is not

submitted to us with the request for a written

agreement (The request for a written agreement

may be accepted if any missing information is

available from other acceptable sources);

The request is to add land to an existing written

agreement or to add land to a request for a

written agreement and the request to add the

land is not submitted by the applicable deadline

specified in sections 18(a) or (e); or

(4) The request is not authorized by the policy;

A request for a written agreement witt be denied if:

(i) FCtC determines the risk is excessive;

(2) Your APt-i history demonstrates you have not

produced at least 50 percent of the transitionat

yield for the cropI type, and practice obtained

from a county with similar agronomic conditions

and risk exposure;

There is not adequate information available to

establish an actuarially sound premium rate and

insurance coverage for the crop and acreage;

The crop was not previously grown in the county

or there is no evidence of a market for the crop

based on saies receiptsl contemporaneous

feeding records or a contract for the crop

(applicable only for counties without actuarial

documents); or

(5) Agricultura| experts or organic agricultural
experts determine the crop is not adapted to the
county;

A written agreement will be denied unless:

(i) FClC approves the written agreement;

(2) The original written agreement is signed by you

and delivered to us, or postmarked, not later

than the expiration date for you to accept the

offer;

We accept the written agreement offer; and

The crop meets the minimum appraisal amount

specified in section ‘lS(e)(Z)(i)(A)(l), if

applicable;

Multi-year written agreements may be canceled and

requests for renewal may be rejected if the severity

or frequency of your loss experience under the

written agreement is significantly worse than

expected based on the information provided by you

or used to establish your premium rate and the loss

experience of other crops with simiiar risks in the

area;

With respect to your and our ability to reject an offer

for a written agreement;

(i) When a single Request for Actuarlal Change
form is submitted, regardless of how many
requests for changes are contained on the form,

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you and we can only accept or reject the written
agreement in its entirety (you cannot reject
specific terms of the written agreement and
accept others);

When multiple Request for Actuarial Change
forms are submitted, regardless of when the
forms are submitted, for the same condition or
for the same crop (i.e., to insure corn on ten
legal descriptions where there are no actuarial
documents in the county or the request is to
change the premium rates from the high-risk
rates) atl these forms may be treated as one
request and you and we will only have the option
of accepting or rejecting the written agreement
in its entirety (you cannot reject specific terms of
the written agreement and accept others);

(3) When multiple Request for Actuariai Change
forms are submitted, regardless of when the
forms are submittedl for the different conditions
or for different cropsl separate agreements may
be issued and you and we will have the option to
accept or reject each written agreement; and

lf we reject an offer for a written agreement
approved by FCICl you may seek arbitration or
mediation of our decision to reject the offer in
accordance with section 20;

Any information that is submitted by you alter the
applicable deadlines in sections lB(a) and (e) will not
be considered, unless such information is specifically
requested in accordance with section 18(f)(3);

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(m) if the written agreement or the policy is canceled for

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any reason, or the period for which an existing
written agreement is in effect ends, a request for
renewal of the written agreement must contain all the
information required by. this section and be submitted
in accordance with section tB(a), unless otherwise
specified by FC|C;

lf a request for a written agreement is not approved
by FClC, a request for a written agreement for any
subsequent crop year that fails to address the stated
basis for the denial will not be accepted (if the
request for a written agreement contains the same
information that was previously rejected or denied,
you will not have any right to arbitrate mediate or
appeal the non-acceptance of your request); and

lf you disagree with any determination made by `
FCIC under section 18, you may obtain
administrative review in accordance with 7 CFR part
400, subpart J or appeal in accordance with 7 CFR
part tl, unless you have failed to comply with the
provisions contained in section iB(g) or section
iB(i)(Z) or (4).

Crops as Payment.

You must not abandon any crop to us.

We will not

accept any crop as compensation for payments due us.
Nlediatiori, Arbitration, Appeal, Reconsideration, and
Admtnistrative and Judicial Revlew.

(a) if you and we fail to agree on any determination

made by us except those specified in section 20{d)
or (e), the disagreement may be resolved through
mediation in accordance with section 20(g). if
resolution cannot be reached through mediation or
you and we do not agree to mediationl the
disagreement must be resolved through arbitration in

 

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accordance with the ruies of the American Arbltraiion
Association (AAA), except as provided in sections
20(0) and (f}, and unless rules are established by
FClC for this purpose Any mediator or arbitrator
with a familial. financial or other business
relationship to you or us, or our agent or loss
adjuster, is disqua|lned from hearing the dispute
(i) All disputes involving determinations made by
us, except those specified in section ZU(d) or (e),
are subject to mediation or arbitration However,
if the dispute in any way involves a policy or
procedure interpretation regarding whether a
specinc policy provision or procedure ls
applicable to the situation how it is applicable,
or the meaning of any policy provision or
procedure, either you or we must obtain an
interpretation from FC|C in accordance with 7
CFR part 400, subpart X or such other
procedures as established by FC|C.
(i) - Any interpretation by FCIC will be binding
in any mediation or arbitration
(ii) Failure to obtain any required interpretation
from FClC will result in the nullification of
any agreement or award.
An interpretation by FC|C of a policy
provision is considered a determination
that is a matter of general applicability
An interpretation by FCiC of a procedure
may be appealed to the National Appeals
Division in accordance with 7 CFR part li.
Un|ess the dispute is resolved through
mediationl the arbitrator must provide to you and
us a written statement describing the issues in
dispute, the factual findings, the determinations
and the amount and basis for any award and
breakdown by claim for any award The
statement must also include any amounts
awarded for interest Failure of the arbitrator to
provide such written statement will result in the
nullification of atl determinations of the arbitrator.
Al| agreements reached through settlement,
including those resulting from mediationl must
be in writing and contain at a minimum a
statement of the issues in dispute and the
amount of the settlementl

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(b) Regardless of whether mediation is elected:

(i) The initiation of arbitration proceedings must
occur within one year of the date we denied your
claim or rendered the determination with which
you disagree, whichever is later;

if you fail to initiate arbitration in accordance with
section 20(b)(t) and complete the process, you
will not be able to resolve the dispute through
judicial review;

lf arbitration has been initiated in accordance
with section 20(b)(l) and completed, and judicial
review is soughi, suit must be tiled not later than
one year after the date the arbitration decision
was rendered; and

in any suit, if the dispute in any way involves a
policy or procedure interpretation regarding
whether a specific policy provision or procedure
is applicable to the situation how lt is applicable
or the meaning of any policy provision or

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(C)

procedurel an |nterpretatlon must be obtained

from FCIC in accordance with 7 CFR part 400,

subpart X or such other procedures as

established by FClC. Such interpretation will be
binding

Any decision rendered in arbitration is binding on
you and us unless judicial review is sought in
accordance with section 20(b)(3). Notwlthstandlng
any provision in the rules of the AAA. you and we
have the right to judicial review of any decision
rendered in arbitration

With respect to good farming practices;

(l) We will make decisions regarding what
constitutes a good farming practice and
determinations of_ assigned production for
uninsured causes for your failure to use good
farming practices
(i) lf you disagree with our decision of what

constitutes a good farming practice, you
must request a determination from FC|C of
what constitutes a good farming practice
before filing any suit against FClC.

(ii) if you disagree with our determination of
the amount of assigned production, you
must use the arbitration or mediation
process contained in this section
You may not sue us for our decisions
regarding whether good farming practices
were used by you.

FC|C will make determinations regarding what

constitutes a good farming practice lf you do

not agree with any determination made by FC|C:

(i) ¥ou may request reconsideration by FCiC
of this determination in accordance with
the reconsideration process established for
this purpose and published at 7 CFR part
400, subpart J; or

(ii) You may tile suit against FCiC.

(A) You are not required to request
reconsideration from FClC before filing
suit.

(B) Any suit must be brought against FC|C
in the United States district court for
the district in which the insured
acreage is iocated.

(C) Suit must be died against FC|C not
later than one year after the date:

(1) Of the determination; or

(2) Reconsideration is completed, if
reconsideration was requested
under section 2`0(d)(2)(i).

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(e) Except as provided in sections ‘lB(n) or (o), or 2U(d)

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or (k), if you disagree with any other determination

made by FC]C or any claim where FClC is directly

involved in the claims process or directs us in the
resolution of the ctaim, you may obtain an
administrative review in accordance with 7 CFR part

400. subpart J (administrative review) or appeal in

accordance with 7 CFR part ll (appea|).

(i) lt you elect to bring suit after completion of any
appeal, such suit must be died against FC|C not
later than one year after the date of the decision
rendered in such appeai.

(2) Such suit must be brought in the United States

 

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district court for the district in which the insured
acreage is iocated.

(3) Under no circumstances can you recover any
attorney fees or other expenses or any punitive,
compensatory or any other damages from FCIC.

(f) in any mediation arbitration,- appeai, administrative
review, reconsideration or judicial process, the terms
of this policy, the Actl and the regulations published
at 7 CFR chapter l\/l including the provisions of 7
CFR part 400, subpart P, are binding Conflicts
between this policy and any state or local laws will
be resolved in accordance with section 31. if there
are conflicts between any rules of the AAA and the
provisions of. your poiicy, the provisions of your
policy will controt.

(g) To resolve any dispute through mediation you and
we must both:

(1) Agree to mediate the dispute;

(2) Agree on a mediator; and

(3) Be present, or have a designated representative
who has authority to settle the case present, at
the mediation

(b) Except as provided in section 20(i), no award or
settlement in mediation arbitration appeal,
administrative review or reconsideration process or
judicial review can exceed the amount of liability
established or which should have been established
under the policyl except for interest awarded in
accordance with section 26.

(i) In a judicial review oniy, you may recover attorneys
fees or other expenses or any punitive,
compensatory or any other damages from us only if
you obtain a determination from FCiC that we, our
agent or loss adjuster failed to comply with the terms
of this policy or procedures issued by FCiC and such
failure resulted in you receiving a payment in an
amount that is less than the amount to which you
were entitled Requests for such a determination
should be addressed to the foitowing;
USDA)'RMA!Deputy Administrator of Compiiance)'
Stop 0806, 1400 independence Avenue, SW.,
Washington, D.C. 20250-0806.

(j) |f FCiC elects to participate in the adjustment of your
claiml or modifiesl revises or corrects your claim.
prior to payment, you may not bring an arbitration
mediation or litigation action against us, You must
request administrative review or appeal in
accordance with section 20(e).

(k) Any determination made by»FClC that is a matter of
general applicability is not subject to administrative
review under 7 CFR part 400. subpart J or appeal
under 7 CFR part 11. |f you want to seek judicial
review of any FCiC determination that is a matter of
general applicability, you must request a
determination of non-appealability from the Director
of the National Appeais Division in accordance with
7 CFR it.6 before seeking judicial review.

21. Access to insured Crop and Records, and Record

Retention.

(a) We, and any employee of USDA authorized to
investigate or review any matter relating to crop
insurancel have the right to examine the insured
crop end all records related to the insured crop and
any mediation, arbitration or litigation involving the

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(b)

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(d)

insured crop as often as reasonably required during

the record retention period,

You must retainl and provide upon our request, or

the request of any employee of USDA authorized to

investigate or review any matter relating to crop
lnsurance:
(i) Complete records of the plantingl replanting,
inputs, production, harvesting and disposition of
the insured crop on each unit for three years
after the end of the crop year (This requirement
also applies to ali such records for acreage that
is not insured);
(2) A|| records used to establish the amount of
production you certined on your production
reports used to compute your approved yield for
three years after the calendar date for the end of
the insurance period for the crop year for which
you initially certined such records, unless such
records have already been provided to us (§g,
if you are a new insured and you certify 2007
through 2010 crop year production records in
2011 to determine your approved yield for the
2011 crop yearl you must retain all records from
the 2007 through 2010 crop years through the
2014 crop year. if you subsequently certify
records of the 2011 crop year in 2012 to
determine your approved yield for the 2012 crop
yearl you must retain the 2011 crop year records
through the 2015 crop year and so forth for each
subsequent year of production records certified);
and
(3) Whi|e you are not required to maintain records
beyond the record retention period specified in
section 21(b)(2)l at any time, if we or FCiC have
evidence that youl or anyone assisting you,
knowingly misreported any information related to
any yieid you have certified, we or FCiC will
replace ali yields in your APH database
determined to be incorrect with the lesser of an
assigned yield determined in accordance with
section 3 or the yield determined to be correct:
(i) if an overpayment has been made to you,
you will be required to repay the overpaid
amount; and

(ii) Repiacement of yields in accordance with
section 21(b)(3) does not exempt you from
other sanctions applicable under the terms
of the policy or any applicable |aw.

We, or any employee of USDA authorized to

investigate or review any matter relating to crop

insurance, may extend the record retention period
beyond three years by notifying you of such
extension in writing

By signing the application for insurance authorized

under the Act or by continuing insurance for which

you have previously applied, you authorize us or

USDA, or any person acting for us or USDA

authorized to investigate or review any matter

relating to crop insurance, to obtain records relating
to the pianting, replanting, inputs, production,
harvesting and disposition of the insured crop from
any person who may have custody of such records.
including but not limited to, FSA oifices, banks.
warehouses gins, cooperativesl marketing

 

 

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associations and accountants You must assist in

obtaining all records we or any employee of USDA

authorized to investigate or review any matter

relating to crop insurance request from third parties_.

Faiture to provide access to the insured crop or the

farm, authorize access to the records maintained by

third parties or assist in obtaining such records will

result in a determination that no indemnity is due for

the crop year in which such failure occurred

(f) Failure to maintain or provide records will result int
(i) The imposition of an assigned yield in

accordance with section 3(f)(l) and 7 CFR part

400, subpart G for those crop years for which

you do not have the required production records

to support a certified yietd;

A determination that no indemnity is due if you

fail to provide records necessary to determine

your loss;

Combination of the optional units into the

applicable basic unit;

Assignment of production to the units by us if

you fail to maintain separate records:

(i) For your basic units; or

(ii) For any uninsurable acreage; and

(5) The imposition of consequences specified in
section 6(g), as applicablel

lt the imposition of an assigned yield under section

21(§)(1) would affect an indemnily, prevented

planting payment or replant payment that was paid in

a prior crop year, such ciaim will be adjusted and

you will be required to repay any overpaid amounts.

(B)

(3)
(4)

22. Other insurance

(a) Otber l_ike insurance - Nothing in this section
prevents you from obtaining other insurance not
authorized under the Act. However, unless
specifically required by policy provisionsl you must
not obtain any other crop insurance authorized under
the Act on your share of the insured crop. if you
cannot demonstrate that you did not intend to have
more than one policy in eifect. you may be subject to
the consequences authorized under this policy, the
Act, or any other applicable statute. |f you can
demonstrate that you did not intend to have more
than one policy in effect (For example, an application
to transfer your policy or written notification -to an
insurance provider that states you want to purchase,
or transfer, insurance and you want any other
policies for the crop canceled would demonstrate
you did not intend to have duplicate policies), and:
(i) One is an additional coverage policy and the

other is a Catastrophic Risi< Protection policy:

(i) The additional coverage policy will apply if
both policies are with the same insurance
provider or, if notl both insurance providers
agree; or
The policy with the earliest date of
application will be in force if both insurance
providers do not agree; or
Both are additional coverage policies or both are
Catastrophic Risl< Protection policies, the policy
with the earliest date of application will be in
force and the other policy will be voidl unless
both policies are with:

(ii)

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23.

(i) The same insurance provider and the
insurance provider agrees otherwise; or

(ii) Dltferent insurance providers and both
insurance providers agree otherwise

(b) Other insurance Against Fire - if you have other
insurance1 whether valid or not, against damage to
the insured crop by fire during the insurance period,
and you have not excluded coverage for fire from
this polloy, we will be liable for loss due to tire
caused by a naturally occurring event only for the
smaller oi:

(i) The amount of indemnity determined pursuant to
this policy without regard to such other
insurance; or

(2) The amount by which the loss from fire is
determined to exceed the indemnity paid or
payable under such other insurance.

For the purpose of section 22(b), the amount of loss

from fire will be the difference between the total

value of the insured crop before the tire and the total
value of the insured crop after the fire. This amount
will be determined in accordance with the provisions

in section 35.

Conformity to Food Security Act.

Although your violation of a number of federal statutes.

inciuding the Act, may cause cancellation, termination, or

(C)

`voidance ot your insurance contract, you shoutd be

specifically aware that your policy Will be canceled if you
are determined to be ineligible to receive benehts under
the Act due to violation of the controlled substance
provisions (title XVI|) of the Food Security Act of 1985
(Pub. L. 99-198) and the regulations promulgated under
the Act by USDA. Your insurance policy will be canceled
if you are determined by the appropriate Agency, to be

- in violation of these provisions We witt recover any and

24.

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all monies paid to you or received by you during your
period of ineligibility, and your premium will be refunded,
less an amount for expenses and handling equal to 20
percent of the premium paid or to be paid by you.
Amounts Due Us.

(a) lnterest will accrue at the rate of 1.25 percent simple
interest per catendar month, or any portion thereof,
on any unpaid amount owed to us or on any unpaid
administrative fees owed to FClC. For the purpose
of premium amounts owed to us or administrative
fees owed to FCIC, interest will start to accrue on the
first day of the month following the premium billing
date specified in the Special Provlslons. We will
collect any unpaid amounts owed to us and any
interest owed thereon andl prior to the termination
date, we will collect any administrative fees and
interest owed thereon to FClC. After the termination
date, FCiC will collect any unpaid administrative fees
and any interest owed thereon for any catastrophic
risk protection policy and we will collect any unpaid
administrative fees and any interest owed thereon
for additional coverage policies.

For the purpose of any other amounts due us, such
as repayment of indemnities found not to have been
earned, interest will start to accrue on the date that
notice is issued to you for the collection of the
unearned amount Amounts found due under this
paragraph will not be charged interest if payment is
made-within 30 days of issuance of the notice by us.

(b)

 

 

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27.

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The amount witt be considered delinquent if not paid
within 30 days of the date the notice is issued by us,

(c) All amounts paid will be applied first to expenses of
collection (see subsection (d) of this section) if any,
second to the reduction of accrued interest, and then
to the reduction of the principal balance

(d) if we determine that it is necessary to contract with a
collection agency or to employ an attorney to assist
in collection, you agree to pay all of the expenses of
collection.

(e) The portion of the amounts owed by you for a policy
authorized under the Act that are owed to FCiC may
be collected in part through administrative offset
from payments you receive from United States
government agencies in accordance with 31 U.S.C.
chapter 37. Such amounts include atl administrative
fees, and the share of the overpaid indemnities and
premiums retained by FCiC plus any interest owed
thereon.

[Reserved]

interest i_imitations. _

We will pay simple interest computed on the. net

indemnity uitimate|y found to be due by us or by a final

judgment of a court of competent jurisdiction from and
including the 61st day after the date you sign. date, and
submit to u_s the properly completed claim on our form.
interest will be paid oniy if the reason for our failure to
timely pay is NOT due to your faiture to provide
information or other material necessary for the
computation or payment of the indemnity The interest
rate will be that established by the Secretary of the

Treasury under section 12 of the Contract Disputes Act

of 1978 (41 U.S.C. 611) and published in the Federal

Register semiannually on or about danuary t and July t

of each year, and may vary with each publication

Concealrnent, Ntlsrepresentation or Fraud.

(a) lf you have falsely or fraudulently concealed the fact
that you are ineligible to receive benefits under the
Act or if you or anyone assisting you has
intentionally concealed or misrepresented any
material fact relating to this policy:

(t) This policy will be voided; and
(2) You may be subject to remedial sanctions in
accordance with 7 CFR part 400, subpart R.

(b) Even though the policy is void, you will still be
required to pay 20 percent of the premium that you
would otherwise be required to pay to offset costs
incurred by us in the service of this policy. if
previously paidl the balance of the premium will be
returned.

(c) Voidance of this policy will resuit in you having to
reimburse all indemnities paid for the crop year in
which the voidance was effective

(d) Voidance will be effective on the first day of the
insurance period for the crop year in which the act
occurred and will not affect the policy for subsequent
crop years unless a violation of this section also
occurred in such crop years.

(e) lf you willfully and intentionally provide false or
inaccurate information to us or FC|C or you fail to
comply with a requirement of FC|C, in accordance
with 7 CFR part 400, subpart R, FCiC may impose
on you;

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(t) A civil fine for each violation in an amount not to
exceed the greater of:

(i) The amount of the pecuniary gain obtained
as a result of the false or inaccurate
information provided or the noncompliance
with a requirement of FCiC; or

(ii) $10,000; and
(2) A disqualification for a period of up to 5 years

from receiving any monetary or non-monetary

benefit provided under each of the foilowing:

(i) Any crop insurance policy offered under

the Act;

(ii) The Farm Security and Rural investment
Act of 2002 (7 U.S.C. 7333 et seg_);

(iii) The Agricu|turai Act of 1949 (7 U.S.C.
1421 et seg.);

(iv) The Commodity Credit Corporation Charter
Act (15 U.S.C. 714 et seg.);

(v) The Agricu|tural Adjustment Act of 1938 (7
U.S.C. 1281 et seg.);

(vi) Title Xll of the Food Security Act of 1985
(16 U.S.C. 3801 et seg.);

(vii) The Consoiidated Farm and Rura|
Deve|opment Act (7 U.S.C. 1921 et seg.);
and

(viii) Any federal law that provides assistance to
a producer of an agricultural commodity
affected by a crop loss or a decline in the
prices of agricultural commodities

Transfer of Coverage and Right to lndemnity.
if you transfer any part of your share during the crop
year. you may transfer your coverage rightsl if the
transferee is eligible for crop insurance We will not be
liable for any more than the liability determined in
accordance with your policy that existed before the
transfer occurred The transfer of coverage rights must
be on our form and will not be effective until approved by
us in writing. Both you and the transferee are jointly and
severally liable for the payment of the premium and
administrative fees. The transferee has all rights and
responsibilities under this poticy consistent with the
transferees interest.

Assignment of |ndernnity.

(a) You may assign your right to an indemnity for the
crop year only to creditors or other persons to whom
you have a financial debt or other pecuniary
obligationl You may be required to provide proof of
the debt or other pecuniary obligation before we will
accept the assignment of indemnity

(b) Atl assignments must be on our form and must be
provided to us. Each assignment form may contain
more than one creditor or other person to whom you
have a financial debt or other pecuniary obligation

(c) Un|ess you have provided us with a properly
executed assignment of indemnity, we will not make
any payment to a lienholder or other person to whom
you have a financial debt or other pecuniary
obligation even if you may have a lien or other
assignment recorded elsewhere Under no
circumstances will we be |iable:

(i) `l'o any lienholder or other person to whom you
have a financial debt or other pecuniary
obligation where you have failed to include such

 

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lienholder or person on a properly executed
assignment of indemnity provided to us; or

(2) To pay to all lienholders or other persons to
whom you have a financial debt or other
pecuniary obligation any amount greater than
the total amount of indemnity owed under the
policy.

(d) if we have received the properly executed
assignment of indemnity form:

(i) Oniy one payment will be issued jointly in the
names of all assignees and you; and

(2) Any assignee will have the right to submit all
loss notices and forms as required by the poilcy.

(e) if you have suffered a loss from an insurable cause
and fail to file a claim for indemnity within the period
specified in section i4(e), the assignee may submit
the claim for indemnity not later than 30 days after
the period for filing a claim has expired We will
honor the terms of the assignment only if we can
accurately determine the amount of the ciaim.
However, no action will lie against us for failure to do
so.

[Reserved]

Appiicabiiity of State and Locai Statutes.

if the provisions of this policy conflict with statutes of the

State or locality in which this policy is issuedl the policy

provisions will prevail State and local laws and

regulations in conflict with federal statutes, this policy,
and the applicable regulations do not apply to this poiicy.

Descriptive l-ieadlngs.

The descriptive headings of the various policy provisions

are formulated for convenience only and are not intended

to affect the construction or meaning of any of the policy
provisions

Notices.

(a) All notices required to be given by you must be in
writing and received by your crop insurance agent
within the designated time unless otherwise provided
by the notice requirement Notices required to be
given immediately may be by telephone or in person
and confirmed in writing Time of the notice will be
determined by the time of our receipt of the written
notice if the date by which you are required to
submit a report or notice fails on Saturday, Sunday,
or a Federal holidayl or if your agent's office is, for
any reason, not open for business on the date you
are-required to submit such notice or reporl, such
notice or report must be submitted on the next
business day.

(b) Aii notices and communications required to be sent
by us to you will be mailed to the address contained
in your records located with your crop insurance
agent Notice sent to such address will be
conclusively presumed to have been received by
you. You should advise us immediately of any
change of address

Units.

(a) You may elect an enterprise unit or whole-farm unit
in accordance with the following:

(i) For crops for which revenue protection is
available, you may eiect:
(i} An enterprise unit if you elected revenue
protection or yield protection; or
(ii) A whole-farm unit if you elected:

res or 40)

(A) Revenue protection and revenue
protection is provided unless limited by
the Special Provlslons; or

(B) Yield protection only if whole-farm
units are allowed by the Special
Provlslons;

(2) f-'or crops for which revenue protection is not
available, enterprise units or whole-farm units
are available only if allowed by the Speciai
Provisions;

(3) You must make such election on or before the
earliest sales closing date for the insured crops
in the unit and report such unit structure on your
acreage report
(i) For counties in which the actuarial

documents specify a fail or winter sales

closing date and a spring sales closing
date, you may change your unit election on
or before the spring sales closing date

(ear|iest spring saies closing date for crops

in the unit if electing a whole-farm unit) if

you do not have any insured fall planted
acreage of the insured crop;

(ii) Your unit selection will remain in effect
from year to year unless you notify us in
writing by the earliest sales closing date for
the crop year for which you wish to change
this eiection; and

(iii) These units may not be further divided
except as specified herein;

(4) For an enterprise unit;

(i) To qualify, an enterprise unit must contain
all of the insurable acreage of the same
insured crop in: `

(A) Two or more sections, if sections are
the basis for optional units where the
insured acreage is located;

{B) Two or more section equivalents
determined in accordance with FCiC
issued procedures if section
equivalents are the basis for optional
units where the insured acreage is
located or are applicable to the insured
acreage;

(C) Two or more FSA farm serial numbersl
if FSA farm serial numbers are the
basis for optional units where the
insured acreage is located;

(D) Any combination of two or more

.sections, section equivalentsl or FSA
farm serial numbers, if more than one
of these are the basis for optional units
where the acreage is located or are
applicable to the insured acreage (§q,
if a portion of your acreage is located
where sections are the basis for
optional units and another portion of
your acreage is located where FSA
farm serial numbers are the basis for
optional units, you may qualify for an
enterprise unit based on a combination
of these two parceis);

(E) One section, section equivalentl or
FSA farm serial number that contains

 

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(ii)

(iii)

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(vii)

at least 660 planted acres of the
insured crop. You may qualify under
this paragraph based only on the type
of parcel that is utilized to establish
optional units where your insured
acreage is located (gg, ii having two
or more sections is the basis for
optional units where the lnsured
acreage is |ocated, you may qualify for
an enterprise unit if you have at least
660 planted acres of the insured crop
in one section); or
(F) Two or more units established by
written agreement; and
At least two of the sections, section
equivalents, FSA farm serial numbers, or
units established by written agreement in
S@Cfi@n 34(3)(4)(0(/-\). (B). (C). (D). Or (Fl
must each have planted acreage that
constitutes at least the lesser of 20 acres

or 20 percent of the insured crop acreage .

in the enterprise unit. if there ls planted
acreage in more than two sections, section
equivalents FSA farm serial numbers or
units established by written agreement in
SeCinn 34(@)(4)0)(#°\), (B)1 (C). (D). Or (F).
these can be aggregated to form at least
two parcels to meet this requirement. For
example, if sections are the basis for
optional units where the insured acreage ls
located and you have 80 planted acres in
section one, ‘lO planted acres in section
two, and 10 planted acres in section three,
you may aggregate sections two and three
to meet this requirement

The crop must be insured under revenue

protection or yieid protection, unless

otherwise specified in the Special

Provisions;

lt you want to change your unit structure

from enterprise units to basic or optional

units in any subsequent crop year, you
must maintain separate records of acreage
and production:

(A) For each basic unit, to be eligible to
use records to establish the production
guarantee for the basic unit; or

(B) For optional units, to qualify for
optional units and to be eligible to use
such records to establish the
production guarantee for the optional
units;

lt you do not comply with the production

reporting provisions in section S(f) for the

enterprise unit. your yield ior the enterprise
unit will be determined in accordance with

section 3(i)(1);

You must separately designate on the

acreage report each section or other basis

in section 34(a)(4)(i) you used to qualify for
an enterprise unlt‘l and

if we discover you do not qualify for an

enterprise unit and such discovery is

made'.

{37 Of 40)

(A) On or before the acreage reporting
date, your unit division will be based
on the basic or optional unitsl
whichever you report on your acreage
report and qualify ior; or

(B) At any time after the acreage reporting
date, we will assign the basic unit
structure; and

(5) For a whole»tarm unit;

(i)

(ii)

(iii)

To qualify:

(A) A|l crops in the whole-farm unit must
be insured:

(i) Under revenue protection (if you
elected the harvest price exclusion
for any crop, you must elect it for
ali crops in the whole-farm unit),
unless the Special Provisions
allow whole-farm units for another
plan of insurance and you insure
all crops in the whole-farm unit
under such plan (gg_., if you plant
corn and soybeans for which you
have elected revenue protection
and you plant canola for which you
have elected yield protection, the
cornl soybeans and canola would
be assigned the unit structure in
accordance with section
34(3)(5)(\!)};

(2) With us (_e_g;, if you insure your
corn and canola with us and your
soybeans with a different
insurance provider. the corn,
soybeans and canola would be
assigned the unit structure in
accordance with section
34(3)(5)(V)); and

(3) At the same coverage level (e_.g_., if
you elect to insure your corn and
canola at the 65 percent coverage
level and your soybeans at the 75
percent coverage ievei, the corn,
soybeans and canola would be
assigned the unit structure -in
accordance with section
34(3}(5)(\1));

(B) A Who|e~farm unit must contain all of
the insurable acreage of at least two
crops; and

(C) At least two of the insured crops must
each have planted acreage that
constitutes 10 percent or more of the
total planted acreage liability of all
insured crops in the whole-farm unit
(For crops for which revenue
protection is available. liability will be
based on the applicable projected
price only for the purpose of section
34(3)(5)(1)(€));

You will be required to pay separate

administrative fees for each crop included

in the whole-farm unit;

You must separately designate on the

acreage report each basic unit for each

crop in the whole-farm unit;

 

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(lv) if you want to change your unit structure
from a whole-farm unit to basic or optional
units in any subsequent crop year, you
must maintain separate records of acreage
and production:

(A) For each basic unlt, to be eligible to
use such records to establish the
production guarantee for'the basic
units; or

(B) For optional units, to qualify for
optional units and to be eligible to use
such records to establish the
production guarantee for the optional
units; and

(v) if we discover you do not qualify for a
whole-farm unit for at least one insured
crop because, even though you elected
revenue protection for all your crops;

(A) You do not meet all of the other
requirements in section 34(a)(5)(i), and
such discovery is made:

('l) On or before the acreage reporting
date, your unit division for all crops
for which you elected a whole-
farm unit will be based on basic or
optional unitsl whichever you
report on your acreage report and
qualify for; or

(2) At any time after the acreage
reporting date, we will assign the
basic unit structure for all crops for
which you elected a whole-farm
unh;or

(B) lt was not possible to establish a
projected price for at least one of your
crops, your unit division Will be based
on the unit structure you report on your
acreage report and qualify for only for
the crop for which a projected price
could not be established unless the
remaining crop in the unit would no
longer qualify for a whole-farm unit, in
such case your unit division for the
remaining crops will be based on the
unit structure you report on your
acreage report and qualify for.

(b) Un|ess limited by the Crop Provlslons or Speciat
F’rovisionsl a basic unit as defined in section ‘l of the
Basic Provisions may be divided into optional units il,
_for each optional unit, you meet the following:

(i)

(2)

(3)

You must plant the crop in a manner that results
in a clear and discernible break in the planting
pattern at the boundaries of each optional unit;
All optional units you select for the crop year are
identified on the acreage report for that crop
year (Units will be determined when the acreage
is reported but may be adjusted or combined to
refiect the actual unit structure when adjusting a
loss. No further unit division may be made after
the acreage reporting date for any reason)'l

You have records, that are acceptable to us, for
at least the previous crop year for all optional
units that you will report in the current crop year
(You may be required to produce the records for
all optional units for the previous crop year); and

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(4)

You _have records of marketed or stored
production from each optional unit maintained in
such a manner that permits us to verify the
production from each optional unit, or the
production from each optional unit is kept
separate until loss adjustment is completed by
us,

(c) Each optional unit must meet one or more of the
following, unless otherwise specified in the Crop
Provlslons or allowed by written agreement

(i)

(2)

(3)

Optional units may be established if each
optional unit is located in a separate section
where the boundaries are readily discernible:

(i) in the absence of sections, we may
consider parcels of land legally identined
by other methods of measurel such as
Spanish grants, provided the boundaries
are readily discernib|e, if such parcels can
be considered as the equivalent of sections
for unit purposes in accordance with FC|C
issued procedures; or

(ii) in the absence of sections as described in
section 34(c)(t) or other methods of

measure used to establish section
equivalents as described in section
34(c)(1)(i), optional units may be

established if each optional unit is located

in a separate FSA farm serial number in

accordance with FCiC issued procedure;
in addition to, or instead of, establishing optional
units by section, section equivalent or FSA farm
serial number, optional units may be based on
irrigated and non-irrigated acreage To qualify
as separate irrigated and non-irrigated optional
units, the non-irrigated acreage may not
continue into the irrigated acreage in the same
rows or planting pattern. The irrigated acreage
may not extend beyond the point at which the
irrigation system can deliver the quantity ot
water needed to produce the yield on which the
guarantee is based, except the corners of a field
in which a center~pivot irrigation system is used
may be considered as irrigated acreage if the
corners of a field in which a center-pivot
irrigation system is used do not qualify as a
separate non-irrigated optional unit. |n this
casel production from both practices will be
used to determine your approved yield; and
in addition to, or instead of, establishing optional
units by section, section equivalent or FSA farm
serial number, or irrigated and non-irrigated
acreage, separate optional units may be
established for acreage of the insured crop
grown and insured under an organic farming
practice Certified organic. transitional and
buffer zone acreages do not individually qualify
as separate units. (See section 37 for additional
provisions regarding acreage insured under an
organic farming practice).

(d) Optional units are not available for crops insured
under a Catastrophic Risl< Protection Endorsement. _
if you do not comply fully with the provisions in this
section, we will combine ali optional units that are
not in compliance with these provisions into the
basic unit from which they were formed We will

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combine the optional units at any time we discover
that you have failed to comply with these provisionsl
if failure to comply with these provisions is
determined by us to be inadvertent, and the optional
units are combined into a basic unitl that portion of
the additional premium paid for the optional units
that have been combined will be refunded to you for
the units combinedl

35. Multiple Beiieflts.

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(b)

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lf you are eligible to receive an indemnity and are
also eligible to receive benefits for the same loss
under any other USDA program, you may receive
benefits under both programs, unless specifically
limited by the crop insurance contract or by law.

Any amount received for the same loss from any
USDA program, in addition to the crop insurance
payment, will not exceed the difference between the
crop insurance payment and the actual amount of
the loss, unless otherwise provided by law. The
amount of the actual loss is the difference between
the total value of the insured crop before the loss
and the total value of the insured crop after the loss
(i) For crops for which revenue protection is not

available:

(i) |f you have an approved yieid, the total
value of the crop before the loss is your
approved yield times the highest price
election for the crop'l and

(ii) if you have an approved yield, the total

value of the crop alter the loss is your
production to count times the highest price
election for the crop; or
if you have an amount of insurance, the
total value of the crop before the loss is the
highest amount of insurance available for
the crop; and
if you have an amount of insurancel the
total value of the crop after the loss is your
production to count times the price
contained in the Crop Provisions for
valuing production to count.
(2) For crops for which revenue protection is
available and:

(i) You elect yield protection:

(A) The total value of the crop before the
loss is your approved yield times the
applicable projected price (at the 100
percent price level) for the crop; and

(B) The total value of the crop after the
loss is your production to count times
the applicable projected price (at the
100 percent price level) for the crop; or

(ii) You elect revenue protection:

(iii)

iiV)

(A) The total value of the crop before the

loss is your approved yield times the
higher of the applicable projected price
or harvest price for the crop (if you
have elected the harvest price
exclusion, the applicable projected
price for the crop will be used); and
The total value of the crop after the
loss is your production to count times
the harvest price for the crop.

FSA or another USDA agency, as applicable Will
determine and pay the additional amount due you for

(B)

any applicable USDA program, alter first considering
the amount cf any crop insurance indemnity.

36. Substitution of Yietds.

37.

res or 40)

(3)

(b)

(C)

(d)

tel

When you have actual yields in your production
history database that, due to an insurable cause of
loss. are less than 60 percent of the applicable
transitional yield you may elect, on an individual
actual yield basis. to exclude and replace one or
more of any such yields within each database

Each election made in section 36(a) must be made
on or before the production reporting date for the
insured crop and each such election will remain in
effect for succeeding years unless canceled by the
production reporting date for the succeeding crop
year. if you cancel an eiection, the actual yield will
be used in the database For example, if you
elected to substitute yields in your database for the
1998 and 2000 crop yearl for any subsequent crop
year, you can elect to cancel the substitution for
either or both years.

Each excluded actual yield will be replaced with a
yield equal to 60 percent of the applicable
transitional yield for the crop year in which the yield
is being replaced (For example, if you elect to
exclude a 2001 crop year actual yie|d, the
transitional yield in effect for the 2001 crop year in
the county will be used. lf you also elect to exclude
a 2002 crop year actual yield, the transitional yield in
effect for the 2002 crop year in the county will be
used). The replacement yields will be used in the
same manner as actual yields for the purpose of
calculating the approved yield.

Once you have elected to exclude an actual yield
from the database, the replacement yield will remain
in effect until such time as that crop year is no longer
included in the database unless this election is
canceled in accordance with section 36(b}.

Altl'iough your approved yield will be used to
determine your amount of premium owed, the
premium rate will be increased to cover the
additional risk associated with the substitution of
higher yieldsl

Organic Farming Practices.

(a)

(b)

(Cl

in accordance with section 8(b)(2), insurance will not
be provided for any crop grown using an organic
farming practice, unless the information needed to
determine a premium rate for an organic farming
practice is specified on the actuarial table, or
insurance is allowed by a written agreement

li insurance is provided for an organic farming

practice as specified in section 37(a), only the

following acreage will be insured under such
practice;

(i) Certilied organic acreage;

(2) Transitional acreage being converted to certified
organic acreage in accordance with an organic
plan; and

(3) Bufferzone acreage

On the date you report your acreage, you must have:

(1) For codified organic acreage, a written
certification in effect from a certifying-agent
indicating the name of the entity certified
effective date of certificationl certificate number,
types of commodities certined, and name and
address of the certifying agent (A certificate

 

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issued to a tenant may be used to qualify a
landlord or other similar arrangement);

(2) For transitional acreage, a certificate as
described in section 37(0)(1). or written
documentation from a certifying agent indicating
an organic plan is in effect for the acreage; and

(3) Records from the certifying agent showing the
specific location of each field of certitied organlc,
transitional, buffer zone, and acreage not
maintained under organic managementl

(d) lf you claim a loss on any acreage insured under an
organic farming practice, you must provide us with
copies of the records required in section 37(0).

(e) if any acreage qualides as certified organic or
transitional acreage on the date you report such
acreage, and such certification is subsequently
revoked by the codifying agent, or the certifying
agent no longer considers the acreage as
transitional acreage for the remainder of the crop
yearl that acreage will remain insured under the
reported practice for which it qualified at the lime the
acreage was reported Any loss due to failure to
comply with organic standards will be considered an
uninsured cause of loss.

(f) Contamination by application or drift of prohibited
substances onto land on which crops are grown
using organic farming practices will not be an
insured peril on any certified organic, transitional or
buffer zone acreage

(g) ln addition to the provisions contained in section
17(f), prevented planting coverage will not be
provided for any acreage based on an organic
farming practice in excess of the number of acres
that will be grown under an organic farming practice
and shown as such in the records required in section
37(0).

(h) in lieu of the provisions contained in section 17(f)(1)
that specify prevented planting acreage within a field
that contains planted acreage will be considered to
be acreage of the same practice that is planted in
the fieldl prevented planting acreage will be
considered as organic practice acreage if it is
identified as certified organic, transitional, or buffer
zone acreage in the organic plan.

(40 of 40}

 

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11 CEPP (Released June 2010)

COMM()DITY EXCHANGE PRICE PROVISIONS (CEPP)
2011 AND SUCCEEDING CROP YEARS
Section I: General Information
(The CEPP apply only to crops where choices of protection include both revenue
protection ondyieldprorecrion. See Section Il§ by crop specification foi'price
definitions.)
l. Detinitions

Additional daily settlement price ~ A price(s) used in the establishment of the average
daily settlement price when at least 8 daily settlement prices for the contract specified in
the applicable insured crop’s projected price or harvest price definition are not available
The price(s) are generally obtained from the contract immediately prior to the contract
specified in the applicable insured crop’s projected price or harvest price det`mition, or
another contract as determined by RMA. The price must represent the same crop year as
the insured crop. Additional daily settlement prices Will be those closest to the dates
Where daily settlement prices for the contract specified in the applicable insured crop’s
projected price or harvest price definition, as applicable, do not qualify or are missing lt
enough additional daily settlement prices are not available to meet the minimum of 8
prices for the applicable crop year, see 2(0), Z(e)(l), or 2(t).

Average daily settlement price a The sum of all daily settlement prices divided by the
total number of full active trading days included in the sum. The average must include a
minimum of 8 prices established on full active trading days. if 8 qualifying prices are not
available t`or the applicable contract month specified for the insured crop in section ll of

the CEPP, additional daily settlement prices will be used to establish the average daily

CEPP Section l: General lnt`ormation (Releascd June 2010) ]

 

, Case 2:12-cV-02756-.]TF-de Document1-4 Filed 09/04/12 Page 54 of 86 Page|D 87

settlement price until 8 qualifying prices are available If enough additional daily
settlement prices are not available to meet the minimum of 8 prices for the applicable
crop year, see Z(c), 2(e)(1), or Z(i].

CBOT ~ Chicago Board ofTrade.

CME ~ Chicago Mercantiie Exchange

Daily settlement price - A price established in accordance With the CEPP Wllich is
available for the crop at the end of a full active trading day.

Full active trading day ~ For all exchanges except the Portland Merchants Exchange,
any day on Which a minimum of 25 open interest contracts for the relevant futures
contract are available For the Portland Merchants Exchange, there will be no minimum
open interest requirement

Harvest Price.~ Defined in section H.

ICE - InterContinentalExchange.

KCBT ~ Kansas City Board of Tradc.

MGE - Minneapolis Grain Exchange

NASS ~ The National Agricultural Statistics Service, an agency Within USDA.

Projected Price - Det`med in Section il.

USDA -- United States Department of Agriculture.

2. Price Determinations

(a) In accordance with section l of the Common Crop lnsurance Policy Basic

Provisions, these Commodity Exchange Price Provisions specify how and when the

projected price and harvest price'vvill be determined by crop. These provisions are a

part of the policy for all crops for which revenue protection is available, regardless

CEPP Scction I: General ]nformaticn (Released .]une 2010)

 

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of whether the producer elects revenue protection or yield protection for such crops.
This document includes the information necessary to derive the projected price and
the harvest price for the insured crop, as applicable
(b) The CEPP will be used to determine:
(i) The projected price and harvest price for insured crops for which revenue
protection is selected; or 7
(2) The projected price for insured crops for which yield protection is selectedl
(c) RMA reserves the right to omit any daily settlement price or additional daily
settlement price if market conditions are different than those used to rate or price revenue
protection v
(d) RMA reserves the right to set the projected price for yield protection
(e) It` the projected price cannot be calculated by the procedures outlined in these
Commodity Exchange Price Provisions:
(l) No revenue protection will be available;
(2) It` revenue protection is not available, notice will be provided on RMA’s Web

site at http://www.rma.usda.gov/ by the date specified in the applicable projected price

 

detinition;
l (3) Yield protection will continue to be available; and
(4) The projected price for yield protection will be determined by RMA and
released by the date specified in the applicable projected price definition in the CEPP.
(l`) lf the harvest price cannot be calculated by the procedures outlined in this CEPP,
the harvest price will be determined by Rl\/iA.

(g) The harvest price will not be greater than the projected price multiplied by 2.00.

f

CEPP Section I: General information (Released .}une 2010) 3

 

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(h) Proj ected prices, harvest prices and associated factors and adjustments for all
crops, except the canola rapeseed type and the corn silage type, can be found at

http://www.rma.usda.gov/tools/pricediscoverv.htrnl.

(i) ln counties with a fall sales closing date for which insurance is provided on both
the spring and fall/winter types, the projected price for spring types will be released after

the fall sales closing date at the time specified in the applicable definition of projected

price.

.CEPP Section l: General information (Released June 2010)

 

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11 CEPP (Released June 2010)

COMMODITY EXCHANGE PRICE PROVISIONS (CEPI’)
2011 AND SUCCEEDING CROP YEARS

Section II: Price Definitions

(See Section Ifor General Information applicable to all crops.)
Soybeans (0(}81)

Projected price - The harvest year’s average daily settlement price for the projected
price discovery period for the harvest year’S futures contract, as Shown in the tables
below, rounded to the nearest whole cent. The projected price will be released no later
than three business days following the end of the projected price discovery period

Harvest price - 'l`he harvest year’s average daily settlement price for the harvest price
discovery period for the harvest year’s futures contract, as shown in the tables below,
rounded to the nearest whole cent. The harvest price will be released no later than three

business days following the end of the harvest price discovery period.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Prcjected Price Harvesl Price
SOYBEANS - January 31 Sa|es C|osing Date Discovery Period Discovery Period
Commodity Contract Conlract Beginning Ending Beginning Ending
State Exchange Commodity Month Date Date Date Date
'l`exas CBO'I' Soybeans November Dec 15 lan 14 Sep l Sep 30
Projected Price Harvest Price
SOYBEANS - Fcbrual'y 28 Sa[es Closing Date Discovery Period Discover ' Period
Commodity Contract Contract Beginning Euding Beginning Ending
State Exchange Commodity Month Date Datc Date Dale
Alabama CBOT Soybeans January lan 15 Feb 14 Nov l Nov 30
Arkansas CBOT Soybeans Noveml)er jan 15 Feb 14 Ocl l Oct3l
Florida CBOT Soyl)eans J-anuary lan 15 Feb 14 Nov l Nov 30
Georgia CBOT Soybeans lanuary l lan 15 Fcb 14 Nov l Nov 30
Louisiana CBOT Soyl)eans Novernb`er Jau [5 Fel:) 14 Oct l 0ct 31
lviississippi CBOT Soybeans November Jar\ !5 Feb 14 0c1 l Oct 31
North Caro|ina CBOT Soybeans Jamlary Jan 15 Feh |4 Nov l Nov 30
South Carolina CBOT Soyt)eans .|anuary Jan 15 Feb 14 Nov 1 Nov 30
Texas CBOT Soybeans November lan |5 Feb 14 0ct 1 Oc13[

 

 

 

 

 

 

CEPP Section Il: Soybeans (Released Jnne 201())

 

 

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Projected Price Haivest Price

SOYBEANS ~ March 15 Sales Closing Date Discovery Period Discovery Period

Commodity Contract Contract Beginning Ending Beginning Ending
State ` Exchange Commodity Mouth Date Date* Date Date
Coloradc CBOT Soybeans Novembcr Feb 1 Feb 28 Oct l Oct 31
De|aware CBOT Soybeans January Feb 1 Feb 28 Nov 1 Nov 30
illinois CBOT Soyl)eans November Feb 1 Fe'o 28 Oct 1 Oct 31
ludiana CBOT Soybeans November Feb 1 Feh 28 Oct 1 Oct 31
lowa CBOT Soybeans November Feb l Feb 28 Oct 1 Oct 31
Kansas CBOT Soybeaus November Feb ! Feb 28 Oct 1 Oct 31
I<entucl<y _ CBOT Soybeans Novembcr Feb 1 Feb 28 Oct l Oct31
Maryland ‘ CBOT Soybeans lanuary Feb 1 Feb 28 Nov 1 Nov 30
Michigan CBOT Soybeans Novembcr Feb 1 Feb 28 Oct 1 Oct 31
Minnesota CBOT Scybeans November Feb 1 Feb 28 Oct 1 Oct 31
Missouri CBOT Sc_)ybeans November Feb 1 Feb 28 Oct l Oct 31
Nebraska CBOT Soybeans November Feb 1 Feb 28 Oct 1 Oct 31 .
New Jersey CBOT Soybeans November Feb 1 Feb 28 Oct l Oct 31
New York CBOT Soybeans_ . November Feb 1 Feb 28 Oct I Oct 31
North Dakota CBOT Scybeans November Feb 1 Feb 28 Oct l Oct 31
Ohio CBOT Soybeans November lieb 1 n Fcb 28 Oct 1 Oct 31
Oklahoma CBOT Soybeans January Feb 1 Feb 28 Nov ] Nov 30
Pennsylvania CBOT Scybeaus November Feb 1 Feb 28 Oct l Oct 31
South Dakota CBOT Soybeans November Feb ] Fel) 28 Oct 1 Oct 31
Tennessee CBOT Soybeans November Fcb 1 Feb 28 Oct l Oct 31
Texas CBOT Soybeans November Feb 1 Feb 28 Oct l Oct 31
Virginia CBO'I` Soybeans 1 anuary Fel) 1 Feb 28 Nov 1 Nov 30
West Virginia CBOT Soybeans January Feb 1 Feb 28 Nov l Nov 30
Wisconsin CBOT Soybeans Novemher Feb 1 Feb 28 Oct l Oct3l
*February 28 Ending Date is extended to February 29 in leap years.

 

 

CEPP Section lI: Soyl)eans (Rcleased Junc 20].0)

 

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11 CEPP (Released June 2010)

COMMODITY EXCHANGE PRICE PROVISIONS {CEPP)
2011 AN]) SUCCEEDING CROP YEARS
Section II: Price Definitions
(See Sectr'on l for General Information applicable to all crops.)
Cotton (0021)

Projected price - The harvest year’s average daily settlement price for the projected
price discovery period for the harvest year’s futures contract, as shown in the tables
below, rounded to the nearest whole cent. The projected price will be released no later
than three business days following the end of the projected price discovery period,

Harvest price - The harvest year’s average daily settlement price for the harvest price

- discovery period for the harvest year’s futures contract, as shown in the tables below,
rounded to the nearest whole cent. The harvest price Will be released no later than three

business days following the end of the harvest price discovery period,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Projected Price Harvest Price

COTTON - January 3¥ Sales Closing Date Discovery Period Discovery Period

Commodity Contract Contract Beginning Ending Beginning Ending
State Exchange Commodity Month Date Date Date Date
Texas ICE Cotton October Dec 15 Jan 14 Sep l Sep 30

Projected Price Harvest Price

COTTON m February 28 Sa|es Closing Date Discovery Period Discovery Period

Commodity Contract Contract Beginning Ending Beginning finding
State Exchange Commodity Mon\h Date Date Date Date
Alabama lCE Cctton December lan 15 Feb 14 Oct 1 00131
Arizona lCE Cotton December lan 15 Feb 14 Oct 1 Oct 31
Arkansas ICE Cotton December lan 15 Feb 14 Oct 1 Oct 31
Calil"omia ICE Cotton December lan 15 Feb 14 Oct 1 Oct 31
Florida ICE Colton December lan 15 Feb 14 Oct 1 Oct 31
Georgia ICE Cotton Decesnber lan 15 Feb 14 Oct 1 Oc131
Louisl'ana lCE Cotlon December .lan 15 Fcb 14 Oct 1 Oct 31
Mississippi ICE Cotton December Jan 15 Feb 14 Oct 1 Oct 31
North CaroIina |CE Cotlon December lan 15 Feb 14 Oct 1 Oct 31
South Carolina ICE Cotlon December lan 15 Feb 14 Oct 1 Oct 31
Texas lCE Cotton December lan 15 Feb 14 Oct 1 Oct 31

 

 

 

 

 

 

 

 

 

CEPP Section il: Cotton (Released June 2010) ' 1

 

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_ Projected Price Harvest Price
COTTON - March 15 SnIes Closing Date Discovery Period Discovery Period

Commodity Contract Contract Beginning Ending Beginning Ending
State Exchange Commodity Month Date Date* Date Date
Kansas ICE Cotton December Feb 1 Feb 28 Nov 1 Nov 30
Missouri ICE Cottcn December Feb 1 Feb 28 Oct l Oct 31
New Mexico lCE Cotton December Feb 1 Feb 28 Nov 1 Nov 30
Oklahoma ICE Cotton December Feb 1 Feb 28 Nov 1 Nov 30
Tennessee ICE Cotton Deccmber Feb l Feb 28 Oct 1 Oct 31
Texas lCE Cotton December Feb 1 Feb 28 Oct 1 Oct 31
Virginia ICE Cotton December Feb l Feb 28 Oct 1 Oct 31
*February 28 Ending Date is extended to February 29 in leap years

CEPP Section lI: Cotton (Releascd dane 2010)

 

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ll CEPP (Released June 2010)

COMMODITY EXCHANGE PRICE I’ROVISIONS (CEPP)
2011 AND SUCCEEI)ING CROP YEARS

Section II: Price Definitions
(See Section ffor General Information applicable to all crops.)
Corn (0041)
Grain Type

Projected price - The harvest year’s average daily settlement price for the projected
price discovery period for the harvest year’s futures contract, as shown in the tables
below, rounded to the nearest whole cent. The projected price will be released no later
than three business days following the end of the projected price discovery period

Harvest price - The harvest year’s average daily settlement price for the harvest price
discovery period for the harvest year’s futures contract, as shown in the tables below,
rounded to the nearest whole cent. The harvest price will be released no later than three

business days following the end of the harvest price discovery period.

CEPP Section 11: Corn (Released June 20]0) 1

 

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. Projected Price Harvest Price
CORN - January 31 Sales Closing Date Discovery Perlod Discovery Period
Commodity Contract Contract Beglnning Ending Beginning Ending
State Exchange Commodity Month Date Date Date Date
Texas CBOT Corn September Dec 15 Jan 14 A_ug 1 Aug 31
Projected Price Harvesl Price
CORN - Februarv 15 Sales Closing Date Discovery Period Disccvery Period
Commodity Contract C_ontract Beginning Ending Beginning finding
State Exchange Commodity Month Date Date Date Date
Texas ' CBOT Corn December .lan l Jan 31 Sep l Sep 30
Projected Price Harvest Price
CO`RN ~ Fcbruarv 28 Sales Closiug Date Discover Period Discovery Period
Commodity Contract Contract Beglnning finding Begirming Ending
State Excl@ge Commodity Month Date Date Date Date
Alabama CBOT Corn September lan 15 Feb 14 Aug l Aug 31
Arizona CBOT Corn December lan 15 Feb 14 Oct 1 Oct31
Arkansas CBO']` Corn December .lan 15 Feb 14 7 Aug 15 Sep 14
Calit`ornia CBOT Corn Deccmber Jan 15 Feb 14 Oct 1 Oct 31
Florida CBOT Corn September lan 15 Feb 14 Aug 1 Aug 31
Georgia CBOT Corn September lan 15 Feb 14 Aug 1 Aug31
Louisiana CBOT Corn September lan 15 Feb 14 Aug 1 Aug31
Mississlppi CBOT `Com December Jan i5 Feb 14 Aug 15 Sep 14
North Carolina CBOT Corn December jan 15 Feb 14 Sep 1 Sep 30
South Carolina CBOT Corn September lan 15 Feb 14 Aug 1 Aug 31

 

 

 

 

 

CEPP Section II: Corn (Released.lune 2010)

 

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. Projected Price Harvest Price

CORN - March 15 Saies C|osin Date Discover Period Discovery Period

Commodity Contract Contract Beginning Ending Beginning Ending-
State Exchange Commodity Month Date Date* Date Date
Colorado CBOT Corn December Feb 1 Feb 28 Oct l Oct 31
Connecticut CBO'I` Corn December Feb 1 Feb 28 Oct l Oct31
Delaware CBOT Corn December Feb 1 lieb 28 Oct l Oct31 t
ldaho CBOT Corn Dcce`mber Feb 1 Feb 28 Nov 1 Nov 30
lltinois CBOT Corn December Fel) 1 Feb 28 Oct l Oct 31
lndiana CBO'I` Corn December Peb 1 ` Feb 28 Oct 1 Oct 31
lowa CBOT Corn December Fcb 1 Feb 28 Oct 1 Oct 31
Kansas CBOT Corn December Feb l l~`eb 28 Oct l Oct 31
Kentucky CBOT Corn December Feb 1 Feb 28 Oct 1 Oct 31
Maine CBOT Corn Dccember Feb 1 Feb 28 Oct 1 Oct 31
Maryland CBOT Corn December Feb l Feb 28 Oct 1 Oct 31
Massachusetts CBOT Corn December Feb 1 ` Feb 28 Oct l Oct 31
Michlgan CBOT Corn Deceml)er Feb 1 Fcb 28 Nov 1 ' Nov 30
Minnescta CBO'I` Corn December Feb l Feb 28 Oct 1 Oct 31
Missouri CBOT Corn December Feb 1 Feb 28 Oct 1 Oct 31
Montana CB()T Corn Decernber Feb 1 Feb 28 Oct l Oct 31
Nebraska CBOT Corn December Fcb l Fe|;) 28 Oct 1 Oct 31
New Hampshire CBO'I` Corn Decernber Feb l Feb 28 Oct 1 Oct 31
New Jersey CBOT Corn December Feb 1 Feb 28 Oct l Oct 31
New Mexico CBOT Corn December Feb l Feb 28 Oct 1 Oct 31
New York CBOT Corn December Feh l Feb 28 Oct 1 Oct 31
North Dakota CBOT Corn December Feb 1 Feb 28 Oct l Oct 31
Ohio CBOT Corn December Feb 1 Feb 28 Oct 1 Oct 31
Ok|ahoma CBOT Corn December Fcb 1 Feb 28 Sep 1 Sep 30
Oregon CBOT Corn December Feb 1 Feb 28 Nov 1 Nov 30
Pennsylvania CBOT Corn December Feb 1 Feb 28 Oct 1 Oct 31
Rhode leland CBOT Corn December Feb 1 Feb 28 Oct l Oct 31
South Dakota CBOT Corn December Feb 1 Fel) 28 Oct l Oct 31
'l`ennessee CBOT Corn Decernber Feb 1 Fcb 28 Oct 1 Oct 31
'l`e)<as CBOT Corn December Feb 1 Feb 28 Sep 1 Sep 30
Utah CBO'F Corn December l-`eb 1 Peb 28 Oct l Oct 31
Vermonl CBOT Corn December Feh 1 Feb 28 Oct l Oct 31
Virginia CBOT Corn December Feb l Feb 28 Oct 1 Oc131
Washington CB'OT Corn December l`~`eb l Feb 28 `Nov 1 Nov 30
West Virginla CBOT Corn December Feb 1 Feb 28 Oct 1 Oct 31
Wisconsin CBOT Corn December ` Feb 1 7 1~`eb28 Oct 1 Oct 31
Wyoming CBO'I` Corn Decembcr Feb | Feb 28 Oct 1 Oct 31
*Fcbruary 28 Ending Date is extended to February 29 in leap years

 

 

CEPP Scetion 11: Corn (Released .]une 2010) 3

 

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Corn (0041)
Silage Type

Corn for silage is not traded on any Commodity Exchange However, revenue
protection is still considered to be available in counties where silage is an insurable type
and the projected and harvest prices will be determined by RMA in accordance with this
CEPP. The result of this action will allow the producer to insure both the silage and grain
types of corn under revenue protection With both types of corn insured under revenue
protection the producer' may qualify for a whole-farm unit. However, corn insured as
siiage will not have the benefit of the projected price and the harvest price moving as the
price on the Commodity Exchange moves for corn for grain.

Projected price - A price determined by RMA and released by January 31 of the
harvest year.

Harvest price -- A price equal to the silage type projected price.

CEPP Scction II: Corn (Released .]une 2010)

 

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SUMMARY OF CHANGES FOR THE COTTON CROP PROV|SIONS ('1‘|-0021)
(Releasecl Aprtl 2010)

The following is a brief description of the changes to the Cottoh Crop Provlslons that will be effective for the
2011 crop year. Please refer to the Crop Provlslons for complete information

Either revenue protection or yield protection is available for cotton. The projected price will be used to
determine the premium and any prevented planting payment for cotton for both revenue protection and
yield protection; therefore, a price election is not applicab|e.

The paragraph immediately preceding section 1 that referred to the order of priority ih the event of
conflict has been removed This information is contained in the Basic Provlslons.

Section 1 - Removed the definition of “producti`on guarantee" and added a new definition of “production
guarantee (per acre)” in section 1 to be consistent with the other Crop Provlslons and to specify the
definition is in lieu of the definition in the Baslc Provlslons.

Section 2 - Revised to specify the producer must elect to insure cotton with either revenue protection or
yield protection by the sales closing date, Removed provisions regarding selection of prices These
provisions are contained in the Basic Provlslons.

Section 3 ~ Revised to remove the provision specifying the contract change date was December 17 for the
1998 crop year.

Sectlon 4 - Revlsed to change'the January 15 cancellation and termination date to January 31 for Val
Verde, Edwards, l<err, Kendall, Bexar, Wi|son, Karnes, Go|iad, Victoria, and Jacl<son Counties, Te)<as, and
all Texas counties lying south thereof

Secfion 5 ~ Revised by removing paragraphs (b)(4) and (5) because it is not an issue to plant cotton on
acreage from which a hay crop was harvested in the same calendar year in some regions unlessthe
acreage is irrigated and it is difficult to determine if less than 50 percent of the small grain plants have
reached the heading stage.

Section 8 - Revised to clarify that failure of the irrigation Water supply that occurs during the insurance
period is a covered cause of loss if such failure is due to a cause of loss specified in the Crop Provlslons.
A|sol added a new section 8(1) to specify a change in the harvest price from the projected price is ah insured
cause of loss for revenue protection,

Sectlon 9 - Revised to specify representative samples are required in accordance with section 14 of the
Basic Provlslons.

Sectloh 10 - Revlsed: 1) paragraph (a) to clarify that required records of production must be acceptable to
the approved insurance provider for the acreage to qualify for unit dlvlslon; 2) paragraph (b) to provide
separate calculations for claims based on yield protection and revenue protection, and added exampl_es; 3)
the introductory text in paragraph (c) to change the phrase "productloh (pouhds) to count” to "production to
count (in pounds)"; 4) paragraph (c)(l)(l) to add a provision to specify for revenue protection the total
production Would include not less than the amount of production that when multiplied by the harvest price
equals the revenue protection guarantee (per acre) for acreage that is abandoned put to another use
without consent, damaged solely by uninsured causes, failure to provide records acceptable to the
insurance provider, and if the cotton stall<s are destroyed in violation of section 9; and 5) paragraph (d) to
change the percentage of price quotation “B” from 75 percent to 85 percent and to remove the reference to

 

 

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the "Daily Spot Cotton Quotation published by the USDA Agriculturai i\/|arketing Service” and add “Upland
Cotton Warehouse l.oan Rate published by FSA"__in its place.

Section 11(b) - Removed the reference to limited level of coveragel

 

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11-0021

(Released Apr'il 2010) UN|TED STATES DEPARTNIENT OF AGR|CULTURE

Federal Crop insurance Corporation
COTTON CROP PROVlS|ONS v

ila

l

Definitions

Cotton- Varieties identified as American Upland Cotton.
Growth area- A geographic area designated by the
Secretary of Agricu|ture for the purpose of reporting
cotton prices

Harvest ~ The removal of the seed cotton from the open

Torn Green, Concho, McCul|och, San Saba, l\.ilillsl
l~lamiltonl Bosque, Johnson, Tarrant, Wise, and
Cool<e Counties, Texas, and all Texas counties
lying south and east thereof to and including
Terrell, Crocl<etl Sutton, }<imble, Gi|lesple,
Blanco, Comal, Guadalupe, Gonzales, De Witt,
l_avacal Coloradol Wharton, and l‘vlatagorda

cotton boll, or the Severance of the open cotton bolt from C°u"nes' Texas‘ Febr"'an' 28
the stall< by either manual or mechanical means l All OlhErTean munlles and all
ittlature cotton - Cotton that can be harvested either etherslales_ March 15

manually or mechanicallyl 5_ lnsuled Crop
Pla"ted acreage in annn'°n to lne denn'n°n Con[&nned in accordance with section 8 of the Basic Provlslons, the
m the BHS'C Pr,°‘ns'°ns, C°n°n must ne planted 'n_ r_OWS crop insured will be all the cotton lint, in the county for
unless otherwise provided by the Special Provisions, Wlllch memle rates are promde by the actuallal
actuarial documents or by written agreement The yield documelllsl
conversion factor normally applied to non~irrigated skip- lal ln Whlcll you have a Sllale. and
row cotton acreage will not be used if the land between . ’ . . .
the rowsl of cotton is planted to any other spring planted (b) That 'S not (Lm|ess allowe,d by the Spec]al Prowslons
Clop_ or by written agreement).
Production guarantee (per acre) - |n lieu of the (;) §lo!°lreg.o?uon !'ntl' bl. h d l _
definition contained in the Basic Provlslons. the number ( l an e 'n 0 an 88 a ls e grass ‘l‘"r egdume' Or
of pounds determined by multiplying the approved yield (3) |nterplanted Wnn another 943an 9 ante Crop-
per acre by any applicable yield conversion factor for 6- insuia_b_]e Acreage _ _ _ _
non-irrigated skip-row planting p_atterns, and multiplying ill alleltllOTl to the DFOVlSlOnS Of S€Ct'On 9'Oi The BHSlC
the result by the coverage level percentage you elect PFOViSlOnSf l _
Skip-row - A planting pattern that: (a) The acreage insured will be only the land occupied
(1) Consists of alternating rows of cotton and fellow by the rows of cotton when a skip-row planting
land or land planted to another crop the previous fa|i; pattern is utilized; and
and (b) Any acreage of the insured crop damaged before
(2) Qua|ifies as a skip- row planting pattern as denned the final planting date, to the extent thatamajorlty of
by the Farm Service Agency (FSA) or a successor producers in the area would not normally further
agency care for the crop, must be replanted unless we
insurance Guarantees, Coverage Leve|s, and Prices agree that if rs not practical to replant
for Detel'mining lndemnitie$ l T_ lnsurance Period n
ln addition to the requirements of section 3 of the Basic (a) in lieu cf SeCiiOn 11(b)(2) Of the Basic provisionsl
provisions\ VOU must.e[ect t_° insure YQUV Con°n Wnn insurance will end upon the removal of the cotton
either regenue protection or yield protection by the sales from the field
C'°Sing ate' (b) in accordance with the provisions under section 11
C°"tract Change$ of the Basic Provlslons the calendar date for the
ln accordance with section 4 of the Basic Provisions, title end el llle lnsurance period ls llle dale lmmedlalely
:;:;r:|lc;l§t;lag§tee date is November 30 preceding t e followan planllng as follows:
‘ . t b r 30 in Val Verde, Edwards, l<err,
Cance“ation and Te"lnm:tic;nll[)al;es. l, . . th m ls<:ndearll], §exar,Wi|son,-Karnes,Goliad,Victoria,
ln accordance with sec ton o t e asic rovisions, e and Jackson Counlles’ _l_exa$i and all _l.exas
cancellation and termination dates are. _ , l_
Cance[lallon and counties lying south thereol . l l _
state and county Temiinaiion oates (2) January 31 in Anzona, Calitornia, New Nlexico,
Ol<lahorna, and all other Texas counties; and
Val Verdel Edwards, Kerr, Kendall, Bexar, ' _
Wilsonl Kames, Goliadl Victoria, and Jackson (3) December 31 m an ether States
8. Causes of Loss

Counties, Texas, and all Texas counties
tying south thereot. January 31
Alabama', Arizone; Arl<ansas; California; Flon‘da;

Georgla‘, t_ouisiana; Mlssissippi; Nevada;

North Carolina‘, South Carolina; El F’asol

Hudspethl Culberson, Reeves, Loving, Winl<ler,

Ector, Upton, Reagen, Sterling, Col<el

(‘l of 3)

in accordance with the provisions of section 12 of the
Basic Provlslonsl insurance is provided only against the
following causes of loss which occurwithin the insurance
period;

(a) Adverse weather conditions;

 

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(b) Fire;

(c) insects, but not damage due to insufficient or
improper application of pest control measures;

(d) Plant disease, but not damage due to insufficient or
improper application of disease control measures;

(a) Wi|d|ife;

(f) Earthquake;

(g) Volcanic eruption;

(h) Failure of the irrigation water supply due to a cause
of loss specined in sections B(a) through (g) that
also occurs during the insurance pericd; or

(i) For revenue protection, a change in the harvest
price from the projected price, unless FCiC can
prove the price change was the direct result cf an
uninsured cause of loss specified in section 12(a) cf
the Basic Provlslons.

9. Duties in the Event of Damage or Loss

(a) ln addition to your duties under section 14 of the
Basic Provlslons, in the event ofdamage or lossl the
cotton stall<s must remain intact for our inspection
The sta|l<s must not be destroyedI and required
samples must not be harvested, until the earlier of
our inspection or 15 days after harvest of the
balance of the unit is completed and written notice cf
probable loss given to us.

(b) Representative samples are required in accordance
with section 14 ot the Basic Provlslons.

10. Settlement of Claim

(a) We will determine your loss on a unit basis |n the
event you are unable to provide records of
production that are acceptable to us for any:

(1) Optional unit, we will combine all optional units
for Which acceptable records of production were
not provided; or

(2) Basic unit, we will allocate any commingled
production to such units in proportion to our
liability on the harvested acreage for each unit.

(b) ln the event of loss or damage covered by this
policy, we will settle your claim by:

(1) Multiplying the number of insured acres by your
respective;

(i) Yie|d protection guarantee (per acre) if you
elected yield protection; or

(ii) Revenue protection guarantee (per acre) if
you elected revenue protection;

(2) Totaling the results of section 10(1)1)( )(i)o
10( (b)(1)(ii) whichever is applicable;

(3) lvlultiplying the production to count by your:

(i) Projected price if you elected yield
protection; or

(ii) l-larvest price if you elected revenue
protection;

(4) Totaling the results of section 10(b}(3)(i) or
10(b)(3)(ii), whichever is applicable;

(5) Subtracting the result of section 10(b)(4) from
the result of section 10(b)(2); and

(6) i\/lultiplying the result of section 10(b)(5) by your
share `

i2 or si

For examp|e:
You have 100 percent share in 50 acres of
cotton in the unit with a production guarantee (per
acre) of 525 pounds your projected price is $ 65
your harvest price is $ 70, and your production to
count is 25 000 pounds
if you elected yield protectionl
(1) 50 acres x (525 pound production guarantee x
$.65 projected price) = $17,062.50 value of the
production guarantee
(3) 25,000 pound production to count X $.65
projected price = $16,250.00 value of production
to count

(5) $17,062.50 - $16,250.00 = $812.50

(6) $812.50 x 1.000 share = $813_00 indemnity; or
if you elected revenue protection;

(1) 50 acres x '(525 pound production guarantee X

$.70 harvest price) = $18,375.00 revenue

protection guarantee

(3) 25,000 pound production to count x s.ro`

harvest price = $17,500.00 value of the
production to count
(5) $18,375.00 ~ $17,500.00 = $875.00
(6) $875_00 )< 1.000 share = $875.001ndemnity.
The total production to count (in pounds)` from atl
insurable acreage on the unit will include:
(1) All appraised production as follows:

(i) For yield protection, not less than the
production guarantee and for revenue
protection, not less than the amount of
production that when multiplied by the
harvest price equals the revenue protection
guarantee (per acre) for acreage:

(A) 'i'hat is abandoned;

(B) Put to another use without our consent;

(C) Damaged solely by uninsured causes;

(D) For which you fail to provide records cf
production that are acceptable to us; or

(E) On which the cotton stalks are
destroyedl in violation of section 9;

(ii) Production lost due to uninsured causes;

(iii) Unharvested production {mature
unharvested production ofwhite cotton may
be adjusted for quality deficiencies in
accordance with subsection 10(d))} and

(iv) Potential production on insured acreage you
want to put to another use or you wish to
abandon or no longer care for, if you and
We agree on the appraised amount ot
production Upon such agreement, the
insurance period for that acreage will end if
you put the acreage to another use or
abandon the crop, lf agreement on the
appraised amount of production is not
reached:

(A) lf you do not elect to continue to care
for the crop we may give you consent to
put the acreage to another use if you
agree to leave intact, and provide

 

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sufficient care for, representative (b) Your prevented planting coveragewiil be 50 percent
samples of the crop in locations of your production guarantee for timely pianted
acceptable to us (The amount of acreage |fyou have additional coverage and pay
production to count for such acreage an additional premium, you may increase your
witt be based on the harvested prevented planting coverage to a level specified in
production or appraisals from the the actuarial documents

samples at the time harvest should
have occurred if you do not leave the
required samples intactl or you fait to
provide sufficient care for the samplesl
our appraisal made prior to giving_you
consent to put the acreage to another
use will be used to determine the
amount of production to count); or

(B) if you elect to continue to care for the
crop, the amount of production to count
for the acreage will be the harvested
production, or our reappraisal if
additional damage occurs and the crop
is not harvested; and

(2) All harvested production from the insurable
acreage, including any mature cotton retrieved
from the ground.

(d) Niature white cotton may be adjusted for quality
when production has been damaged by insured
causes. Such production to countwill be reduced if
the price quotation for cotton of like quality (price
quotation "A") for the applicable growth area is less
than 85 percent of price quotation ".'B
(i) F?rice quotation “B” is denned as the price

quotation for the applicable growth area for
cotton of the color and leaf grade, staple |ength,
and micronaire reading designated in the
Special Provisions for this purpose

(2) Price quotations “A” and “B” will be the price
quotations for the Upland Cotton Warehouse
Loan Rate published by FSA on the date the
last bale from the unit is classed if the date the
last baie classed is not available, the price
quotations will be determined on the date the
last baie from the unit is delivered to the
warehouse, as shown on the producers account
summary obtained from the gin.

(3) if eligible for adjustment, the_ amount of
production to count will be determined by
multipiying the number of pounds ot such
production by the factor derived from dividing
price quotation “A" by 85 percent of price
quotation “B."

(e) Colored cotton lint will not be eligible for quality
adjustment

'i‘i. Prevented Pianting

(a) ln addition to the provisions contained in section 17
of the Basic Provisions, your prevented planting
production guarantee will be based on your
approved yield without adjustment for skip~row
planting patterns

(3 or 3)

 

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SUNiNlARY OF CHANGES FOR THE COARSE GRA|NS CROP PROV|S|ONS (11-0041)
(Released Apri| 2010)

The following is a brief description of the changes to the Coarse Grains Crop Provisions that will
be effective for the 2011 crop year. Please refer to the Crop Provisions for complete
information

Either revenue protection or yield protection is available for soybeans, grain sorghum, and
corn (however, for corn insured as silage, the harvest price Will be set equal to the projected
price so the producer will not have the benefit of price movement).

The paragraph immediately preceding section 1 that referred to the order of priority in the
event of conflict has been removed This information is contained in the Basic Provlslons.

Section 1 - Revised the definition cf “planted acreage" to remove the requirement that corn
must be planted in rows far enough apart to permit mechanical cultivation Revised the
definition of "pro_duction guarantee (per acre)" for clarity.

Section 2 - Revised to specify the producer must elect to insure corn, grain sorghum or
soybeans with either revenue protection or yield protection by the sales closing date
Removed provisions regarding selection of prices These provisions are contained in the
Basic Provisions.

Section 4 - Revised the cancellation and termination dates in certain counties.

Section 5 - Revised to incorporate the statement previously contained in the Specia|
Provisions Which specified high-oil corn blends containing mixtures of at least 90 percent
high-yielding yellow dent female plants with high-oil male poilinator plants and commercial
varieties of high-protein hybrids are insurable

Section 7 - Revised the calendar dates for the end of the insurance period for corn insured
as si!age in certain states

Section 8 - Revised to clarify that failure of the irrigation water supply that occurs during the
insurance period is a covered cause of toss if such failure is due to a cause of loss specified
in the Crop Provisions Aiso, added a new section S(i) to specify a change in the harvest
price from the projected price is an insured cause of loss for revenue protection

Section 9 - Revised to specify the actual cost for replanting is not considered when
determining the amount of a replant paymentl Removed the provision that allowed the
person Who incurred the total cost of replanting to receive the total-replant payment when
more than one person insured the crop on a share basisl Also revised to specify replant
payments will be calculated using the projected price and production guarantee for the crop
type that is replanted and insured A revised acreage report will be required to reflect the
replanted typel if applicable

Section 10 - Revised to specify representative samples are required in accordance with
section 14 of the Basic Provisions A|so added provisions to specify if the producer will
harvest the crop in a manner other than as it was reported the producer must notify the

 

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insurance provider before harvest begins

Section 11(a) ~ Revised to clarify that required records of production must be acceptable to
the approved insurance provider for the acreage to qualify for unit division

Section 11(b) - Revised to provide separate calculations for claims based on yield protection
and revenue protection, and added examples

Section 11(c)(1)(i) ~ Added provisions that specify appraised production for revenue
protection will be not less than the amount of the production that when multiplied by the
harvest price equals the revenue protection guarantee (per acre).

Section 11(c)(1)(i)(E)'- Added provisions that specify if the crop will be harvested in a
manner different than it was reported appraised production will include not less than the
production guarantee if the producer fails to give notice before harvest begins

Section 11(d)(3) - Revised to incorporate the quatity adjustment provisions previously
contained in an amendatory endorsement

Section 11 (e) - Revised to change the reference of September 30 to the calendar date for
the end of the insurance period to be consistent with the changes made in the calendar date
for the end of the insurance period in section 7(b).

Section 12 ~ R`ernoved the reference to limited level of coverage

 

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1'1-0041

(Released Aprll 2010)

1.

Definitions

Coarse grains - Corn, grain sorghuml and soybeans
Grain sorghum - The crop defined as sorghum under
the United States Grain Standards Act.

Harvest - Combining, threshing, or picking the insured _

crop for grain, or cutting for hay, silagel or fodder.

Locai market price - The cash grain price per bushel
for the U.S. No. 2 yellow corn. U.S. No. 2 grain
sorghum, or U.S. No. 1 soybeans, offered by buyers in

the area in which you normaliy market the insured -

crop, The local market price will reflect the maximum
limits of quality deficiencies allowable for the U.S. No.
2 grade for yellow corn and grain sorghum, or U.S. No.
1 grade for soybeans l-`actors not associated with
grading under the Official United States Standards for
Grain, including but not limited to protein and oil, will
not be considered

P|anted acreage - ln addition to the dennition
contained in the Basic Provisions, coarse grains must
initially be pianted in rows, unless otherwise provided
by the Special Provisions, actuarial documents or by
written agreement

Production guarantee (per acre) - in iieu of the
definition contained in the Basic Provisionsl the
number of bushels (tons for corn insured as silage}
determined by multiplying the approved yield per acre
by the coverage level percentage you electl

Siiage ~A product that results from severing the plant
from the land and shopping it for the purpose of
livestock feed

Ton » Two thousand {2000) pounds avoirdupois.
insurance Guarantees, Coverage Levels, and
Priees for Determining lndemnities

in addition to the requirements of section 3 ofthe Basic
Provisions, you must elect to insure your corn, grain
sorghum, or soybeans with either revenue protection or
yield protection by the sales closing date

Contract Changes

ln accordance with section 4 of the Basic Provisionsl
the contract change date is Novernber 30 preceding
the cancellation date,

Cance|lation and Termination Dates -

ln accordance with section 2 of the Basic Provisionsl

the cancellation and termination dates are:
Cance|lation and Termination
State and Countv Dates
(a) For corn and grain sorghum:
Val Verde, Edwards, Kerr,
Kendail, Bexar, Wilson, l<arnes,
Goliad, \/ictoria, and Jackson
Counlles, Texas, and all Texas
counties lying south thereof January 31
El Paso, Hudspethl Culbersonl
Reeves, Lovingl Wink|er, Ector,
Uptonl Reagan, Slerling, Coke,

UN|TED STATES DEPARTMENT OF AGRICULTURE
Federal Crop insurance Corporation
COARSE GRAlNS CROP PROV|SiONS

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Tom Green, Concho, lv‘lcCulioch,
San Saba, Mi|is. Harnilion. Bosqua,
Johnson,,Tarrant. Wisel Cooke
Counties, Texas. and all Texas
counties lying south and east
thereof to and lncluding Terrell,
Crockett, Sutton, Kimblel Giliespiel
Blancol Comall Guadalupe,
Gonzales. De Witl, Lavaca,
Coiorado. Wharlon, and Nlalagorda
Counties, Texas February15
Alabama; Arizona; Arkansas;
Ca|iiornia: Florida; Georgla;
Louisiana', Mississippi; Nevada;
North Carolina; and Soulh Carolina Fet)niary28
Ali other Texas counties and all

other states March 15

(b) For soybeans:
Jackson, Victoria, Goliad, Bee,
lee Oak, N|cMu|len, LaSaile, and
Dlmmit Countles, Texas and all

Texas counties lying south thereof January 31

Alabarna; Arizona; Arkansas;
Calitornia; Florida; Georgia;
Louisiana; Misslssippi; Nevada;
Ncrth Carolina; and Soulh Carolina;
and El Paso, Hudspeth, Culberson.
Reeves' ching, Winkler, Ector,
l.lptonl Reagan, Sterlingl Coke,
Tom Green, Ccncho, lv|cCuiloch,
San Saba, lvlills, Hemilton,

Bosque, Jchnson, Tarrant, Wise,
Cooi<e Counties, Tsxas, and all
Texas counties lying south

and east thereof to and including
Maverick, Zavalal Frio, Atascosa,
Karnes, De Willl l_avaca, Coloradol
Wharton. and Nlatagorda Counties,
Te)cas February28

All other Texas counties and all
other states

insured Crop
(a) ln accordance with section 8 of the Basic

Provisions the crop insured will be each coarse

grain crop you elect to insure for which premium

rates are provided by the actuarial documents

(1) in which you have a share;

(2) That is adapted to the area based on days to
maturity and is compatible with agronomic and
weather conditions in the area; and

(3) That is not (unless allowed by the Special
Provisions or by written agreement):

(i) lnterplanted with another crop except as
allowed in section 6(b)(1); or
(ii) Planted into an established grass or
legume.
(b) For corn only, in addition to the provisions of
section 5(a), the corn crop insured will be all corn

March 15.

 

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that is:

(1) P|anted for harvest either as grain or as silage
(see section 5(c)). A mixture of corn and
sorghum (grain or forage“type) will be insured
as corn silage if the sorghum does not
constitute more than twenty percent (20%) of
the plants;

(2) Yellow dent or white corn, including mixed
yeilow and white, Waxy or high-lysine cornl
high-oil corn blends containing mixtures of at
least 90 percent high yielding yellow dent
female piants with high-oil male pollinator
plants or commercial varieties of high-protein
hybrids, and excluding;

(i) High-arnylose, high-oil or high-protein
(except as authorized in section 5(b)(2)),
flintl fiour, lndian, or blue corn, or a variety
genetically adapted to provide forage for
wildlife or any other open pollinated cornl
unless a written agreement allows
insurance of such excluded crops

(ii) A variety of corn adapted for silage use
only when the corn is reported for
insurance as grain

(c) For corn onlyl if the actuarial documents for the
county provide a premium rate for:

(1) Both grain and silage, all insurable acreage `

will be insured as the type or types reported by
you on or before the acreage reporting date;

(2) Grain but not silage, atl insurable acreage
will be insured as grain unless a written
agreement allows insurance on ali or a portion
of the insurable acreage as silage; or

(3) Silage but not grain, all insurable corn
acreage will be insured as silage unless a
written agreement allows insurance on all or a
portion of the insurable acreage as grain.

(d) For grain sorghum onlyl in addition to the
provisions ofsection S(a), the grain sorghum crop
insured will be all of the grain sorghum in the
county:

(1) That is planted for harvest as grain;

(2) That is a combine»type hybrid grain sorghum
(grown from hybrid seed); and

(3) That is not a dual-purpose type of grain
sorghum (a type used for both grain and
forage), unless a written agreement allows
insurance of such grain sorghum.

(e) For soybeans only. in addition to the provisions of
section S(a), the soybean crop insured will be all of
the soybeans in the county that are planted for
harvest as beans

insurable Acreage

ln addition to the provisions of section 9 of the Basic

Provisions any acreage of the insured crop damaged

before the final planting date, to the extent that a

majority of producers in the area would not normally

further care for the crop, must be replanted unless we
agree that it is not practical to replant

(2 Of 5]

insurance Period
in accordance with the provisions of section ii of the
Basic Provlslons. the calendar date for the end of the
insurance period is the date immediately following
planting as follows:
(a) For corn insured as grain:
(1) Val Verde, Edwards, Kerr,

Kenda||l Bexar, Wiison, Karnes.

Goliad, Wctoria, and Jackson

Countiesl Texas, and all Texas

counties lying south thereof. September 30

(2) Clarkl Cowlitz, Grays Harbor.
ls!andl Jefferson, King. Kitsap,
Lewis, Pierce, 5kagii,
Snohomish, Thursion,
Wahl<iakum, and Whatcom

Countiss, Washington. 7 October$i

(3) All other counties and states December10

(b) For corn lnsured as silage:
(1) Connecticui, Delaware, ldaho.
N'laine, Maryland, Massachusetts.
New Hampshire, New Jersey,
New York. North Garolina, Oregon,
Pennsylvania, Rhode lsiand,
Verrnont, \Hrginia, Washington,

and West Virginia. October20.

(2) All other states SeptemberCiO.

(c) For grain sorghum:
(1) Va| Verde, Edwards, Kerr,
Kendall, Eiexarl Wilson. l<arnes.
Goliad, Vicloria, and .iackson
Counties, Texas, and all Texas

counties lying south thereof September 30

(2) A|l other Texas counties and

all other states Deoember 10

(d) For soybeans:
Al| states

Causes of i.oss

ln accordance with the provisions of section 12 of the

Basic Provisions insurance is provided only against

the following causes of loss which occur within the

insurance period;

(a) Adverse weather conditions;

(b) Fire;

(c) insectsl but not damage due to insufficient or

improper application of pest control measures;

(d) Plant disease but not damage due to insufficient
or improper application of disease control
measures;

e) Wildlife',

f) Earthquake;

g) Volcanic eruption;

h) Failure of the irrigation water supply due to a
cause of loss specified in sections S(a) through (g)
that also occurs during.the insurance period; or

(i) For revenue protection, a change in the harvest

price from the projected pricel unless FCiC can
prove the price change was the direct result of an
uninsured cause of foss specified in section 12(a)
of the Basic Provlslons.

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9. Repiantlng Payments

(3)

(C)

A replanting payment is allowed as follows:

(1) in lieu of provisions in section 13 of the Basic
Provisions that limit the amount of a replant
payment to the actual cost of replanting, the
amount of any replanting payment will be
determined in accordance with these Crop
Provisions;

Except as specified in section 9(a)(1), you
must comply with all requirements regarding
replanting payments contained in section 13 of
the Basic Provisions; and

The insured crop must be damaged by an
insurable cause of loss to the extent that the
remaining stand will not produce at least 90
percent of the production guarantee for the
acreage

Un|ess otherwise specined in the Specla|
Provisions, the amount of the replanting payment
per acre will be the lesser of 20 percent of the
production guarantee or the number of bushels
(tons for corn insured as silage) for the applicable
crop speclhed beiow, multiplied by your projected
price. multiplied by your share:

(1) 8 bushels for corn graln;

(2) 1 ton for corn silage;

(3) 7 bushels for grain sorghum; and

{4) 3 bushels for soybeans

When the crop is replanted using a practice that is
uninsurable for an originai plantingl the ilability on
the unit will be reduced by the amount of the
replanting payment The premium amount will not
be reduced.

if the acreage is replanted to an insured crop type
that is different than the insured crop type originally
planted on the acreage:

(1) The production guarantee, premium, and
projected price and harvest price. as
applicablel will be adjusted based on the
replanted type;

Rep|anting payments will be calculated using
your projected price and production guarantee
for the crop type that ls replanted and insured;
and

A revised acreage report will be required to
reflect the replanted type, as applicable

(3)

(2)

(3)

10. Duties in the Event of Damage or Loss

(B)

(b)

Representative samples are required in
accordance with section 14 of the Basic
Provlslons.

For any corn unit that has separate dates for the
end of the insurance period (grain and silage), in
lieu of the requirement contained in section 14 of
the Basic Provisions to provide notice within 72
hours ot your initial discovery of damage (but not
later than 15 days after the end of the insurance
period)l you must provide notice within 72 hours of
your initial discovery of damage (but not later than
15 days aiter the latest end of the insurance period
applicable _to the unit).

(3 of 5)

(C)

|f you will harvest any acreage in a manner other
than as you reported it for coverage (e.g., you
reported planting it to harvest as grain but will
harvest the acreage for silage, or you reported
planting it to harvest as silage but will harvest the
acreage for grain), you must notify us before
harvest begins Failure to timely provide notice will
result in production to count determined in
accordance with section 11(c)(‘l)(i)(E).

11. Settiement of Claim

tel

(b)

We will determine your loss on a unit basis in the
event you are unable to provide records of
production that are acceptable to us for any:

(1) Optional unit, we will combine ali optional units
for which acceptable records of production
were not provided; or

(2) Basic unit, we will allocate any commingled
production to such units in proportion to our
liability on the harvested acreage for each unit.

ln the event of loss or damage covered by this

poilcy, we will settle your claim by:

(i) Niuitipiylng the number of insured acres of
each insured crop or type, as applicable, by
your respective:

(i) Yieid protection guarantee (per acre) if

you elected yield protection; or

(ii) Revenue protection guarantee (per acre)

if you elected revenue protection;

(2) Tota|ing the results of section 11(b)(1)(i) or
1t(b)(1)(ii), whichever is applicabie;

(3) ivluitipiying the production to count of each
insured crop or type, as applicable, by your
respective:

(i) Projected price ii you elected yield

protection; or

(ii) Harvest price if you elected revenue

protection;

(4) Tota|ing the results of section 11(b)(3)(i) or
11(b)(3)(ii), whichever is applicabie;

(5) Subtracting the result of section li(b)(¢i) from
the result of section 11(b)(2); and

(6) Nluitlpiying the result of section (11)(b)(5) by
your share.

For example:

You have 100 percent share in 50 acres of
corn in the unit with a production guarantee (per
acre) of 115 bushelsl your projected price is $2.25,
your harvest price is $2.20, and your production to
count is 5,000 bushels

if you elected yield protection;

(1) 50 acres x (115 bushei production guarantee x
$2.25 projected price) = $12,937.50 value of
the production guarantee

(3) 5,000 bushel production to count x $2.25
projected price a $11,250.00 value of the
production to count

(5) $12,937.50 » $11,250.00 = $1,687.50

(6) $1,687.50 x 1000 share = $1,688.00
indemnity; or '
if you elected revenue protectionl

 

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(1) 50 acres x (115 bushel production guarantee x
$2.25 projected price) = $12,937.50 revenue
protection guarantee

(3) 5,000 bushel production to count x $2.20
harvest price = $11000.00 value of the
production to count

(5 ) $12, 937. 50- $11, 000. 00= $1937 50

{6) $1 937 50 x 1 000 share = $1 938.00
indemnity.

(c) The total production to count (in bushels for corn
insured as grain or in tons for corn insured as
silage) from all insurable acreage on the unit will
inciude:

(1) Aii appraised production as follows:

(i) For yield protection, not less than the
production guarantee, or for revenue
protection, not less than the amount of
production that when multiplied by the
harvest price equals the revenue
protection guarantee (per acre) for
acreage:

(A) That is abandoned;

(B) Put to another use without our
consent,'

(C) Damaged solely by uninsured causes;

(D) For which you fail to provide records
of production that are acceptable to
us; or

(E) For which you fail to give us notice
before harvest begins if you report
planting the corn to harvest as grain
but harvest it as silage or you report
planting the corn to harvest as silage
but harvest it as grain.

(ii) Production lost due to uninsured causes;

(iii) Unharvested production (mature

unharvested production may be adjusted
for quality deficiencies and excess
moisture in accordance with section
11(d)); and
Potentiai production on insured acreage
you will put to another use or abandon, if
you and we agree on the appraised
amount of production Upon such
agreement the insurance period for that
acreage will end when you put the
acreage to another use or abandon the
crop. if agreement on the appraised
amount of production is not reached;

(A) if you do not elect to continue to care
for the crop we may give you consent
to put the acreage to another use if
you agree to leave intact, and provide
sufficient care for, representative
samples of the crop in locations
acceptable to us (The amount of
production to count for such acreage
will be based on the harvested
production or appraisals from the
samples at the time harvest should

'._":
<
~_,

have occurred if you do not leave
the required samples lntact, oryou fail
to provide sufficient care for the
samples our appraisal made prior to
giving you consent to put the acreage
to another use will be used to
determine the amount of production
to count )

(B) if you elect to continue to care for the
cropl the amount of production to
count for the acreage will be the
harvested productionl or our
reappraisal if additional damage
occurs and the crop is not harvested;
and

(2) Aii harvested production from the insurable
acreage

(d) Mature coarse grain production (excluding corn
insured as silage) may be adjusted for excess
moisture and quality deficiencies if moisture
adjustment is applicable itwiii be made prior to any
adjustment for quality. Corn insured as sitage will
be adjusted for excess moisture and quality only

as specified in section 11(e).

(1) Production will be reduced by 0 12 percent for
each 01 percentage point of moisture in
excess of:

(i) Fifteen percent (15%) for corn (if moisture
exceeds 30 percent (30%), production will

be reduced 0.2 percent for each 0.1

percentage point above 30 percent

(30%));

(ii) Fourteen percent (14%] for grain
sorghurn‘l and

(iii) Thirteen percent (13%) for soybeans

We may obtain samples of the production to

determine the moisture contentl

(2) Productlon will be eligible for quality
adjustment if:

(i) Deficiencles in quality, in accordance with
the Officia| United States Standards for

Grain, result in;

(A) Corn not meeting the grade

requirements for UlS. No. 4 (grades
U.S. No. 5 or worse) because of test
weight or kernei damage (excluding
heat damage) or having a musty,
sour, or commercially objectionable
foreign odor;
Grain sorghum notmeeting the grade
requirements for U.S. No. 4 (grades
U.S. Sample grade) because of test
weight or kernel damage (exciuding
heat damage) or having a mustyl
sourI or commercially objectionable
foreign odor (except smut odor)l or
meets the special grade requirements
for smutty grain sorghum; or

(C) Soybeans not meeting the grade
requirements for U.S. Nor 4 (grades

(B

\-._¢

 

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(3)

(4)

U.S. Sample grade) because of test
weight or kernei damage (exctuding
heat damage) or having a musty,
sour, or commercially objectionable
foreign odor (except garlic odor), or
which meet the special grade
requirements for garllcky soybeans;
or

(ii) Substances or conditions are presentthat
are identified by the Food and Drug
Admlnlstration cr other public health
organizations of the United States as
being injurious to human or animal health.

Quality will be a factor in determining your loss

only lf;

(i) The deficiencies substances or
conditions resulted from a cause of loss
against which insurance is provided under
these crop provisions;

(ii) Ali determinations of these deficiencies
substances or conditions are made using
samples of the production obtained by us
or by a disinterested third party approved
by us,'

(iii) With regard to deficiencies in quality
(except test weight, which may be
determined by our loss adjuster), the
samples are analyzed by:

(A) A grain grader licensed under the
United States Grain Standards Act or
the United States Warehouse Act;

(B) A grain grader licensed under State
law and employed by a warehouse
operator who has a storage
agreement with the Commodity Cred it
Corporation; or

(C) A grain grader not licensed under
State law1 but who is employed by a
warehouse operator who has a
commodity storage agreement with
the Commodity Credit Corporatiorr
and is in compliance with State law
regarding warehouses; and

(iv) With regard to substances or conditions
injurious to human or animal health, the
samples are analyzed by a laboratory
approved by us

Coarse grain production that is eligible for

quality adjustmentl as specified in sections

11(d)(2) and (3), will be reduced by the quality

adjustment factor contained in the Special

Provlslons.

(e) For corn insured as silage:

(1)

Whenever our appraisal of grain content is
less than 4.5 bushels of grain per ton of silage,
the silage production Will be reduced by ‘l
percentage point for each 0.1 (1/10) of a
bushel less than 4.5 bushels per ton (if we
cannot make a grain appraisal before harvest
and you do not leave a representative

rs or 5)

unharvested sample, in accordance with the
policy no reduction for graln~deficlent silage
will be made.); and

(2) if the normal silage harvesting period has
ended, or for any acreage harvested as silage
cr appraised as silage after the calendar date
for the end of the insurance period as
specified in section 7(b), we may increase the
silage production to count to a 65 percent
moisture equivalent to reflect the normal
moisture content of silage harvested during
the normal silage harvesting pertod.

(f)_ Any production harvested from plants growing in
the insured crop may be counted as production of
the insured crop on a weight basis

12. Preventeci Planting

Your prevented planting coverage will be 60 percent of
your production guarantee for timely planted acreage
if you have additional coverage and pay an additional
premiuml you may increase your prevented planting
coverage to a level specified in the actuarial
documents

 

 

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Datei 1115!2010

 
   

Sales Ciosing Date

3115!2011
Type
No Type Specifled 997

No Type Specined 997
No Type Specined 997
No Type Specitied 997
No Type Specifred 997
No Type Specltied 997
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3115/201 1
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No Type Speclhed 997

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No Type Specified 997
No Type Specified 997
No Type Specifred 997
No Type Specined 997

Commodity.' Soybeans (0081)
Pian: Yieid Protection (01)
Revenue Protection (02)

Revenue Prot with l-larvest Price Exciusion (03)

Eariiest P|anting Date

4f16/201‘l

Eariiest Pianting Date
4716/2011

   

State: Tennessee (47)
County: Lauderdale (097)

Acreage Reporting Date Premium Biiling Date
7/1572011 1071/2011

Final P|anting Date

6/25!2011
Practlce
Fac (Non-lrrigated) 043 *3 *6

' Fac (irrigated) 095 *3 *6

Fac (Non-irrlgated)(OC) 725 *3 *5 *6 *7
Fac (Non-irrigated)(OT) 726 *3 *5 *6
Fac (lrrigated)(OC) 741 *3 *5 *6 *7 l
Fac (lrrigated)(OT) 742 *3 *5 *6

Final P|anting Date

6/15/2011
Practice
Nfac (Non-lrrigated) 053 *4

Nfac (|rrigated) 094 *4
Nfac (Non»irrlgated)(OC) 727 *4 *5 *7
Nfac (l\lon-lrrlgated)(OT) 728 *4 *5

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Acreage Reporting Date Premium Biliing Date
771572011 1071/2011

Nfac lrrigated)(OC) 739 *4 *5 "7
Nfac irrigated)(OT) 740 *¢i *5

 

General

Optional unit division is NOT available by section or section equivalent. Optional unit division is available based on
Farm Seriai Number (FSN) and any other method specified in the Basic Provlslons or Crop Provisions except

section or section equivalentl To be eiigibl

applicable requirements

e for the available methods of optional unit division, you must meet all

Contact your agent regarding possible premium discounts options and/or additional coverage that may be

available

Practtce

*3 FAC ~ Foiiowing another crop that has reached the headed or budded stage (regardless of the percentage ot plants
that reached the headed or budded stage) and/or that has been harvested in the same calendar year.

*4 NFAC ~ Not following another crop that has reached the headed or budded stage (regardless of the percentage of
plants that reached the headed or budded stage) andlor that has been harvested in the same calendar year.

*5 Acreage and production history from certified organic or transitional acreage will be contained in separate APi-l
databases Each APH database will include production and acreage from any applicable buffer zone Any yearly

average APl~l yields,

for the most recent four crop years cnly. from the transitional acreage database will be used in

place cf Transitionai Yieids (T-yields) to establish the certified organic APl-i database A variable T-yield will be used
to complete the database if required

Date

*6 in lieu of the definition of late planting period in section 1 of the Basic Provisions, the late planting period begins the
day after the hnal planting date for the insured crop and ends 20 days after the final planting date,

 

 

Yeaf. 2011 Commodity: Soybeans (0081) State: Tennessee (47)

Date: 11/5/2010 Plan: Yield Protection (01) County: Lauderdale (097)
Revenue Protection {02)
Revenue Prot with t-larvest Price Exclusion (03)

*7

Price

For acreage insured as certined organio, the Projected Price and l-larvest Price will equal the respective Projected
Price and l-|arvest Price as defined within the Commodity Exchange Price Provisions (CEPP) multiplied by a factor
determined by RMA and published on w\w.i.rma.usda.gov.

Premium

Any acreage in this county with a high risk area designation on the actuarial map will have a rate adjusted in
accordance with the high risk area and map area rates table.

Qua|ity

eENERAL sTATEMENTs:'

The following sections only apply to grain production for the insured crop,

The Quaiity Adjustment Faotor (QAF) is 1.000 minus the sum of the applicable Discount Factors (DF) expressed below as
three~place decimals. The sum cf all applicable DFs will be limited to 1.000. Oniy the quality adjustment factors
contained herein are considered in determining production to count The production to count remaining after any
reduction due to excessive moisture (in accordance with the applicable Crop Provisions), is multiplied by the QAF (not
less than zero) to determine net production to count

Production qualifying for quality adjustment that does not contain substances or conditions that are injurious to human or
animal health, shall be adjusted under section A or B, but not both.

Un|ess the A|P grants an extension of time to harvest as specihed below, the samples of production used to determine
insurable quality deficiencies under sections A. B end C must be obtained in accordance with this Quality Adjustment
Statement, but not later than 60 days after the catendar date for the end of the insurance period (EOlP).

For any production qualifying under section B or C (except for section C3) that is sold**** to other than a disinterested
third party**, or that is not soid 60 days after the calendar date for the EOlP, we will settle your claim using the applicable
DFs. lf the production is later sold, we will not recalculate or adjust your claim for lndernnity.

For production qualifying under section B or C (except for production qualifying under section CS) that is unsold 60 days
after the calendar date for the EOlP, an automatic 30 day extension will be allowed only for the purpose of submitting your
claim for indemnity, unless an extension of time to harvest has been granted under the general statements below.

The DF for production qualifying for quality adjustment containing substances or conditions that are injurious to human or
animal health will be determined in accordance with section C. For production qualifying for quality adjustment under'.

a Section Ci or 02 and section A belowl the DF will be determined by adding the applicable DFs from section A to the
applicable DFs from section Ci or 02.

b Section Ci or 02 and section B below, the DF will be determined by adding the applicable DFs from section B to the
applicable DFs from section C'l or C2.

c Section C?>, the DF will be determined under section 03 only. No additional DFs from section A or section B will be
included

- l OF’TION TO DELAY CLAi|Vl SETTLEMENTZ

a On the date of final inspection for the unit, if any of your unsoid***** production qualifies for quality adjustment
under sections B and/or C l or 2 below, your claim will be settled using the applicable DF's for unsold production
unless you elect in writing to delay settlement of your claim for up to 60 days after the calendar date for the EO|P.

b lf you sell the production to a disinterested third party during this delay, your claim will be settled using the
Reduction ln Value (R|V) as outlined belowl unless the production qualities under section C (except for production
containing Vomitoxln only) and has been in on-farm storage.

 

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Year. 2011 commodity soybeans (0081) v 4 Staie: Tenriessee (47)

Date: 11/5/2010 Plan: Yleld Protection (0‘1) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with i-iarvest Price Exclusion (03)

c At any time during this delay in settlement you may request in writing to settle your claim for any unsold
production using the applicable DFs.

d For any production sold'f*** to other than a disinterested third party**, or that is not sold 60 days after the calendar
date for the EOlP, we will settle your claim using the applicable DFs.

e ll the production is later sold, we will not recalculate or adjust your claim for indemnityl

f |f the lime to harvest has been extended as stated belowl this option will not apply beyond 60 days after the
calendar date for the EOlP.

g This option will not apply to any production qualitying'under section C 3.

2 ADD|T|ONAL EXTENS|ON OF TliVlE TO SUBN||T A CLA|M

Regard|ess of any extension of time to submit a claim provided in this quality adjustment SPOl statement you also have
the right to request an additional extension of time to submit a claim for indemnity in accordance with section 14 of the
_ Basic Provlslons.

3 EXTENSiON OF T|ME TO HARVEST

lf we determine you are prevented from harvesting by the calendar date for the EOiP due to an insurable cause of
damage that occurred during the insurance period and we allow an extension of time to harvest the time to determine
insurable quality deficiencies will also be extended if you harvest the crop prior to 60 days after the calendar date for the
l£OlPl your claim will be settled in accordance with sections A, B, or C as applicable unless you elected to delay
settlement of your claiml in which case, refer to l above lfyou were unable to harvest your crop until AFTER 60 days
alter the calendar date for the EO|P` and your production qualifies for quality adjustment under sections Bl, Cla or C2ai,
you will be allowed 30 days after harvest to market your grain and receive an RlV unless the production qualifies solely
under section A, in which case, only the DF(s) in section A will be used |f the production is not sold within this 30 day
period, the claim will be settled using the applicable pre-established DF. You must complete and submits claim for
indemnity not later than the earlier of 60 days after harvest or 60 days after the date we determine the crop could have
been harvested and you did not harvest |f your production qualifies under section C3, your claim will be settled as
specified in section 03.

4 DELAY lN N|EASUREMENT OF FARl\/l STORED PRODUCTlON

lf you elect to delay measurement of farm stored production as provided in the Basic Provisionsl all samples of farm
stored production used to determine insurable-quality deficiencies must be obtained in accordance with this Quality
Adjustment Staternent, but not later than 60 days after the calendar date for the EOlP , otherwise such production will not
be adjusted for quality All samples obtained to test for substances or conditions injurious to human or animal health
(other than vomitoxin) must be taken prior to production entering storage For Vomitoxin only, samples for testing may be
obtained from storage Your claim will be settled using the applicable DFs for the quality denciencies determined by us
not later than 60 days after the calendar date for the EOlP. The gross amount of production will be determined by us not
later than 180 days after the EO|P. Your claim will be completed and submitted no later than 30 days alter the iBOth day.

5 FAlR CONS|DERAT|ON TO DELlVER TO DiSTANT MARKETS

Except as allowed in paragraph 7 6 b belowl fair consideration to deliver sold production to a distant market is allowed
only when there are no buyers in your local market area willing to purchase the production and is only applicable for the
types and levels ofdamage included in sections Bt, Cia, CQai, 03ai and 03bi below. The amount of fair consideration
allowed will only be an amount that is reasonable usua|, and customary Fair consideration is not allowed for production
that is unscid, sold to other than a disinterested third party, fed, utilized in any other manner, or when a pre-established
DF is applicable

6 ZERO MARKET VALUE

lion the date of final inspection for the unit, any production which due to insurable causes is determined to have zero
market value***, such production will not be considered production to count if the production is destroyed in a manner
acceptable to us (see section D). Fair consideration may be used in the determination of zero market value except for
production fed or used in any other manner.

3

 

 

YGE!¥.’ 2011 Commodity: Soybeans (0081)

Date: 11/5/2010 P|an: Yield Protection (01)
Revenue Protection (02)
Revenue Prot with Harvest Price Exclusion (03)

7 Reoucriou iii vAi.uE raiv):

No R|V will be made or accepted by us if it is due to:

Nloisture content; y

Damage due to uninsured causes;
Drrino;

Hand|ing;

Processing; or

O)O'|-!>~(..\Jl\J-*

State: Tennessee (47)
County: Lauderdale (097)

Any other costs associated with normal harvesting, handlingl and marketing of your production,

a Rle cannot be used in combination with chart DFs.

b if a lower RtV is available for production sold at a distant market, the RlV at the distant market may be
increased by the fair consideration to deliver the production to the distant market provided the resulting RlV
does not exceed the RIV in your local marketing area. .

c lf the R|\./ can be decreased by conditioning the production, the R|V may be increased by the cost of
conditioning provided such cost is reasonable usual, and customary and the resulting RlV does not exceed

the R|V before conditioning

d The RlV and local market price* are determined on the date such quality adjusted production is sold to a

disinterested third party.

SECT|ON A - DlSCOUNT FACTOR CHARTS

On the date of final inspection for the unit, the discount factors are determined using the following charts. |f the DF for any
one qualifying level of deficiency is not shown on the charts in this section, then determine all DFs using section B or C as

applicable

GRADE DiSCOUNT:
Discounts for grade as follows:

Grade

DF

U.S. Sample Grade 0.030

TEST WE|GHT D|SCOUNT:
Discounts for low test weight as follows:

TestWeight-Pounds '
49 and above d '
classes `

47-47.99

`4`6~46.99

¢is~/is.ss7

44'»44.`99

Below 44

DAN'|AGE DlSCOUNT:

DF

None
0.007
0.009
0.011

'0.013

o.`ots` _
See section B

Discounts for excessive kernel damage (excluding heat damage) as follows:

 

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Yeor; 2011 commodity soybeans roosi) State: Tennessee t47)

Date: 1115/2010 P|an: Yield Protection (Ol) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with Harvest Price Excluslon (03)

 

 

 

 

 

 

 

 

 

 

___Qartisssfi/e___.__,r_QE,W__§ `Damassjf’.%>"` DF"`"Y Damage /* 507 “
ocand boiow: None 1 __ir.oi_;_is" l o.iis ; 27`.0`1“-§9""'7§"'7"6.179£"77
141981-01_“9,,,,11llQ-_infi,,.,,f, -.,.'l.'€l_-Q__l:l?___ 0123 2301-29 "”5-`§02
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1301 _c.ose ______23__0_1-24 price 33.`01-34`"7_" 'd_§i§"`_` `
.,,,,l,ii-Q,l:i$,v,s_,,l,Q-,Q?l…., _ ?4-_91:2_5_____.__"917179“ "H§"l;@i'~?)$` '¢O`.iSD
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SAMPLE GRADE DlSCOUNTS:
Discounts for sample grade factors as follows:

illiva Qd@_r___'__O_-Q_l_li_
Souii O_<i<_>_r__ ._.Q;_Q?9,1
CO FO 0.040 -

SECT|ON B - DEF|CIENCY NOT lN D|SC»OU_NT FACTOR CHARTS

DFs included in section A are not used if production meets requirements under this section For production that has a test
Weight below 44 pounds per bushe|, and/cr kernel damage above 35 percent on the date of final inspection adjust
production in the following manner:

l ll sold to a disinterested third party prior to 60 days after the calendar date for the EO|P, the DF will be the sum of all
Rle applied by the buyer (provided the Rle are reasonable usuall and customary} due to all insurable quality
deficiencies and that value divided by the local market price. Production receiving an RlV for sprout damage will not
also receive an RlV for falling numbers

2 For unsold production or production sold to other than a disinterested third party prior to 60 days after the calendar
date for the EO|P, the DF will be .500 (un|ess you elect to delay settlement as specified in the Genera| Statements
above). .

3 lt unsold 60 days after the calendar date for the lEOlPl fed, utilized in any other manner or is sold to other than a
disinterested third party the DF will be .500.

SECTlON C - SUBSTANCES OR COND|TlONS THAT ARE lNJURlOUS TO HUl\/|AN OR ANlNlAL HEALTH

The sum cf all DFs for production containing substances or conditions that are injurious to human or animal health is
allowed, in addition to applicable DFs from section A or B abcve, except as shown in 03 below.

Any potential loss due to substances or conditions identified by the Food and Drug Adrninistraticn, other public health
organizations cf the United Statesl or a public.health agency of the applicable State in which the insured crop is grownl at
a level determined as injurious to human or animal health, will be covered_on|y if the appropriate samples of the
production were obtained by our adjuster (or a trained disinterested third party approved by us), and the analysis was
performed by an approved laboratory using quantitative tests.

For production that contains substances or conditions determined to be injurious to human or animal health, adjustments
will be made for levels of substances or conditions in excess of the amount allowed by the lower of the following:

a The action or advisory level of the Food and Drug Administration; or

b Another public health organization of the United States; or

c A public health agency of the applicable State in which the insured crop is grown.

 

Year.' 2011

Date:11i'512010 Plan: Yield Protection (01) County: Lauderdale (097)
Revenue Protection (02)
Revenue Prot with l-larvest Price Excluslon (03)

Commodity: Soybeans (0061) 4 7 State: 'l`ennessee (47)

For production that will be stored on the farm, or in commercial storage (except for production containing Vomitoxln), the
appropriate samples must be obtained prior to the production entering storage otherwise such production will not be`
adjusted for such quality deficiencies listed in section 0. ForVomitoxin only, samples for testing may be obtained from
storage

1

For production containing Vomitoxin only (no other section C deficiencies are present) qualifying under section 0 and
that has a level of 10. 0 ppm or less, adjust the production in the following manner lion the date of final adjustment
for the unit the production is:

a Sold to a disinterested third party prior to 60 days after the calendar date for the EOiP the Dl-‘ will be the sum of
all Rle applied by the buyer (provided the Rle are reasonable usual, and customary) due to all insurable
quality deficiencies, and that value divided by the local market price

b For unsold production or production sold to other than a disinterested third party prior to 60 days after the
calendar date for the EO|P, the DF will be the applicable DFs shown in the chart below (unless you elect to delay
settlement as specified in the General Statements above) added to the applicable DFs included in section A or B2
above

c Unsold 60 days after the calendar date for the EOIP, fed, utilized in any other manner, or is sold to other than a
disinterested third parly, the DF will be the applicable DFs shown in the chart below added to the applicable DFs
included in section A or 83 above

DFs for Vomitoxin:

Vomitoxin Range __ 7 DF
0_. t - 5.0 p_le_Tl_ __ _ _ _____ 000 _ __
51%10_5__55m ` -4`59..,,',, ,,
10.1 ppm & above _ See 03 below

For production containing substances or conditions, other than Vomitoxin1 that qualines under section 0 with an
Aflatoxin level of 300 ppb or |ess, brother substances or conditions with a level less than the maximum allowable
adjust the production in the following manner. .

a lf on or before the date of una| adjustment for the unit the production was transported directly from the field to the
buyer, or transported directly from the field and p_ut into commercial storage without going into on farm storage
the DF will be:

i For production sold to a disinterested third party prior to 60 days after the calendar date for the EOtP, the sum
of all Rle applied by the buyer (provided the Rle are reasonable usual, and customary) due to all insurable
quality deficiencies and that value divided by the local market price.

ii For unsold production containing Afiatoxln prior to 60 days after the calendar date for the EO|P, the applicable
DFs shown in the chart baldwin section C2b (unless you elect to delay settlement as specified in the General
Statements abcve), added to the applicable DFs included in section A or 82 above

iii For unsold production containing Aflatoxin 60 days after the calendar date for the EOIP, the applicable DFs
shown in the chart below in section C2b, added to the applicable DFs included in section A or 63 above

iv For unsold production containing all other mycctcxins or substances cr conditions prior to 60 days after the
calendar date for the EO|P (u nless you elect to delay settlement as specified in the General Staternents
above)l the DFs will be .500, except as stated in section 03 below. This DF will be added to the applicable
DFs included in section A or B2 above

v For unsold production containing all other mycotoxins or substances or conditions 60 days after the calendar
date for the EO|Pl the DFs will be .500, except as stated in section 03 below This DF will be added to the
applicable DFs included in section A or B3,above.

b lion the date offinal adjustment for the unit. the unsold production is in on-farm storage is in commercial storage
but was not transported directly from the fieldl was fed or utilized in any other manner, was in on-farrn storage and
has been sold or was sold to other than a disinterested third party. we will use the applicable DFs shown in the

6

 

 

 
  

 
   

 

 
   

 

 

 

Year. 2011 Commodity: Soybeans (0081) State: Tennessee(47)
Date: 11/5)'2010 Pian: Yie|d Protection (01) County: Lauderdale (097)
Revenue Protection (02) '
Revenue Prot with Harvest Price Exclusicn (03)
'char_t beiow, except as stated in section 03 below. This chart DF will be added to the applicable DFs included in
section A or 62 above
DFs for Afiatoxin:
_A_M>IH§§'_“1'_9__5_::::___5:`1___`____ __
___._________Ot - 20.0 ppbl ? .000
251:A§Q;Q_`Rt>_l?_______;_____ ______;F_Y_'_"__'__“__" __ l
...§t?‘_:.'_t:J,,QQ_-_Q.EL__S______,____-_'49&_a,, , '
_ ___ii)_c.i - 200.0 ppb .300__ _ f
200.1 -_§00.0 ppb__ .400 _
. ,_,3,09;§)9@§33?9_`!'?_.._.____ __3_‘?§3_ §3_ bei?.“(., ,
3 For production that has an Ailato)<in level in excess of 300 ppb, a Vomitoxin level in excess of 10 ppm, or any other

substances or conditions qualifying under section C having a level exceeding the maximum amount allowed, a claim
will not be completed until all such production is sold, fed\ utilized in any other manner. or destroyed An automatic 30
day extension will be allowed for you to submit your claim for indemnity, following the date we determine the
production was sold, fedl utilized in any other manner, or destroyed On the date of final adjustment for the unit, the
following will apply (if such production is Zero l\/larket Value, see section D):

a For production containing Vomitoxin only (no other section C deficiencies are present), the DF will be:

i The Rl\/ applied by the buyer (provided the RtVs are reasonable usual, and customary) due to all insurable
quality deficiencies, and that value divided by the local market price for production sold to a disinterested
third party; or

ii .500 for production, fed, utilized in any other manner. or sold to other than a disinterested third party. No
other DF from section A or B will be included

b For production containing Af|atoxin cr any other substances or conditions (except for production containing
Vomitoxin as detailed in section CSa above). the DF will be:

i The RlV applied by the buyer (provided the Ri\fs are reasonable usual, and customary) due to all insurable
quality deficiencies, and that value divided by the local market price for production sold to a disinterested third
party. Such production must have been transported directly from the field to the buyer, or transported directly
from the field and put into commercial storage prior to being sold.

ii .500 for production that was in orr-farm storage and was later sold, was in on-farm storage and was
transported to commercial storage and later soldl was fed, was utilized in any other manner. or was sold to
other than a disinterested third party. No other DF from section A or B will be included

c lfproduction qualifying under section 03 is destroyed in a manner acceptable to us, the DF will be 1.000. For
production destroyed in a manner unacceptable to us, such production will not be adjusted for any quality
deficiencies listed in section C.

SECTtON D - ZERO N|ARKET VALUE PRODUCTION

For production listed in sections A, B, or C thatwe determine has zero market value due to insured quality deficiencies:

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The DF will be 1.000 if such production is destroyed in a manner acceptable to us_

ltyou do not destroy (or refuse to destroy) production in a manner acceptable to us, such production to count is no
longer considered to be zero market value and will be adjusted as follows: .

a For production in section A -the pre»estabiished DFs.
b For production in section B ~ .500.

c For production in section 61 or CZ, such production will not be adjusted for any quality deficiencies listed in
section C.

 

      

Year; 2011

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Commodity: Soybeans (0081) State: 'l'ennessee (47)

Date: 11/5/2010 Pian: Yield Protection (01) County: Lauderdale (097)
Revenue Protection (02) ,
Revenue Prot with Harvest Price Exclusion (03) _
3 if you destroy production qualifying under section 03 in a manner unacceptable to us, such production will not be

Jr*

iii

adjusted for any quality deficiencies listed in section C. if you do not destroy (or refuse to destroy) such production, a
claim will not be completed until such production is soid, fed, utilized in any other manner, or destroyed An automatic
extension of time will be allowed for you to submit your claim ior indemnityl

“Local Nlarket Price” as defined in the applicable Basic, Crop, or these Provlslons.

“Disinterested third party" as defined in the applicable Basic, Crop, or these Provisions in addition to the definition of
“Disinterested third party", a person or business who does not routinely purchase production for resale or for feed will
not be considered a disinterested third party if the Rle applied by the buyer are not reflective of the RiVs in the local
market

“Zero market value” occurs when no buyers in your locat marketing area are willing to purchase the production and
fair consideration to deliver production to a market outside your local marketing area (distant market) is equal to or
greater than the production’s value at the distant market

**** "Sold" - Grain is considered sold on the date that Hnal settlement between the buyer and seller has occurred and title

of the grain has passed from the seller to the buyer,

****"‘Unsold" ~ Grain that does not meet the dennition of "sold."

     

 

 

    
  

   

Year: 2011 00 modity: Corn( 041} State: Tennessee (47)
Date: 1119/2010 P|an: Yield Protection (01) County: Lauderdale (097)
Revenue Protection (02)

Revenue Prot with Harvest Price Exciuslon (03)

   

  
   

   

 

Sales Ctosing Date Earliest P|anting Date Final P|anting Date Acreage Reporting Date Premium Biliing Date

3/15/2011 3/21!2011 5120/2011 7!15/2011 10/1)'2011
Type Practice ,
Grain 016 irrigated 002
Grain 016 Non-|rrigated 003 *3
Grain 016 Organic(0ertified) lrr. 702 *2 *¢_l
Grain 016 Organic(Transitional) lrr. 712 *2
G,rain 016 ‘ Organic(Certified) Non~irr. 713 *2 *3 *4
Grain 016 Organic(Transitional) Non-lrr. 714 *2 *3

 

General

Contact your agent regarding possible premium discounts, options, and/or additional coverage that may be
available _

Practice

*2 Acreage and production history from codified organic or transitional acreage will be contained in separate APl-l
databases _ Each APH database will include production and acreage from any.applicable butler zone. Any yearly
average APH yields, for the most recent four crop years only, from the transitional acreage database will be used in
place of Transitional Yields (T-yields) to establish the certified organic APH database A variable T~yield will be used
to complete the database if required

*3 insurance shall not attach or be considered to have attached on any non-irrigated acreage from which, in the same
calendar year; 1) a perennial hay crop was harvested; or 2) another crop has reached the headed or budded stage
(regardless of the percentage of plants that reached the headed or budded stage) or has been harvested.

Price

*4 For acreage insured as certined organicl the Projectecl Price and Harvest Price will equal the respective Projected
Price and Harvest Price as defined within the Commodity Exchange Price Provisions (CEPP) multiplied by a factor
determined by RthA and published on www.rrna.usda.gov.

Premium

Any acreage in this county with a high risk area designation on the actuarial map will have a rate adjusted in
accordance with the high risk area and map area.rates table

Quality
GENERAL STATEMENTS‘.

The following sections only apply to grain production for the insured orop.

The Quality Adjustrnent Factor (QAF) is 1,000 minus the sum of the applicable Discount Factors (DF) expressed below as
three-place decimals. The sum ofall applicable DFs will be limited to 1.000_ Oniy the quality adjustment factors
contained herein are considered in determining production to count. The production to count remaining after any
reduction due to excessive moisture (in accordance with the applicable Crop Provisions), is multiplied by the QAF (not
less than zero) to determine net production to count.

Production qualifying for quality adjustment, that does not contain substances or conditions that are injurious to human or
animal health, shall be adjusted under section A or B, but not both.

 

  

'QB£* s
Year:

  

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2011
Date: 1119/2010

  
 
      

  

ommodity: 00 (4 '
Plan: Yield Protection (01)

Revenue Protection (02)
Revenue Prot with Harvest Price Exclusicn (03)

essee (47

County: l_aiderdale (097)

Unless the AlP grants an extension of time to harvest as specined below, the samgles of production used to determine
insurable quality deficiencies under sections A, B and 0 must be obtained in accordance with this Quality Adjusfment

Statement, but not later than 60 days after the calendar date for the end of the insu

For any production qualifying under section 6 or 0 (except for section 03) that is s
third party**, or that is not sold 60 days after the calendar date for the EOlP, we wi
DFs. if the production is later sold, we will not recalculate or adjust your claim for i

For production qualifying under section 6 or 0 (except for production qualifying unc
after the calendar date for the EO|P, an automatic 30 day extension will be allowec
claim for indemnity, unless an extension of time to harvest has been granted under

The DF for production qualifying for quality adjustment containing substances or cc
animal health will be determined in accordance with section 0. For production qua

applicable DFs from section 01 or 02. _

rance period (EOlP).

)ld**"* to other than a disinterested

settle your claim using the applicable

tdemnity.

er section 03) that is unsold 60 days
only for the purpose of submitting your
the general statements below.

nditions that are injurious to human or
ifying for qualify adjustment under:

Section 01 or 02 and section A below, the DF will be determined by adding the applicable DFs from section A to the

b Section 01 or 02 and section 6 below, the DF will be determined by adding the applicable DFs from section 6 to the

applicable DFs from section 01 or 02.

o Section 03, the DF will be determined under section 03 only. No additional Di
included

1 OPTION TO DELAY CLA|M SETTLEMENT:

a On the date of final inspection for the unitl if any of your unsold***** produc
under sections 6 and/or C 1 or 2 below, your claim will be settled using the
unless you elect in writing to delay settlement of your claim for up to 60 daj

b lfyou sell the production to a disinterested third party during this delay, yoi
Reduction ln Value (RiV) as outlined belowl unless the production qualities
containing Vomitoxin only) and has been in on-farm storage

c At any time during this delay in settlement you may request in writing to se
production using the applicable DFs.

s from section A or section B will be

lion qualifies for quality adjustment
applicable DF’s for unsold production
s after the calendar date for the EOlP.

r claim will be settled using the
under section 0 (except for production

ttle your claim for any unsold

d For any production sold**** to other than a disinterested third party**, or that is not sold 60 days after the calendar

date for the EO|P, we will settle your claim using the applicable DFs.

e if the production is later soldl we will not recalculate or adjust your claim foj' indemnity

f |f the time to harvest has been extended as stated belowr this option will n
calendar date for the EOlP.

g This option will not apply to any production qualifying under section 0 3.

2 ADD|T|ONAL EXTENS|ON OF TlME TO SUBM|TA CLAIM

Regard less of any extension of time to submit a claim provided in this quality adjus

the right to request an additional extension of time to submit a claim for indemnity in

Basic Provlslons.

3 EXTENS|ON OF Tll`\ilE TO HARVEST

t apply beyond 60 days after the

ment SPOi statement, you also have
accordance with section 14 of the

 

if we determine you are prevented from harvesting by the calendar date for the EO

P due to an insurable cause of

damage that occurred during the insurance period and we allow an extension of ti e to harvest, the time to determine
insurable quality deficiencies will also be extended if you harvest the crop prior to 0 days after the calendar date for the
EOIP, your claim will be settled in accordance with sections A, 6, or C_as applicabl unless you elected to delay
settlement of your claim, in which case refer to 1 above if you were unable to her est your crop until AFTER 60 days

2

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